    Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 1 of 280




                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION


                                              )
STATE OF FLORIDA,                             )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )         Civil Action No. 3:21-cv-01066
                                              )
 The UNITED STATES OF                         )
 AMERICA, et al.,                             )
                                              )
       Defendants.                            )
                                              )



       1.      My name is Tony L. Barker. I am employed with the U.S. Customs and Border

Protection (CBP) as the Chief of the Law Enforcement Operations Directorate. I have held this

position since February 13, 2021.

       2.      I am the custodian of the administrative record for Policy on the Use of Parole

Plus Alternatives to Detention to Compress Border Locations (July 18, 2022) memorandum. I

certify that the documents listed in the attached index are true and correct copies of the

documents contained in the administrative record, and, to the best of my knowledge,

information, and belief, constitute the non-privileged documents that were considered in issuing

the memorandum on July 18, 2022.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States that the foregoing is true and correct.
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 2 of 280




     Executed this 15th day of August 2022 in Washington, D.C.



                      ________________________________

                      Tony L. Barker

                      Chief of the Law Enforcement Operations Directorate

                      U.S. Customs and Border Protection
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 3 of 280
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 4 of 280




                               SAR0001
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 5 of 280




                               SAR0002
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 6 of 280




                               SAR0003
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 7 of 280




                               SAR0004
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 8 of 280
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 9 of 280




                               SAR0006
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 10 of 280




                                SAR0007
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 11 of 280




                                SAR0008
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 12 of 280




                                SAR0009
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 13 of 280




                                SAR0010
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 14 of 280




                                SAR0011
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 15 of 280




                                SAR0012
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 16 of 280




                                SAR0013
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 17 of 280




                                SAR0014
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 18 of 280




                                SAR0015
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 19 of 280




                                SAR0016
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 20 of 280




                                SAR0017
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 21 of 280




                                SAR0018
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 22 of 280




                                SAR0019
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 23 of 280




                                SAR0020
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 24 of 280




                                SAR0021
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 25 of 280




                                SAR0022
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 26 of 280




                                SAR0023
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 27 of 280




                                SAR0024
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 28 of 280




                                SAR0025
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 29 of 280




                                SAR0026
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 30 of 280




                                SAR0027
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 31 of 280




                                SAR0028
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 32 of 280




                                SAR0029
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 33 of 280




                                SAR0030
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 34 of 280




                                SAR0031
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 35 of 280




                                SAR0032
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 36 of 280




                                SAR0033
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 37 of 280




                                SAR0034
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 38 of 280




                                SAR0035
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 39 of 280




                                SAR0036
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 40 of 280




                                SAR0037
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 41 of 280




                                SAR0038
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 42 of 280




                                SAR0039
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 43 of 280




                                SAR0040
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 44 of 280




                                SAR0041
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 45 of 280




                                SAR0042
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 46 of 280




                                SAR0043
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 47 of 280




                                SAR0044
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 48 of 280




                                SAR0045
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 49 of 280




                                SAR0046
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 50 of 280




                                SAR0047
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 51 of 280




                                SAR0048
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 52 of 280




                                SAR0049
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 53 of 280




                                SAR0050
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 54 of 280




                                SAR0051
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 55 of 280




                                SAR0052
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 56 of 280




                                SAR0053
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 57 of 280




                                SAR0054
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 58 of 280




                                SAR0055
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 59 of 280




                                SAR0056
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 60 of 280




                                SAR0057
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 61 of 280




                                SAR0058
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 62 of 280




                                SAR0059
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 63 of 280




                                SAR0060
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 64 of 280




                                SAR0061
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 65 of 280




                                SAR0062
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 66 of 280




                                SAR0063
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 67 of 280




                                SAR0064
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 68 of 280




                                SAR0065
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 69 of 280




                                SAR0066
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 70 of 280




                                SAR0067
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 71 of 280




                                SAR0068
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 72 of 280




                                SAR0069
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 73 of 280




                                SAR0070
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 74 of 280




                                SAR0071
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 75 of 280




                                SAR0072
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 76 of 280




                                SAR0073
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 77 of 280




                                SAR0074
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 78 of 280




                                SAR0075
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 79 of 280




                                SAR0076
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 80 of 280




                                SAR0077
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 81 of 280




                                SAR0078
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 82 of 280




                                SAR0079
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 83 of 280




                                SAR0080
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 84 of 280




                                SAR0081
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 85 of 280




                                SAR0082
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 86 of 280




                                SAR0083
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 87 of 280




                                SAR0084
Case Case
     6:22-cv-00885-RRS-CBW
           3:21-cv-01066-TKW-ZCB
                              Document
                                  Document
                                       91 Filed
                                           87-105/20/22
                                                Filed 10/03/22
                                                         Page 1 Page
                                                                of 2 PageID
                                                                      88 of 280
                                                                             #: 3812




                                       SAR0085
Case Case
     6:22-cv-00885-RRS-CBW    Document
           3:21-cv-01066-TKW-ZCB       91 Filed
                                  Document 87-105/20/22  Page 2 Page
                                                Filed 10/03/22  of 2 PageID  #: 3813
                                                                      89 of 280




                                       SAR0086
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 90 of 280




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


                                      )
STATE OF FLORIDA,                     )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )         Civil Action No. 3:21-cv-01066
                                      )
 The UNITED STATES OF                 )
 AMERICA, et al.,                     )
                                      )
      Defendants.                     )
                                      )




                   CERTIFIED ADMINISTRATIVE RECORD

      Defendants hereby provide Plaintiff with the Certified Administrative Record

for the above-referenced matter. Annexed hereto, please find:

      Administrative Record Index; and

      Certified Administrative Record, bearing Bates Stamp Nos. AR0001-31.




                                          1
                                      SAR0087
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 91 of 280




DATED: April 20, 2022                        Respectfully submitted,

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                                     2
                                   SAR0088
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 92 of 280




         Florida v. United States of America, et al., 3:21-cv-1066
               Index for Certified Administrative Record


 1.  Table of Contents                             AR0001
 2.  Certification                                 AR0002
 3.  Memorandum, Parole Plus Alternative to        AR0004
     Detention (Nov. 2, 2021)
 4. Email, Daily Sit Rep: 10/20/2021 (Oct. 20,     AR0007
     2021)
 5. Email, OPS East STATS (Sept. 22, 2021)         AR0012
 6. Email, ***Update*** Family Unit Parole         AR0016
     with ATD Initiative (Aug. 12, 2021)
 7. Email, FW: Family Unit Parole with ATD         AR0021
     Initiative (Aug. 11, 2021)
 8. Email, FW: Situation RGV (Aug. 2, 2021)        AR0025
 9. Email, Parole Guidance (July 31, 2021)         AR0028
 10. CBP Website, FY2022 Encounter Statistics      AR0030
 11. CBP Website, FY2021-2022 Encounters           AR0031
     Percentage Change Statistics




                                  SAR0089
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 93 of 280




                                SAR0090                       AR 0001
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 94 of 280




                                SAR0091                       AR 0002
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 95 of 280




                                SAR0092                       AR 0003
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 96 of 280




                                SAR0093                       AR 0004
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 97 of 280




                                SAR0094                       AR 0005
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 98 of 280




                                SAR0095                       AR 0006
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 99 of 280




                                SAR0096                       AR 0007
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 100 of 280




ORs:
       DRT: ORd Yesterday 87    Today: 149
       RGV: ORd Yesterday: 126      Today: 51

NTR:
       DRT: NTR released Yesterday: 0                   Today: 1
       RGV: NTR released Yesterday: 0                  Today: 0

Paroled:
     DRT: Paroled Yesterday: 104           Today: 185
     RGV: Paroled Yesterday: 0             Today: 0

Virtual Processing:
     Total Files Completed 10/19 : 76
           NB Processed: 33
           OFO U.S. Partners: 33
           OFO Foreign Partners: 10

ENV Flights:
    85 Honduran FMU
    73 El Salvadoran FMU


Total subjects removed via ENV overall (7/30/2021 to date): 3,332

NT Flights T-42 Flights to Mexico:
     Villahermosa – 135 Honduran FMU
     Tapachula – 135 Guatemalan FMU


Lateral Flights:
     133 FMU from RGV to TCA

T42 Flights:
     N/A

IFP T42 to Mexico:
     103 SA from LRT


ERO Direct Intake Flights:
    68 SA from EPT to Dallas ERO
    117 SA from DRT to New Orleans ERO


YUM Situation:

       Currently in custody: 924
            UC: 11 (5 Processed Complete)
            FMU: 273 (60 Processed Complete)
            SA: 640 (257 Processed Complete)
       Today’s movement: 197


                                                   SAR0097          AR 0008
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 101 of 280


            TOT ERO: 44
                  81 additional planned to ERO
            Lateral to other sectors: 165 (165 Bus/0 Air)
            Planned Laterals: 172

MCC
      UC Dashboard currently shows 466 UCs in USBP custody: ( 125 UCs)
            Average TIC – 20 hours (No Change)
            Average Time to Notify ORR – 12 hours ( 1 Hr.)
            1 UC over 72 hours ( 1 UC)
            3% (12) of all UCs have been in custody between 48-72 hours
                  10 is Processed Complete
            97% (422) of all UCs have been in custody less than 48 hours
            RGV is holding 276 UCs (59%)
      Positive COVID UCs (RGV Only):
            RGV is currently holding 6 UCs in Donna, Texas (POD D).
                  6 are Processed Complete/Pending Transport
                  Avg. Total TIC: 15 Hrs.
                  Avg. Time to Notify ORR: 10 Hrs.
                  Avg. Time for ORR Placement: 1 Hr.
                  Avg. Time for MVM Transport: 4 Hrs.
      UCs Booked Out / Apprehended:
            224 total UCs booked out thus far
            184 UCs have been apprehended since midnight
      Top 15 Highest TIC:
            11 Booked Out
            2 Scheduled for Transportation
            1 VR
            1 being evaluated
      Proposed Movements/Available Beds for Tomorrow:
            67 UCs in UIP Referred/Pending ORR Placement
            ORR’s shelter capacity is at 55% with 9,2979 standard beds available


      Weekly Goals:




      Prior 21 Day Snapshot:




                                                SAR0098                            AR 0009
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 102 of 280




EPT In-Custody
   •                 Total in Custody – 644 (439 > 72)
                72 - UC (47 Processed Complete)
                     0 > 72  
                     Average TIC – 22
                     32 UC currently pending transfer to ORR facility
                     33 UCs pending placement in UC Portal
                41 - FAMU (22 Processed Complete)
                             33 > 72
                             Average TIC – 125
                531 - SA (424 Processed Complete)
                             406 > 72
                             Average TIC – 214

BBT In-Custody
  •                 Total in Custody – 12 (0 > 72)
               0 - UC
                    0 > 72
                    Average TIC – 17
                    2 UCs pending placement in UC Portal

            0 - FAMU (0 Processed Complete)
                   0 > 72
                   Average TIC – N/A
          24 - SA (0 Processed Complete)
                   0 > 72
                   Average TIC – 17

FMUs and SA Referral on 10/19/21:




                                                           SAR0099      AR 0010
     Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 103 of 280




Thank you,


(A) Assistant Chief
Law Enforcement Operations Directorate
Current Operations - Ops Cell


  




                                         SAR0100                   AR 0011
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 104 of 280


From:
To:
Subject:       OPS east STATS
Date:          Wednesday, September 22, 2021 9:18:01 AM
Attachments:   image001.png
               image002.png
               image003.png


Ops East Hospitalizations - 3
     DRT:
           RELEASED.                     ; (DRS) In San Antonio admitted Friday. COVID.
     RGV:
           BPA                (FTB)
             No change. On ventilator. Slight fever.
                                (RGV/LE Info System Specialist)
             No change. LEISS             advised that he is still in the rehab area on oxygen taking medication. He
             is beginning to feel better and already started physical therapy.
           BPA                (BRP)
             No change. BPA                  advised his vitals are stable and his liver enzymes have dropped a
             little. He is on medication for bilirubin and dialysis was done today.

COVID
32- Employees quarantined/isolation
27– Non-Citizens Isolated
12 employee deaths USBP / 43 deaths CBP
45– fully vaccinated employees tested positive

RGV Processed 1,532 – 76% T8 (1164) / 24% T42 (368) w/ 32% manpower
          110- NTA-OR (73 FMUA, 37 SA)
          475- Paroles (475 FMUA)
          17% virtually processed (268 files, 109 calls, 116 checks) 48 employees, 5.58 per employee, 65% OFO;
          33, 298 YTD.
     4,609- Week to Date Total Apprehensions a 15% decrease over last week (5437)
     On pace for 10,754 this week, vs. last week (13,910), projected 23% decrease
     Holding: 6,102 - 477% Capacity
          37% processed; TIC 77 (2914 O72H) ; 60 UNP TIC (1502 O72H)
          59% FMUAs; 31% SAs, 10% UCs
          415 Haitians (7%), FLF 34; 376 WSL




LRT Processed 302 – 25% T8 (75) / 75% T42 (227) w/ 15% manpower
      711- Week to Date Total Apprehensions, a 9% Decrease over last week (784)
      On pace for 1,659 this week, vs. last week (2,064), projected 20% decrease



                                                          SAR0101                                     AR 0012
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 105 of 280


     Holding: 1,121 – 383% Capacity
          43% Processed Complete;
          TIC 56 (412 O72H) ; UNP TIC 44 (151 O72H)
          599 Haitians (278 FMU, 320 SAs) LRN, LRW, HEB




DRT Processed 2,274 – 92% T8 (2,096) / 8% T42 (78) w/ 55% manpower
          283- NTA-OR (4 FMUA, 279 SA)
          369- NTR (100 FMUA, 269 SA)
          131- Paroles (131 FMUA)
     6,451- Week to Date Total Apprehensions, a 63% increase over last week (3949)
     On pace for 15,052 this week, vs. last week (11,503), projected 31% increase
     Holding: 2,785 – 599% Capacity (+6,752 Under Bridge) Total: 9,537
          60% processed complete
          48-hour TIC (591 O72H); UNP TIC 41 hours (167 O72H)
          1,664 Haitians (61% processed 1,114); TIC 43; 313 O72H
          Haitian 60%, 13% Chilean; 8% Venezuelan; 6% Nicaraguan; 4% Cuban ([10%] Brazil-64, Mexico,
          Ecuador, Ghana, Colombia-15)
     Designated Movements:
          Yesterday: Planned 1,981 / Actioned 2,702
          Today: Planned 2,036 / Actioned 215
          Tomorrow: Planned 1,981 / Pending 1,981




                                                 SAR0102                                     AR 0013
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 106 of 280




Ramey Sector
Recent Haitian events in Ramey Sector: 102 in the last 8 days
      Sept 15 – 23 Haitians
      Sept 17 – 11 Haitians
      Sept 19 – 17 Haitians
      Sept 20 – 32 Haitians reported by DNR, pending transport this morning by USCG on 9/22.
      September 22 – 19 Haitians reported by DNR on Mona Island.

      Ramey Sector continues to see an increase in Haitian apprehension month over month
          March – 1
          April – 2
          May – 13
          June – 31
          July – 40
          August – 60
          SEP-September 19 – 74 arrested. 102 Reported Month to Date (51 pending transport from Mona)

      On September 20, 2021, Puerto Rico Department of Natural and Environmental Resources (DNER) reported 32 Haitians
      detained on Mona Island. DNER requested assistance due to their lack of detention space and available detainee food
      supplies. USCG provided MREs and will coordinate pick-up of migrants today via the USCG cutter with USBP onboard.

      Ops East reached out to MCC ERO to ascertain if the nearby ERO SPC can assist with space in Aguadilla due to Ramey’s
      limited detention space      . ERO was unable to support with space, however, Ramey advised that ERO did provide JPAT
      space for the 17 Haitians apprehended on September 19. Ops East advised MCC ERO that Ramey Sector will be requesting
      space on future JPAT flights to Haiti for the additional 32 that will be transported from Mona Island today.




09/22: 1,295 Movements Via Air Planned ; 810 to Haiti (135 Cancelled)
Wednesday: 5 IAO, 6 USCG (350), 1 MVM, 1 Loop
65 IAO flights to Haiti
     2 out of Laredo
     1 out of El Paso
     3 out of Harlingen (1 HRL cancelled per last night)
1 MVM flight to Haiti out of Harlingen/McAllen



                                                                SAR0103                                              AR 0014
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 107 of 280


1 Loop flight from DRT to EPT and TCA

                         Depart                   Arrival                      Off
 Date      Time     MOT Location Arrival           Time     Type      Qty     Load
22-Sep     0900     C2003    DRIA     ELP    1015 (MT) FMU 51 + Laps
                                                   1215
22-Sep     1100     C2705    DRIA     ELP         (MT)*     FMU 38+12 Laps
22-Sep     1330     C2004    DRIA     ELP    1445 (MT) FMU         80 +Laps

22-Sep 1015 (MT) C2003       ELP      PIDC        1400      SAM       51
           1300
22-Sep    (MT)*     C2705    ELP      PIDC        1630      SAM       38
22-Sep 1445 (MT) C2004       ELP      PIDC        1830      SAM       80

Thursday:
5 IAO flights to Haiti
       2 out of Laredo
       3 out of Harlingen
2 MVM flights to Haiti out of Harlingen/McAllen
1 Loop flight from DRT to EPT
Double SWB transfer flight from DRT to NOL ERO




                                                            SAR0104                  AR 0015
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 108 of 280




                                SAR0105                       AR 0016
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 109 of 280




                                SAR0106                       AR 0017
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 110 of 280



Subject: Family Unit Parole with ATD initiative

Sir,

Please forward the below guidance to Del Rio Sector for immediate implementation. Based
on the discussions with LEOD leadership, RGV may implement this effort at your direction
although I recommend a phased approach in that sector. It is my understanding that this effort
will not be available to other sectors until further notice.

Finally, this guidance has been reviewed by ICE leadership and they have agree that the
specifics listed below are operationally feasible.

Please advise if any questions arise out of this effort.

____________________________________________________________________________
____________________________________________________________________________
________________________________________________________________

For immediate implementation

BLUF: Effective immediately and until further notice, U.S. Border Patrol (USBP) will
begin processing certain non-citizen family units (FMU) utilizing the Parole pathway in
e3.  

While all members of the FMU will be processed for Parole, the head of house hold (HOH)
will be the only one that will receive an Alien Registration number (A#) and A-File. The
remainder of the family unit will be processed under the Parole pathway however, they will
not be issued an A#. USBP will then coordinate with U.S. Immigration and Customs
Enforcement (ICE), Enforcement and Removal Operations (ERO), (collocated on
site), for Alternate to Detention (ATD) to be applied to the HOH non-citizen. Agents will
process the non-citizens consistent with existing processing procedures and in accordance with
the instructions below:

Agents may consider their authority to issue a Parole to FMU on a case-by-case basis and
based on the factors outlined below.  

             Whether ICE/ERO will accept custody of the non-citizen(s)
             Whether the non-citizen poses a threat to national security, border security, or a
             heightened public safety risk, as outlined in the January 20, 2021
             memorandum Review of and Interim Revision to Civil Immigration Enforcement
             and Removal Policies and Priorities from Acting Secretary Pekoske
             When a sector reaches 75% total detention capacity and the number of subjects
             arriving in custody exceeds the discharge of persons out of custody over a 24-
             hour period
             When the average time-in-custody (TIC) of unprocessed persons exceeds 48
             hours and the number of subjects arriving in custody is projected to exceed the
             discharge of persons out of custody over the next 24 hr. period



                                                  SAR0107                           AR 0018
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 111 of 280


To correctly process a non-citizen under the Parole pathway agents must:

            Document “why” the non-citizen was paroled in the I-213 narrative based on the
            factors above. Example: “Subject was paroled due to time in custody constraints
            at the (insert USBP station or processing facility name here) ”
            In addition agents must annotate the following in the I-213 narrative, "Subject
            Released with Alternate to Detention as a Condition of Parole”
            Ensure that all members of the FMU are properly linked as such in the e3
            family panel
            Ensure that all members of the FMU being processed have a disposition
            of “Parole"
            Add the U.S. (Domestic) Address to the I-213 tab for the non-citizen
            Begin typing the intended destination into the Find Address field, and a validated
            address will appear. Select the Address and hit Save at the bottom of the page.
            If the address is unknown, the processing agent must, at a minimum, include
            the State in which the non-citizen is travelling to. Select the State from the drop-
            down options and hit Save at the bottom of the screen.
            The destination address will be added to the file. Supervisors will ensure that
            the U.S. (Domestic) Address field has correctly populated according to this
            guidance before releasing subjects to ICE/ERO
             Agents will NOT book any FMU subject in e3 for the Parole process. USBP will
             only search and enroll.
             Data quality checks will be conducted on a consistent and regular basis to ensure
             compliance.

A-File: Agents will issue an alien registration number to the non-citizen HOH, but not charge
the subject, and the HOH file will contain the forms listed below:

      I-213
      I-385 *Must include the following in box 24 Remarks: AS A CONDITION OF
      YOUR PAROLE YOU ARE TO REPORT TO THE IMMIGRATION AND
      CUSTOMS ENFORCEMENT (ICE) OFFICE NEAR YOUR FINAL
      DESTINATION WITHIN 60 DAYS OR FACE REMOVAL FROM THE UNITED
      STATES. VISIT WWW. ICE.GOV/CONTACT/FIELD-OFFICES# FOR
      ADDRESSES.
      I-94
      G-56

Agents will provide all members of the family unit a copy of the I-385, I-94 and the G-56.
Documents for each of the family unit members will be placed on the right hand side of the
file as shown below:

Once processing is complete, USBP will coordinate with ICE/ERO on site for ATD.
ICE/ERO will then take the file and forward it to the appropriate ICE Field Office.




                                            SAR0108                                 AR 0019
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 112 of 280




                                SAR0109                       AR 0020
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 113 of 280




                                SAR0110                       AR 0021
           Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 114 of 280



From:
Sent: Thursday, August 5, 2021 1:48 PM
To:
Cc:


Subject: Family Unit Parole with ATD initiative

Sir,

Please forward the below guidance to Del Rio Sector for immediate implementation. Based on the discussions
with LEOD leadership, RGV may implement this effort at your direction although I recommend a phased
approach in that sector. It is my understanding that this effort will not be available to other sectors until further
notice.

Finally, this guidance has been reviewed by ICE leadership and they have agree that the specifics listed below
are operationally feasible.

Please advise if any questions arise out of this effort.

-
__________________________________________________________________________________________
__________________________________________________________________________________________
____________________________________

For immediate implementation

BLUF: Effective immediately and until further notice, U.S. Border Patrol (USBP) will begin processing
certain non-citizen family units (FMU) utilizing the Parole pathway in e3.

While all members of the FMU will be processed for Parole, the head of house hold (HOH) will be the only one
that will receive an Alien Registration number (A#) and A-File. The remainder of the family unit will be
processed under the Parole pathway however, they will not be issued an A#. USBP will then coordinate with
U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), (collocated
on site), for Alternate to Detention (ATD) to be applied to the HOH non-citizen. Agents will process the non-
citizens consistent with existing processing procedures and in accordance with the instructions below:

Agents may consider their authority to issue a Parole to FMU on a case-by-case basis and based on the factors
outlined below.

               Whether ICE/ERO will accept custody of the non-citizen(s)
               Whether the non-citizen poses a threat to national security, border security, or a heightened
                public safety risk, as outlined in the January 20, 2021 memorandum Review of and Interim
                Revision to Civil Immigration Enforcement and Removal Policies and Priorities from Acting
                Secretary Pekoske
               When a sector reaches 75% total detention capacity and the number of subjects arriving in
                custody exceeds the discharge of persons out of custody over a 24-hour period


                                                           2
                                                       SAR0111                                  AR 0022
          Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 115 of 280

              When the average time-in-custody (TIC) of unprocessed persons exceeds 48 hours and the
               number of subjects arriving in custody is projected to exceed the discharge of persons out of
               custody over the next 24 hr. period

To correctly process a non-citizen under the Parole pathway agents must:

              Document “why” the non-citizen was paroled in the I-213 narrative based on the factors
               above. Example: “Subject was paroled due to time in custody constraints at the (insert USBP
               station or processing facility name here) ”
              In addition agents must annotate the following in the I-213 narrative, "Subject Released with
               Alternate to Detention as a Condition of Parole”
              Ensure that all members of the FMU are properly linked as such in the e3 family panel
              Ensure that all members of the FMU being processed have a disposition of “Parole"
              Add the U.S. (Domestic) Address to the I-213 tab for the non-citizen
              Begin typing the intended destination into the Find Address field, and a validated address will
               appear. Select the Address and hit Save at the bottom of the page.
              If the address is unknown, the processing agent must, at a minimum, include the State in which
               the non-citizen is travelling to. Select the State from the drop-down options and hit Save at the
               bottom of the screen.
              The destination address will be added to the file. Supervisors will ensure that the U.S.
               (Domestic) Address field has correctly populated according to this guidance before
               releasing subjects to ICE/ERO
              Agents will NOT book any FMU subject in e3 for the Parole process. USBP will only search and
               enroll.
              Data quality checks will be conducted on a consistent and regular basis to ensure compliance.

A-File: Agents will issue an alien registration number to the non-citizen HOH, but not charge the subject, and
the HOH file will contain the forms listed below:

      I-213
      I-385 *Must include the following in box 24 Remarks: AS A CONDITION OF YOUR PAROLE
       YOU ARE TO REPORT TO THE IMMIGRATION AND CUSTOMS ENFORCEMENT (ICE)
       OFFICE NEAR YOUR FINAL DESTINATION WITHIN 60 DAYS OR FACE REMOVAL
       FROM THE UNITED STATES. VISIT WWW. ICE.GOV/CONTACT/FIELD-OFFICES# FOR
       ADDRESSES.
      I-94
      G-56

Agents will provide all members of the family unit a copy of the I-385, I-94 and the G-56. Documents for each
of the family unit members will be placed on the right hand side of the file as shown below:

Once processing is complete, USBP will coordinate with ICE/ERO on site for ATD. ICE/ERO will then take
the file and forward it to the appropriate ICE Field Office.




                                                        3
                                                     SAR0112                                AR 0023
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 116 of 280




                                SAR0113                       AR 0024
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 117 of 280




                                SAR0114                       AR 0025
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 118 of 280


                                 TCA – 134
                                                                                 Total = 393
                           Sunday
                             EPT - 131
                             SDC - 135
                             TCA – 134
                                                                                 Total = 400
               Buses to Laredo – Started Sunday 8/1:
                              3 buses (210 PAX) daily planned (LRT is picking up)
                              8/1 - 3 buses , 210 Subjects
                              8/2 - 1, 70 (as of 0745)

               Moved to ERO
                              Friday 89 SAs; 266 FMUAs
                              Saturday 79 SAs, 315 FMUAs
                              Sunday 40 SA, 499 FMUAs

               Planned Movements to ERO Today;
                              0 SA, 97 FMUAs




Blue Font shows recent LOE movements/updates
        Red check marks anotates complete
Yellow items that still need attention.



RGV Requirements Identified:
        1.     Increased Medical personal for screenings
                       a.     LSGS personnel 82 LSGS medical staff (30 Providers and 52 Support Staff) to RGV are being moved Takes 3-5 days to effectuate.
                       b.     17 National BORSTAR deploying to RGV to support TOPS until LSGS arrive (Estimated Deployment 5-14 days; Start Date TBD)
                       c.     USCG/HHS to backfill sectors who lose LSGS support.

        2.     Virtual Processing
                       a.     Total of 87 of 90 VP slots have been filled as of 8/2
                       b.           The following Sectors provided additional support above those slots they already provided:
                                                               i.      Spokane  –6
                                                             ii.      Detroit – 24
                                                            iii.      Buffalo – 3
                                                            iv.      Swanton – 9
                                                              v.      Houlton – 3
                                                            vi.      USBP HQ – 1 (pilot)

                       c.     We need executive level support to provide increased/continued OFO VP support Current OFO VP support (10) provided 30% of all file output and produce high quality files


                                                                            Total
   Sector                               Current                       Surge Commitment Change
   Blaine                                           3                    +0          3         Going to Support YUM VP (OPS WEST LOEs)
   Spokane                                          3                    +6          9         SPW will remain at 3 processors (per day) right now and increase to 9 over the next 24 hours
   Havre                                            4                    +0          4         No Change - Currently has 2 Agents on 2 shifts processing
   Grand Forks                                      3                    +0          3         No change - Currently has 2 Agents on Days and one on Swings
                                                                                     30
   Detroit                                          6                  +24                     Currently doing 6 per day, Will provide a total of 30 per day or 10 slots per shift (30) – Increase of 14 daily. Purchasing
                                                                                               more equipment to run up to 25 VP per shift dependent on manpower.
   Buffalo                                        3                      +3          6         Adding an additional shift of 3
   Swanton                                        6                      +9          15        Currently has 2 Agents on 3 shifts, will increase to 5 Agents on 3 shifts = 15 processors
   Houlton                                        3                      +3          6         HLT has 3 Agents processing on day shift. Will add 3 Agents on swings as well= 6 processors
   OFO                                            10                      -          10        Days 2-4; Swings 2-4; and Mids 2

   USBP                                              -                   +1           1        Piloting 8/2
   Headquarters
   TOTALS FOR
   PLUS UP                                        41                   +46          =87        of 90 slots filled; 3 Unfilled
   SURGE

               Detailing 33 KIN/CCT to RGV to support surge
                          a.     RGV executed this operation on 8/1 – 8/21
                          b.     3 Supervisors and 30 agents from KIN/CCT deployed to RGV Surge


               Additional manpower from LRT (60 agents)
                          a.     60 LRT agents deployed to RGV on 8/1

               Resume Lateral Bus Movements from RGV to LRT
                          a.     LRT supporting by transporting 3 LRT buses daily (70 PAX each for 210 total) starting 8/1

        3.     RGV onboarding USCIS personnel with Targeted Skillsets to Donna
                       a.     USCIS Director                                     visited, along with             and             (Harlingen and Houston FODs) and offered to help They are providing 1801s that can process and serve
                              NTAs; manage RAILS from Donna; and run records checks
                       b.




                                                                                                                                SAR0115                                                                       AR 0026
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 119 of 280




                                SAR0116                       AR 0027
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 120 of 280




                                SAR0117                       AR 0028
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 121 of 280




                                SAR0118                       AR 0029
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 122 of 280




                                SAR0119                       AR 0030
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 123 of 280




                                SAR0120                       AR 0031
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 124 of 280




                         CERTIFICATE OF SERVICE

      I hereby certify that on April 20, 2022, I served the CERTIFIED

ADMINISTRATIVE RECORD via email on the following counsel for Plaintiff

in Florida v. United States, et al., No. 3:21-cv-01066.

      Karen Ann Brodeen
      Karen.brodeen@myfloridalegal.com

      Natalie Christmas
      Natalie.christmas@myfloridalegal.com

      James Hamilton Percival II
      James.percival@myfloridalegal.com


                          By: /s/ Joseph A. Darrow
                          JOSEPH A. DARROW
                          Trial Attorney
                          United States Department of Justice
                          Civil Division




                                       SAR0121
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 125 of 280


                    U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
                  CENTERS FOR DISEASE CONTROL AND PREVENTION (CDC)

       ORDER UNDER SECTIONS 362 & 365 OF THE PUBLIC HEALTH SERVICE ACT
                     (42 U.S.C. §§ 265, 268) and 42 C.F.R. § 71.40

                     PUBLIC HEALTH DETERMINATION
                                  AND
      ORDER REGARDING THE RIGHT TO INTRODUCE CERTAIN PERSONS FROM
      COUNTRIES WHERE A QUARANTINABLE COMMUNICABLE DISEASE EXISTS



Executive Summary

        The Centers for Disease Control and Prevention (CDC), a component of the U.S. Department of
Health and Human Services (HHS), is hereby issuing this Public Health Determination and Order
Regarding Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable
Communicable Disease Exists (Public Health Determination and Termination). This Public Health
Determination and Termination terminates the Order Suspending the Right to Introduce Certain Persons
from Countries Where a Quarantinable Communicable Disease Exists, issued on August 2, 2021
(August Order), 1 and all related prior orders issued pursuant to the authorities in sections 362 and 365 of
the Public Health Service (PHS) Act (42 U.S.C. §§ 265, 268) and the implementing regulation at 42
C.F.R. § 71.40 (CDC Orders); 2 this Termination will be implemented on May 23, 2022. The August
Order continued a suspension of the right to introduce “covered noncitizens,” as defined in the Order, 3
into the United States along the U.S. land and adjacent coastal borders. 4 The August Order states that
CDC will reassess at least every 60 days whether the Order remains necessary to protect the public
health. Based on the public health landscape, the current status of the COVID-19 pandemic, and the
procedures in place for the processing of covered noncitizens, taking into account the inherent risks of
transmission of SARS-CoV-2 in congregate settings, CDC has determined that a suspension of the right
to introduce such covered noncitizens is no longer necessary to protect U.S. citizens, U.S. nationals,
lawful permanent residents, personnel and noncitizens at the ports of entry (POE) and U.S. Border Patrol
stations, and destination communities in the United States. This Termination will be implemented on
May 23, 2022, to enable the Department of Homeland Security (DHS) to implement appropriate
COVID-19 mitigation protocols, such as scaling up a program to provide COVID-19 vaccinations to

1
  Available at https://www.cdc.gov/coronavirus/2019-ncov/downloads/CDC-Order-Suspending-Right-to-Introduce- Final 8-
2-21.pdf (last visited Mar. 7, 2022); see also 86 Fed. Reg. 42828 (Aug. 5, 2021).
2
  “CDC Orders” issued under these legal authorities are found at 85 Fed. Reg. 17060 (Mar. 26, 2020), 85 Fed. Reg. 22424
(Apr. 22, 2020), 85 Fed. Reg. 31503 (May 26, 2020), 85 Fed. Reg. 65806 (Oct. 16, 2020), and 86 Fed. Reg. 42828 (Aug. 5,
2021) (fully incorporating by reference 86 Fed. Reg. 38717 (July 22, 2021), see 86 Fed. Reg. 42828, 42829 at note 3).
3
  See infra I.
4
  The August Order specifically excepted unaccompanied noncitizen children (UC) and incorporated an exception for UC
issued by CDC on July 16, 2021 (July Exception). Public Health Determination Regarding an Exception for Unaccompanied
Noncitizen Children from Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable
Communicable Disease Exists, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/more/pdf/NoticeUnaccompaniedChildren.pdf (July 16, 2021); 86 Fed. Reg. 38717 (July 22, 2021); see 86 Fed. Reg.
42828, 42829 at note 1 (Aug. 5, 2021) (which fully incorporated by reference the July Exception relating to UC). On March
11, 2022, CDC fully terminated the August Order and all prior orders issued under the same authorities with respect to UC.
See https://www.cdc.gov/coronavirus/2019-ncov/more/pdf/NoticeUnaccompaniedChildren-update.pdf.

                                                            1

                                                         SAR0122
      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 126 of 280


migrants, and prepare for full resumption of regular migration processing under Title 8 authorities. Until
that date, it is CDC’s expectation that DHS will continue to apply exceptions outlined in the August
Order to covered noncitizens as appropriate, including the exception based on the totality of an
individual’s circumstances on a case-by-case basis.


Outline of Determination and Order

I. Background
   A. Evolution of the COVID-19 Pandemic and the U.S. Government Response
       1. First Wave – January to June 2020
       2. Second Wave – June to August 2020
       3. Third Wave – Alpha Variant – September 2020 to May 2021
       4. Fourth Wave – Delta Variant – June to October 2021
       5. Fifth Wave – Omicron Variant – November 2021 to March 2022
   B. Current Status of the COVID-19 Pandemic
       1. Community Levels
       2. Healthcare Systems and Resources
       3. Mitigation Measures
           a. Test Availability
           b. Vaccines and Boosters
           c. Treatments
       4. Congregate Settings
       5. DHS Mitigation Measures
II. Public Health Determination
III. Legal Considerations
   A. Temporary Nature of Orders under 42 U.S.C. § 265 and Absence of Reliance Interests
   B. Basis for Termination under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40
IV. Issuance and Implementation
   A. Implementation of this Termination
   B. APA Review




                                                    2

                                                 SAR0123
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 127 of 280


I.       Background

        Coronavirus disease 2019 (COVID-19) is a quarantinable communicable disease 5 caused by the
SARS-CoV-2 virus. As part of U.S. government efforts to mitigate the introduction, transmission, and
spread of COVID-19, CDC issued the August Order, 6 replacing a prior order issued on October 13,
2020 (October Order) which continued a series of orders issued pursuant to 42 U.S.C. §§ 265, 268 and
the implementing regulation at 42 C.F.R. § 71.40, 7 suspending the right to introduce 8 certain persons
into the United States from countries or places where the quarantinable communicable disease exists in
order to protect the public health from an increased risk of the introduction of COVID-19. 9 The August
Order applied specifically to “covered noncitizens,” defined as “persons traveling from Canada or
Mexico (regardless of their country of origin) who would otherwise be introduced into a congregate
setting in a POE or U.S. Border Patrol station 10 at or near the U.S. land and adjacent coastal borders
subject to certain exceptions detailed below; this includes noncitizens who do not have proper travel
documents, noncitizens whose entry is otherwise contrary to law, and noncitizens who are apprehended
at or near the border seeking to unlawfully enter the United States between POE.” 11

        Three groups typically make up covered noncitizens—single adults (SA), 12 individuals in family
units (FMU), 13 and unaccompanied noncitizen children (UC). 14 UC were specifically excepted from the



5
  Quarantinable communicable diseases are any of the communicable diseases listed in Executive Order 13295, as provided
under § 361 of the Public Health Service Act (42 U.S.C. § 264), 42 C.F.R. § 71.1. The list of quarantinable communicable
diseases currently includes cholera, diphtheria, infectious tuberculosis, plague, smallpox, yellow fever, viral hemorrhagic
fevers (Lassa, Marburg, Ebola, Crimean-Congo, South American, and others not yet isolated or named), severe acute
respiratory syndromes (including Middle East Respiratory Syndrome and COVID-19), influenza caused by novel or
reemergent influenza viruses that are causing, or have the potential to cause, a pandemic, and measles. See Exec. Order
13295, 68 Fed. Reg. 17255 (Apr. 4, 2003), as amended by Exec. Order 13375, 70 Fed. Reg. 17299 (Apr. 1, 2005) and Exec.
Order 13674, 79 Fed. Reg. 45671 (July 31, 2014), 86 Fed. Reg. 52591 (Sep. 22, 2021).
6
  See supra note 1.
7
  Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease
Exists, 85 Fed. Reg. 65806 (Oct. 16, 2020). The October Order replaced the Order Suspending Introduction of Certain
Persons from Countries Where a Communicable Disease Exists, issued on March 20, 2020 (March Order), which was
subsequently extended and amended. Notice of Order Under Sections 362 and 365 of the Public Health Service Act
Suspending Introduction of Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17060
(Mar. 26, 2020); Extension of Order Under Sections 362 and 365 of the Public Health Service Act; Order Suspending
Introduction of Certain Persons From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 22424 (Apr. 22, 2020);
Amendment and Extension of Order Under Sections 362 and 365 of the Public Health Service Act; Order Suspending
Introduction of Certain Persons from Countries Where a Communicable Disease Exists, 85 Fed. Reg. 31503 (May 26, 2020).
8
  Suspension of the right to introduce means to cause the temporary cessation of the effect of any law, rule, decree, or order
pursuant to which a person might otherwise have the right to be introduced or seek introduction into the United States. 42
C.F.R. § 71.40(b)(5).
9
  See supra note 2.
10
   POE and U.S. Border Patrol stations are operated by U.S. Customs and Border Protection (CBP), an agency within
Department of Homeland Security (DHS).
11
   86 Fed. Reg. 42828, 42841.
12
   A single adult (SA) is any noncitizen adult 18 years or older who is not an individual in a “family unit.” 86 Fed. Reg.
42828, 42830 at note 13.
13
   An individual in a family unit (FMU) includes any individual in a group of two or more noncitizens consisting of a minor
or minors accompanied by their adult parent(s) or legal guardian(s). Id. at note 14.
14
   CDC understands UC to be a class of individuals similar to or the same as those individuals who would be considered
“unaccompanied alien children” (see 6 U.S.C. § 279) for purposes of HHS Office of Refugee Resettlement custody, were
DHS to make the necessary immigration determinations under Title 8 of the U.S. Code. 86 Fed. Reg. 38717, 38718 at note 4.

                                                              3

                                                          SAR0124
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 128 of 280


August Order 15 based on its explicit incorporation by reference of CDC’s July Exception of UC. 16 On
March 11, 2022, CDC fully terminated the August Order and all previous orders issued under 42 U.S.C.
§§ 265, 268 and 42 C.F.R. § 71.40 with respect to UC. This termination with respect to UC was based
on a thorough determination of the current status of the COVID-19 pandemic as well as an analysis of
the specific care available to UC 17 and the absence of legitimate countervailing reliance interests, and
was prioritized ahead of CDC’s reassessment for SA and FMU in light of the entry of a preliminary
injunction by the U.S. District Court for the Northern District of Texas that was to go into effect on
March 11, 2022, enjoining CDC from excepting UC from the August Order based solely on their status
as UC. 18

        The CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 were intended to
reduce the risk of COVID-19 introduction, transmission, and spread at POE and U.S. Border Patrol
stations by significantly reducing the number and density of covered noncitizens held in these
congregate settings, thereby reducing risks to U.S. citizens, U.S. nationals, lawful permanent residents,
DHS and U.S. Customs and Border Protection (CBP) personnel and noncitizens at the facilities, and
local healthcare systems. The measures included in the CDC Orders were deemed necessary for the
protection of public health.

        In the August Order, CDC committed to reassessing the public health circumstances
necessitating the Order at least every 60 days by reviewing the latest information regarding the status of
the COVID-19 public health emergency and associated public health risks, including migration patterns,
sanitation concerns, and any improvement or deterioration of conditions at the U.S. borders. 19 CDC
conducted its most recent reassessment on January 28, 2022; in addition, a reassessment specific to UC
was completed on March 11, 2022. The instant Public Health Determination and Termination considers
the current status of the pandemic, including the receding numbers of COVID-19 cases, hospitalizations,
and deaths most recently related to the Omicron variant, and constitutes the reassessment concluding on
March 30, 2022. This Determination and Termination also reflects the recent issuance of CDC’s
COVID-19 Community Levels framework. 20 Additionally, the National COVID-19 Preparedness Plan
was recently updated to provide a roadmap to help the nation continue fighting COVID-19, while also
allowing resumption of more normal routines. 21

       Based on the analysis below, the CDC Director finds that, pursuant to 42 U.S.C. § 265 and 42
C.F.R. § 71.40, there is no longer a serious danger that the entry of covered noncitizens, as defined by
15
   86 Fed. Reg. 42828, 42829 at note 3.
16
   See supra note 4.
17
   While SA, FMU, and UC are all processed by U.S. Customs and Border Protection (CBP), a component of DHS, following
that initial intake, UC are referred to HHS’ Office of Refugee Resettlement (ORR) for care. See 86 Fed. Reg. 42828, 42835-
37 (describing the processing of noncitizen SA and FMU by DHS components, CBP and Immigration and Customs
Enforcement (ICE), under both regular Title 8 immigration and under an order pursuant to 42 U.S.C. § 265). At both the CBP
and ORR stages, UC receive special attention. This care and the distinct immigration processing available to UC compared to
SA and FMU provided the basis for the exception of UC in the July Exception and the August Order. See 86 Fed. Reg.
42828, 42835-37 (describing the processing of noncitizen SA and FMU by DHS components, CBP and ICE, under both
regular Title 8 immigration and under an order pursuant to 42 U.S.C. § 265); see also 87 Fed. Reg. 15243, 15246-47 (Mar.
17, 2022) (describing the different COVID-19 mitigation measures applied where UC are processed).
18
   Texas v. Biden, No. 4:21-cv-0579-P, 2022 WL 658579, at *16-18 (N.D. Tex. Mar. 4, 2022).
19
   86 Fed. Reg. 42828, 42841.
20
   COVID-19 Community Levels, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/science/community-levels.html (updated Mar. 24, 2022); see infra I.B.1.
21
   National COVID-19 Preparedness Plan – March 2022, available at https://www.whitehouse.gov/wp-
content/uploads/2022/03/NAT-COVID-19-PREPAREDNESS-PLAN.pdf (last visited Mar. 30, 2022).

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          Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 129 of 280


the August Order, into the United States will result in the introduction, transmission, and spread of
COVID-19 and that a suspension of the introduction of covered noncitizens is no longer required in the
interest of public health. While the introduction, transmission, and spread of COVID-19 into the United
States is likely to continue to some degree, the cross-border spread of COVID-19 due to covered
noncitizens does not present the serious danger to public health that it once did, given the range of
mitigation measures now available. CDC continues to stress the need for robust COVID-19 mitigation
measures at the border, including vaccination and continued masking in congregate settings. CDC has
determined that the extraordinary measure of an order under 42 U.S.C. § 265 is no longer necessary,
particularly in light of less burdensome measures that are now available to mitigate the introduction,
transmission, and spread of COVID-19. Therefore, as described below, CDC is terminating the August
Order and all related prior orders issued pursuant to 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40. This
Termination will be implemented on May 23, 2022, to enable DHS to implement appropriate COVID-19
protocols, such as scaling up a program to offer COVID-19 vaccinations to migrants, and prepare for
full resumption of regular migration under Title 8 authorities.

     A.      Evolution of the COVID-19 Pandemic and the U.S. Government Response

        Since late 2019, SARS-CoV-2, the virus that causes COVID-19, has spread throughout the
world, resulting in a pandemic. As of March 30, 2022, there have been over 480 million confirmed cases
of COVID-19 globally, resulting in over six million deaths. 22 The United States has reported over 79
million cases resulting in over 975,000 deaths due to the disease 23 and is currently averaging around
26,000 new cases of COVID-19 a day as of March 28, 2022. 24

       The U.S. government response to the COVID-19 pandemic has focused on taking actions and
providing guidance based on the best available scientific information. The United States has experienced
five waves of the pandemic, each with its own unique epidemiologic characteristics. 25 As the waves of
COVID-19 cases have surged and ebbed, so too have actions taken in response to the pandemic. Earlier
phases of the pandemic required extraordinary actions by the U.S. government and society at large.
However, epidemiologic data, scientific knowledge, and the availability of public health mitigation
measures, vaccines, and therapeutics have permitted many of those early actions to be relaxed in favor
of more nuanced, targeted, and narrowly tailored guidance that provides a less burdensome means of
preventing and controlling the SARS-CoV-2 virus and COVID-19. Of note for this Determination are
the multiple travel- and migration-related measures taken by the U.S. government in each phase.

          1. First Wave – January to June 2020

     SARS-CoV-2 was first identified as the cause of an outbreak of respiratory illness that began in
Wuhan, Hubei Province, People’s Republic of China. 26 The United States reported its first COVID-19
22
   Coronavirus disease (COVID-19) pandemic, World Health Organization, https://covid19.who.int/ (last visited Mar. 30,
2022).
23
   COVID Data Tracker, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#datatracker-
home (last visited Mar. 30, 2022).
24
   See Trends in Number of COVID-19 Cases and Deaths in the US Reported to CDC, by State/Territory, Centers for Disease
Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#trends dailycases, noting a seven-day moving average of
26,190 cases on March 28, 2022.
25
   Supra note 21.
26
   Patel A, Jernigan DB. Initial Public Health Response and Interim Clinical Guidance for the 2019 Novel Coronavirus
Outbreak — United States, December 31, 2019–February 4, 2020. MMWR Morb Mortal Wkly Rep 2020;69:140–146. DOI:
http://dx.doi.org/10.15585/mmwr.mm6905e1.

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 130 of 280


case on January 21, 2020, 27 and the HHS Secretary declared COVID-19 a public health emergency on
January 31, 2020. 28 Community transmission was detected in the United States in February 2020. 29
COVID-19 cases initially spread in a small number of U.S. metropolitan areas, most notably in New
York City and surrounding areas. 30 The resulting first wave of the pandemic peaked in the United States
on April 7, 2020, with two million cases (3% of cumulative cases) and over 127,000 deaths (13% of
cumulative deaths). 31 During this period, public health officials monitored the situation closely and
began instituting community-level nonpharmaceutical interventions such as school closures and physical
distancing, in addition to promoting respiratory and hand hygiene practices. 32 Vaccines and approved
therapeutics were not available during this time. 33

        As public health officials learned more about the epidemiology of SARS-CoV-2, the U.S.
government, state and local health departments, and other partners implemented aggressive measures to
slow transmission of the virus in the United States. 34 Many of the mitigation actions taken by the U.S.
government during this wave involved travel and migration. The President issued a series of actions
limiting entry into the United States, including proclamations suspending entry into the country of
immigrants or nonimmigrants who were physically present within certain countries during the 14-day
period preceding their entry or attempted entry, 35 and Canada and Mexico joined the United States in
temporarily restricting travelers across land borders for non-essential purposes. 36 CDC began screening
travelers from certain countries at airports and issued several travel health notices 37 and, following a
series of COVID-19 outbreaks on cruise ships, issued a No Sail Order and Suspension of Further
Embarkation. 38


27
   Id.
28
   Determination that a Public Health Emergency Exists, U.S. Department of Health and Human Services (Jan. 31, 2020),
https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx (last visited Mar. 30, 2022).
29
   Geographic Differences in COVID-19 Cases, Deaths, and Incidence — United States, February 12–April 7, 2020. MMWR
Morb Mortal Wkly Rep 2020;69:465–471. DOI: http://dx.doi.org/10.15585/mmwr.mm6915e4.
30
   Id.
31
   Case notifications from state, local and territorial public health jurisdictions, Centers for Disease Control and Prevention,
https://data.cdc.gov/Case-Surveillance/COVID-19-Case-Surveillance-Public-Use-Data/vbim-akqf, (last accessed Mar. 30,
2022); Provisional COVID-19 Death Counts by Week Ending Date and State, Centers for Disease Control and Prevention,
https://data.cdc.gov/NCHS/Provisional-COVID-19-Death-Counts-by-Week-Ending-D/r8kw-7aab (last accessed Mar. 30,
2022); COVID-19 Reported Patient Impact and Hospital Capacity by State Timeseries, Unified Hospital Analytic,
https://healthdata.gov/Hospital/COVID-19-Reported-Patient-Impact-and-Hospital-Capa/g62h-syeh (last accessed Mar. 30,
2022).
32
   Jernigan DB. Update: Public Health Response to the Coronavirus Disease 2019 Outbreak — United States, February 24,
2020. MMWR Morb Mortal Wkly Rep 2020;69:216–219. DOI: http://dx.doi.org/10.15585/mmwr mm6908e1.
33
   Id.
34
   See supra note 26.
35
   See Proclamation 9984 (Jan. 31, 2020), 85 Fed. Reg. 6709 (Feb. 5, 2020) (regarding the People’s Republic of China);
Proclamation 9992 (Feb. 28, 2020), 85 Fed. Reg. 12855 (Mar. 4, 2020) (regarding the Republic of Iran); Proclamation 9993
(Mar. 11, 2020), 85 Fed. Reg. 15045 (Mar. 16, 2020) (regarding the Schengen Area of Europe); Proclamation 9996 (Mar. 14,
2020), 85 Fed. Reg. 15341 (Mar. 18, 2020) (regarding the United Kingdom and Republic of Ireland); and Proclamation
10041, as amended by Proclamation 10042 (May 24, 2020), 85 Fed. Reg. 31933 (May 28, 2020) (regarding the Federative
Republic of Brazil).
36
   See 85 Fed. Reg. 16547 (Mar. 24, 2020); 85 Fed. Reg. 16548 (Mar. 24, 2020).
37
   Supra note 32; see also CDC Advises Travelers to Avoid All Nonessential Travel to China, Centers for Disease Control and
Prevention, https://www.cdc.gov/media/releases/2020/s0128-travelers-avoid-china html (Jan. 28, 2020), advising travelers to
avoid all nonessential travel to countries with known viral spread.
38
   85 Fed. Reg. 16628 (Mar. 24, 2020); extended 85 Fed. Reg. 21004 (Apr. 15, 2020); see also Moriarty LF, Plucinski MM,
Marston BJ, et al. Public Health Responses to COVID-19 Outbreaks on Cruise Ships — Worldwide, February–March 2020.
MMWR Morb Mortal Wkly Rep 2020;69:347-352. DOI: http://dx.doi.org/10.15585/mmwr.mm6912e3.

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 131 of 280


        It was in the context of this initial wave of the pandemic and travel- and migration-related
actions that the CDC Director promulgated an interim final rule at 42 C.F.R. § 71.40 implementing his
authority under 42 U.S.C. §§ 265, 268 39 and issued an Order under the interim final rule suspending the
introduction of certain “covered aliens” on March 20, 2020 (March Order). 40 The March Order sought to
avert the serious danger of the introduction of COVID–19 into the land POEs and Border Patrol stations
at or near the United States borders with Canada and Mexico due to encountered noncitizens otherwise
being held in the common areas of the facilities and in close proximity to one another as they undergo
immigration processing. The March Order applied to SA, FMU, and UC and was subsequently amended
and extended in April and May 2020. 41

        2. Second Wave – June to August 2020

         During the second wave of the pandemic, from approximately June to August 2020, COVID-19
spread geographically throughout the United States. 42 Case numbers peaked on July 14, 2020, and in
total the second wave resulted in approximately 2.6 million COVID-19 cases (4% of cumulative cases)
and over 75,000 deaths (4% of cumulative deaths). During the second wave, public health officials and
scientists learned more about COVID-19 transmission, including asymptomatic transmission, 43
particularly in congregate, high-density settings, such as meat-packing plants and correctional
facilities. 44 The medical community learned more about potential effects of COVID-19 on specific
populations, such as pregnant people, 45 the elderly, and immunocompromised people. In July 2020,
CDC announced that cloth face coverings (masks) are a critical public health tool in reducing the spread
of COVID-19, particularly when used universally within communities. 46 As stay-at-home orders issued
during the first wave were lifted, CDC continued to promote broad implementation of masking and face
covering requirements. 47 One pivotal marker of the second wave was the creation of Operation Warp

39
   See 85 Fed. Reg. 16559 (Mar. 24, 2020).
40
   See 85 Fed. Reg. 17060 (Mar. 26, 2020).
41
   See supra note 7.
42
   Oster AM, Kang GJ, Cha AE, et al. Trends in Number and Distribution of COVID-19 Hotspot Counties — United States,
March 8–July 15, 2020. MMWR Morb Mortal Wkly Rep 2020;69:1127–1132. DOI:
http://dx.doi.org/10.15585/mmwr.mm6933e2.
43
   Payne DC, Smith-Jeffcoat SE, Nowak G, et al. SARS-CoV-2 Infections and Serologic Responses from a Sample of U.S.
Navy Service Members — USS Theodore Roosevelt, April 2020. MMWR Morb Mortal Wkly Rep 2020;69:714–721. DOI:
http://dx.doi.org/10.15585/mmwr.mm6923e4.
44
   Dyal JW, Grant MP, Broadwater K, et al. COVID-19 Among Wo
States, April 2020. MMWR Morb Mortal Wkly Rep 2020;69:557–561. DOI: http://dx.doi.org/10.15585/mmwr mm6918e3;
see also Hagan LM, Williams SP, Spaulding AC, et al. Mass Testing for SARS-CoV-2 in 16 Prisons and Jails — Six
Jurisdictions, United States, April–May 2020. MMWR Morb Mortal Wkly Rep 2020;69:1139–1143. DOI:
http://dx.doi.org/10.15585/mmwr.mm6933a3; Njuguna H, Wallace M, Simonson S, et al. Serial Laboratory Testing for
SARS-CoV-2 Infection Among Incarcerated and Detained Persons in a Correctional and Detention Facility — Louisiana,
April–May 2020. MMWR Morb Mortal Wkly Rep 2020;69:836-840. DOI: http://dx.doi.org/10.15585/mmwr mm6926e2.
45
   Ellington S, Strid P, Tong VT, et al. Characteristics of Women of Reproductive Age with Laboratory-Confirmed SARS-
CoV-2 Infection by Pregnancy Status — United States, January 22–June 7, 2020. MMWR Morb Mortal Wkly Rep
2020;69:769–775. DOI: http://dx.doi.org/10.15585/mmwr mm6925a1.
46
   CDC calls on Americans to wear masks to prevent COVID-19 spread (press release), Centers for Disease Control and
Prevention, https://www.cdc.gov/media/releases/2020/p0714-americans-to-wear-masks html (Jul. 14, 2020) (noting the
growing body of evidence supporting cloth face coverings as a source control to help prevent the person wearing the mask
from spreading COVID-19 to others; the main protection individuals gain from masking occurs when others in their
communities also wear face coverings).
47
   Hendrix MJ, Walde C, Findley K, Trotman R. Absence of Apparent Transmission of SARS-CoV-2 from Two Stylists After
Exposure at a Hair Salon with a Universal Face Covering Policy — Springfield, Missouri, May 2020. MMWR Morb Mortal
Wkly Rep 2020;69:930-932. DOI: http://dx.doi.org/10.15585/mmwr.mm6928e2.

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                                                        SAR0128
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 132 of 280


Speed, a partnership between the HHS and Department of Defense (DOD) aimed to help accelerate the
development of a COVID-19 vaccine. 48

        As concerns about asymptomatic transmission grew and vaccines and therapeutics were still
being developed, the U.S. government continued to take steps to protect the public health. CDC
extended the No Sail Order and Suspension of Further Embarkation for cruise ships 49 and, as the second
wave was being replaced by the third, issued an Order temporarily halting evictions in the United States
due to the potential for accelerated transmission in congregate settings such as shelters for displaced
persons. 50 The CDC Order under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 issued in March 2020
and amended and extended in April and May 2020, continued to be in place throughout this period.

        3. Third Wave – Alpha Variant – September 2020 to May 2021

        COVID-19 variants, including the B.1.1.7 (Alpha) variant, emerged in the fall of 2020, heralding
the third wave of the pandemic 51 and resulting in 22.5 million COVID-19 cases (34% of cumulative
cases) and over 398,000 deaths (21% of cumulative deaths) in the United States. 52 The third wave lasted
from approximately September 2020 to May 2021 and coincided with the initial availability of vaccines
for COVID-19 53 and increased availability of therapeutics. 54 Even as the third wave began to ebb,
however, a new variant—B.1.617.2 (Delta)—began circulating in India and other countries.

        The U.S. government responded to the Alpha variant and resulting surge in cases with additional
travel- and migration-related restrictions, beginning with a requirement for air passengers from the
United Kingdom (where the Alpha variant was first identified) to present a negative COVID-19 test


48
   Operation Warp Speed: Accelerated COVID-19 Vaccine Development Status and Efforts to Address Manufacturing
Challenges, Government Accountability Office, https://www.gao.gov/products/gao-21-319 (Feb. 11, 2021).
49
   See 85 Fed. Reg. 44085 (July 21, 2020).
50
   See 85 Fed. Reg. 55292 (Sept. 4, 2020). The CDC Director subsequently renewed the “eviction moratorium” Order until
March 31, 2021 (86 Fed. Reg. 8020 (Feb. 3, 2021)), then modified and extended the Order until June 30, 2021 (86 Fed. Reg.
16731 (Mar. 31, 2021)) and extended the Order until July 31, 2021 (86 Fed. Reg. 34010 (Jun. 28, 2021)). On August 3, 2021,
the CDC Director announced a new Order to temporarily halt residential evictions in communities with substantial or high
transmission of COVID-19 to prevent the further spread of COVID-19 (86 Fed. Reg. 43244 (Aug. 6, 2021)).
51
   Science Brief: Emerging SARS-CoV-2 Variants – Updated, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/scientific-brief-emerging-variants html (updated Jan. 28,
2021).
52
   Per internal CDC calculations.
53
   COVID-19 vaccines were initially available only for those persons with higher risk of COVID-19, such as
immunocompromised individuals and healthcare workers, but access was subsequently expanded to the general population
aged 16 years and older. The U.S. Food and Drug Administration (FDA) issued emergency use authorizations for three
COVID-19 vaccines: two mRNA vaccines (produced by Pfizer-BioNTech and Moderna) and one viral vector vaccine
(produced by Johnson & Johnson/Janssen); see generally https://www fda.gov/emergency-preparedness-and-response/mcm-
legal-regulatory-and-policy-framework/emergency-use-authorization#coviddrugs; Dooling K, McClung N, Chamberland M,
et al. The Advisory Committee on Immunization Practices’ Interim Recommendation for Allocating Initial Supplies of
COVID-19 Vaccine — United States, 2020. MMWR Morb Mortal Wkly Rep 2020;69:1857-1859. DOI:
http://dx.doi.org/10.15585/mmwr.mm6949e1. In May 2021, adolescents 12 to 15 years old became eligible to receive
COVID-19 vaccines. Wallace M, Woodworth KR, Gargano JW, et al. The Advisory Committee on Immunization Practices’
Interim Recommendation for Use of Pfizer-BioNTech COVID-19 Vaccine in Adolescents Aged 12–15 Years — United States,
May 2021. MMWR Morb Mortal Wkly Rep 2021;70:749–752. DOI: http://dx.doi.org/10.15585/mmwr mm7020e1.
54
   U.S. Food and Drug Administration, Emergency Use Authorization, https://www fda.gov/emergency-preparedness-and-
response/mcm-legal-regulatory-and-policy-framework/emergency-use-authorization#coviddrugs (last accessed Mar. 30,
2022).

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                                                         SAR0129
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 133 of 280


result before boarding a flight to the United States; 55 CDC subsequently expanded the predeparture
testing requirement to air passengers departing to the United States from any foreign country. 56 Due to
the inherent risk of transmission of COVID-19 in the travel context, 57 CDC also issued an Order
requiring face masks to be worn while on conveyances traveling into, within, or out of the United States
and at U.S. transportation hubs. 58 Based on developments with respect to variants and the continued
spread of COVID-19, the U.S. government expanded the list of countries from which entry into the
United States was limited. 59 CDC also announced a Conditional Sailing Order framework under which
cruise ships could resume passenger operations only after meeting stringent public health mitigation
measures, such as frequent testing of crew members. 60

       In October 2020, following the promulgation of the Final Rule for 42 C.F.R. § 71.40, 61 CDC
published a new Order under 42 U.S.C. §§ 265 and 268 and the regulation suspending the right to
introduce certain covered persons into the United States. 62 As with all prior CDC Orders, the October
Order applied to “covered aliens,” which included certain SA, FMU, and UC seeking entry into the
United States without valid travel documents and provided certain exceptions, including a case-by-case
exception to be applied by CBP officers with supervisor approval upon a determination that an
individual should be excepted from application of the Order based on the totality of the circumstances,
including consideration of significant law enforcement, officer and public safety, humanitarian, and
public health interests. The October Order was the subject of litigation regarding its application to both
FMU and UC. 63

55
   CDC to Require Negative COVID-19 Test for Air Travelers from the United Kingdom to the U.S., Centers for Disease
Control and Prevention, https://www.cdc.gov/media/releases/2020/s1224-CDC-to-require-negative-test html (Dec. 24, 2020).
56
   See 86 Fed. Reg. 7387 (Jan. 26, 2021).
57
   CDC has issued orders and guidance focusing on the “travel context,” which encompasses both conveyances and
transportation hubs, because these are locations where large numbers of people may gather and physical distancing can be
difficult. Furthermore, many people need to take public transportation for their livelihoods. Passengers (including young
children) may be unvaccinated and some on board, including personnel operating the conveyances or working at the
transportation hub, may have underlying health conditions that cause them to be at increased risk of severe illness (i.e., those
who might not be protected by vaccination because of weakened immune systems). Such people may not have the option to
disembark or relocate to another area of the conveyance. Transportation hubs are also places where people depart to different
geographic locations, both across the United States and around the world. Therefore, an exposure in a transportation hub can
have consequences to many destination communities if people become infected after they travel. See Requirement for Face
Masks on Public Transportation Conveyances and at Transportation Hubs, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/travelers/face-masks-public-transportation html (updated Feb. 25, 2022).
58
   Id.
59
   This included restrictions and suspension of entry of noncitizens (immigrants and nonimmigrants) who were present within
the European Schengen Area, the United Kingdom (excluding overseas territories outside of Europe), the Republic of
Ireland, the Federative Republic of Brazil, the Republic of South Africa, and the Republic of India in the 14-day period prior
to attempted entry. See Proclamation 10143 (Jan. 25, 2021), 86 Fed. Reg. 7467 (Jan. 28, 2021) (regarding the Schengen Area
of Europe, the United Kingdom, the Republic of Ireland, the Federative Republic of Brazil, and the Republic of South
Africa); Proclamation 10199 (Apr. 30, 2021), 86 Fed. Reg. 24297 (May 6, 2021) (regarding the Republic of India).
60
   See 86 Fed. Reg. 59720 (Oct. 28, 2021). The Order was extended in April, May, and October 2021.
61
   See 85 Fed. Reg. 56424 (Sept. 11, 2020).
62
   Order Suspending the Right to Introduce Certain Persons from Countries Where a Quarantinable Communicable Disease
Exists, 85 Fed. Reg. 65806 (Oct. 16, 2020).
63
   For example, on November 18, 2020, the United States District Court for the District of Columbia preliminarily enjoined
the U.S. government from expelling UC pursuant to the October 2020 Order. PJES v. Mayorkas, No. 1:20–cv–02245
(D.D.C.), Dkt. Nos. 79–80. While prohibited from expelling UC, the U.S. government worked to create solutions for the
appropriate care of UC pursuant to regular immigration authorities. On Friday, January 29, 2021, the United States Court of
Appeals for the District of Columbia Circuit granted a stay pending appeal of the District Court’s preliminary injunction
(PJES v. Mayorkas, No. 20–5357, Doc. No. 1882899), thereby permitting CDC and DHS to resume enforcement of the


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                                                           SAR0130
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 134 of 280


        4. Fourth Wave – Delta Variant – June to October 2021

        The COVID-19 pandemic’s fourth wave lasted from June to October 2021 and was characterized
by the spread of the Delta variant in the United States; during this period the United States experienced
9.8 million cases (15% of cumulative cases) and over 179,000 deaths (9% of cumulative deaths). 64
Vaccines were widely available during the fourth wave and uptake rose slightly throughout this period. 65

         Given the predictable global spread of the virus, the effectiveness of COVID-19 vaccines, and
the rising availability of COVID-19 vaccines globally, and recognizing the need to allow the domestic
and global economy to continue recovering from the effects of the pandemic, the President issued a
Proclamation reflecting the United States’ desire to move away from the country-by-country restrictions
previously applied during the COVID-19 pandemic and to adopt an air travel policy that relies primarily
on vaccination to advance the safe resumption of international air travel to the United States. 66 The
Proclamation was followed by a suite of travel-related mitigation measures. 67 Even as available
mitigation measures allowed the U.S. government to shift its pandemic approach in the travel context,
the country continued to see a surge in COVID-19 cases caused by the Delta variant necessitating
different measures in non-travel contexts. For example, as a result, the CDC Director extended the
aforementioned eviction moratorium 68 for persons in counties experiencing substantial or high rates of
transmission. 69

       During the fourth wave, CDC also issued the July Exception excepting UC from the October
2020 Order, which followed CDC’s decision in January 2021 to temporarily except UC from expulsion
pending a public health reassessment of the October Order. 70 The October 2020 Order was subsequently
replaced by the August Order under 42 U.S.C. §§ 265 and 268 and 42 C.F.R. § 71.40, which fully
incorporated the July Exception. The August Order explained why the mitigation measures specific to
UC and discussed in the July Exception were not available to SA and FMU and, thus, why the August
Order applied only to SA and FMU. 71 As with many of the other actions taken by the U.S. government



October Order and immediately expel UC. On January 30, 2021, CDC exercised its discretion to temporarily except UC from
expulsion pending the outcome of its public health reassessment of the October Order. See 86 Fed. Reg. 9942 (Feb. 17,
2021).
64
   Per internal CDC calculations.
65
   Trends in Number of COVID-19 Vaccinations in the US, Centers for Disease Control and Prevention,
https://covid.cdc.gov/covid-data-tracker/#vaccination-trends (last updated Mar. 29, 2022).
66
   See Proclamation 10294 (Oct. 25, 2021), 86 Fed. Reg. 59603 (Oct. 28, 2021) (terminating the suspension of entry into the
United States regarding the People’s Republic of China, the Republic of Iran, the Schengen Area of Europe, the United
Kingdom and Republic of Ireland, the Federative Republic of Brazil, the Republic of South Africa, and the Republic of
India).
67
   Including amending the Requirement for Proof of Negative COVID-19 Test or Recovery from COVID-19 for All Air
Passengers Arriving in the United States (https://www.cdc.gov/quarantine/fr-proof-negative-test html) to shorten the time
window for predeparture testing to one day for air passengers who were not fully vaccinated against COVID-19; Order
Requiring Airlines to Collect Contact Information for All Passengers Arriving into the United States
(https://www.cdc.gov/quarantine/order-collect-contact-info html), and the Order Implementing Presidential Proclamation on
Safe Resumption of Global Travel During the COVID-19 Pandemic, which required all non-U.S.-citizen, non-immigrants,
with limited exceptions, traveling to the United States by air to be fully vaccinated against COVID-19 and show proof of
vaccination (https://www.cdc.gov/quarantine/order-safe-travel.html).
68
   See 85 Fed. Reg. 55292, (Sept. 4, 2020).
69
   See 86 Fed. Reg. 43244, (Aug. 6, 2021).
70
   See supra note 63.
71
   86 Fed. Reg. 42828, 42837-38.

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                                                         SAR0131
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 135 of 280


during this wave, the August Order was predicated, in part, on the significant increase in community
transmission levels brought forth by the Delta variant.

        5. Fifth Wave – Omicron Variant – November 2021 to March 2022

        The highly infectious SARS-CoV-2 variant B.1.1.529 (Omicron) is responsible for the currently
receding fifth wave of the pandemic. The fifth wave resulted in an extraordinary and unparalleled
increase in COVID-19 cases around the world. 72 Although the emergence of the Omicron variant
resulted in the highest reported numbers of cases and hospitalizations during the pandemic, disease
severity indicators, including hospital length of stay, intensive care unit admissions, and deaths,
remained lower than during previous pandemic waves. 73 As a result of the Omicron surge, the United
States experienced almost 24 million cases (36% of cumulative cases); given this volume of cases,
however, the resulting number of deaths in the United States (163,000 deaths, or 9% of cumulative
deaths) was comparatively small. 74 Vaccination efforts continued across the country during this fifth
wave and were expanded to include children aged 5 to 11 years. 75 Despite breakthrough cases due to
Omicron, vaccines continued to provide substantial protection against severe illness, hospitalizations,
and deaths due to COVID-19. 76

        Although the COVID-19 public health emergency continues, 77 scientific understanding about the
epidemiology of COVID-19 and its variants as well as the effectiveness of pharmaceuticals and
nonpharmaceutical interventions have substantially expanded, allowing the U.S. government and CDC
to transition to a more narrowly tailored set of tools to prevent and control the spread of the SARS-CoV-
2 virus and COVID-19. The U.S. government continues to pivot away from country-specific measures.
Following the temporary issuance of country-based restrictions as Omicron emerged, 78 all country-based


72
   Omicron was first reported to the World Health Organization (WHO) by South Africa on November 24, 2021; on
November 26, 2021, WHO designated it a Variant of Concern (VOC). On November 30, 2021, the U.S. also decided to
classify Omicron as a VOC. This decision was based on a number of factors, including detection of cases attributed to
Omicron in multiple countries, even among persons without travel history, transmission and replacement of Delta as the
predominant variant in South Africa, changes in the spike protein of the virus, and concerns about potential decreased
effectiveness of vaccination and treatments.
73
   Iuliano AD, Brunkard JM, Boehmer TK, et al. Trends in Disease Severity and Health Care Utilization During the Early
Omicron Variant Period Compared with Previous SARS-CoV-2 High Transmission Periods — United States, December
2020–January 2022. MMWR Morb Mortal Wkly Rep. ePub: 25 January 2022. DOI:
http://dx.doi.org/10.15585/mmwr.mm7104e4; see also supra note 26.
74
   Per internal CDC calculations.
75
   Woodworth KR, Moulia D, Collins JP, et al. The Advisory Committee on Immunization Practices’ Interim
Recommendation for Use of Pfizer-BioNTech COVID-19 Vaccine in Children Aged 5–11 Years — United States, November
2021. MMWR Morb Mortal Wkly Rep 2021;70:1579–1583. DOI: http://dx.doi.org/10.15585/mmwr mm7045e1.
76
   Omicron Variant: What You Need to Know, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/variants/omicron-variant.html (updated Feb. 2, 2022). See also Tenforde MW,
Self WH, Gaglani M, et al. Effectiveness of mRNA Vaccination in Preventing COVID-19–Associated Invasive Mechanical
Ventilation and Death — United States, March 2021–January 2022. MMWR Morb Mortal Wkly Rep. ePub: 18 March 2022.
DOI: http://dx.doi.org/10.15585/mmwr.mm7112e1.
77
   The public health emergency determination has been renewed by the Secretary of HHS at 90-day intervals since January
2020, most recently on January 14, 2022. See Renewal of Determination That A Public Health Emergency Exists, Office of
the Assistant Secretary for Preparedness and Response, https://aspr.hhs.gov/legal/PHE/Pages/COVID19-14Jan2022.aspx (last
visited Mar. 9. 2022).
78
   Those restrictions included suspending entry into the United States of immigrants or nonimmigrants who were physically
present within eight southern African countries during the 14-day period preceding their entry or attempted entry into the
United States. See Proclamation 10315 (Nov. 26, 2021), 86 Fed. Reg. 68385 (Dec. 1, 2021).

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                                                        SAR0132
          Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 136 of 280


restrictions were later lifted by the President, as recommended by CDC. 79 Based on an increasing body
of evidence, CDC recommended that everyone be vaccinated and remain up to date with vaccines,
including boosters for those eligible. 80 As more information about the Omicron variant and vaccine
effectiveness became available, CDC calibrated its mitigation measures in accordance with the
epidemiology of the virus and the different characteristics of the predominant variants. This included
shortening the recommended duration of quarantine and isolation for most members of the general
public in community settings 81 and also shortening the timeframe for its COVID-19 testing requirements
for all air passengers boarding flights to the United States. 82 DHS also required that all inbound non-
citizen, non-lawful permanent residents traveling to the United States via land POE—whether for
essential or non-essential reasons—must provide proof of full COVID-19 vaccination status upon
request. 83 These refinements in policy reflect CDC’s increased understanding of the science and its
desire to tailor mitigation measures so that they are no more burdensome than necessary. The ability of
CDC to be responsive to the public health landscape and adjust such measures up and down is critical to
successfully fighting the pandemic.

        During the fifth wave of the pandemic and as specified in the August Order, CDC reviewed the
public health rationale underlying the need for the Order every 60 days. By the time of the second
reassessment in late November 2021 the public health situation with respect to COVID-19 was
improving. However, the sudden emergence of the Omicron variant led CDC to find that the August
Order continued to be necessary. Because case numbers remained historically high in January, CDC’s
third public health reassessment determined that the need for the August Order remained.

     B.      Current Status of the COVID-19 Pandemic

       As a result of the Omicron variant, the United States recorded its highest seven-day moving
average number of cases on January 15, 2022. 84 Following this unprecedented peak, however, the
number of COVID-19 cases in the United States began to rapidly decrease, falling by over 95% as of




79
   See Proclamation 10329 (Dec. 28, 2021), 87 Fed. Reg. 149 (Jan. 3, 2022) (terminating Proclamation 10315 regarding eight
southern African countries).
80
   A person is considered up to date after receiving all recommended COVID-19 vaccines, including any booster dose(s)
when eligible, Stay Up to Date with Your Vaccines, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/stay-up-to-date.html (issued Jan. 2022, updated Mar. 22, 2022).
81
   CDC Updates and Shortens Recommended Isolation and Quarantine Period for General Population, Centers for Disease
Control and Prevention, https://www.cdc.gov/media/releases/2021/s1227-isolation-quarantine-guidance.html (Dec. 27,
2021). Specifically, the length of isolation period for the general public was shortened to five days, followed by five days of
wearing a well-fitting mask. See also What We Know About Quarantine and Isolation, Centers for Disease Control and
Prevention, https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarantine-isolation-background html (updated Feb.
25, 2022).
82
   Requirement for Proof of Negative COVID-19 Test or Recovery from COVID-19 for All Air Passengers Arriving in the
United States, updating COVID-19 testing requirements (available at https://www.cdc.gov/quarantine/pdf/Amended-Global-
Testing-Order 12-02-2021-p.pdf). All air passengers two years or older with a flight departing to the United States from a
foreign country starting on December 6, 2021, are required show a negative COVID-19 viral test result taken no more than
one day before travel, or documentation of having recovered from COVID-19 in the past 90 days, before they board their
flight. This requirement remains in place.
83
   See 87 Fed. Reg. 3429 (Jan. 24, 2022) (applying restrictions to the U.S.-Canada border) and 87 Fed. Reg. 3425 (applying
restrictions to the U.S.-Mexico border).
84
   See supra note 24, citing a seven-day moving average of 806,324 cases on January 15, 2022 (last updated Mar. 29, 2022).

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 137 of 280


March 30, 2022. 85 After a brief period of continued increases, 86 deaths and hospitalizations also reversed
course and began a swift descent. 87 Even at their peaks, however, the number of deaths and
hospitalizations during Omicron were substantially lower than would have been expected from previous
waves, based on the case counts. These welcomed changes were due, in part, to widespread population
immunity 88 and a generally lower overall risk of severe disease due to the nature of the Omicron variant.

        As the overall COVID-19 case count decreases, CDC has observed an increased percentage of
cases due to a newly detected subvariant of Omicron, BA.2. As of March 24, 2022, the BA.2 subvariant
is estimated to represent approximately 54.9% of sequenced cases in the United States. 89 Experts do not
expect this subvariant to lead to a large surge in cases or hospitalizations, due in part to the levels of
immunity provided by other Omicron subvariants (B.1.1.529 and BA.1.1) and by vaccination. Should
COVID-19 cases show signs of potentially straining the U.S. healthcare system in the future, CDC’s
Community COVID-19 Levels framework described below better equips the country to swiftly respond.

        As the waves of the pandemic have surged and ebbed, so too have actions the U.S. government
has taken in response to the pandemic. While earlier phases of the pandemic required extraordinary
actions by the government and society at large, epidemiologic data, scientific knowledge, and the
availability of public health mitigation measures, vaccines, and therapeutics have permitted the country
to safely transition to more normal routines. 90 As part of that transition, CDC is also shifting to more
nuanced and narrowly tailored guidance that provides a less burdensome means of preventing and
controlling the SARS-CoV-2 virus and COVID-19.




85
   Id. (noting a peak of 806,324 seven-day moving average number of cases to 26,190 seven-day moving average number of
cases on March 29, 2022).
86
   COVID Data Tracker Weekly Review: Stay Up to Date – Interpretive Summary for Jan. 28, 2022, Centers for Disease
Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/past-reports/01282022.html (Jan.
28, 2022).
87
   See New Admissions of Patients with Confirmed COVID-19, United States, Centers for Disease Control and Prevention,
https://covid.cdc.gov/covid-data-tracker/#new-hospital-admissions (last updated Mar. 28, 2022); see also supra note 24,
noting a peak of 4,172 seven-day moving average number of deaths declining to 644 seven-day moving average number of
deaths on March 29, 2022.
88
   In addition to vaccine-induced immunity, studies have consistently shown that infection with SARS-CoV-2 lowers an
individual’s risk of subsequent infection and an even lower risk of hospitalization and death. National estimates of both
vaccine- and infection-induced antibody seroprevalence have been measured among blood donors; as of December 2021,
these measures demonstrated 94.7% of persons 16 years and older showed antibody seroprevalence for COVID-19. Science
Brief: Indicators for Monitoring COVID-19 Community Levels and Making Public Health Recommendations, Centers for
Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/indicators-monitoring-
community-levels.html (updated Mar. 4, 2022); Nationwide COVID-19 Infection- and Vaccination-Induced Antibody
Seroprevalence (Blood donations), Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#nationwide-blood-donor-seroprevalence (last updated Feb. 18, 2022).
89
   Variant Proportions, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-tracker/#variant-
proportions (showing data for the week ending March 26, 2022).
90
   Transcript for CDC Media Telebriefing: Update on COVID-19, Centers for Disease Control and Prevention,
https://www.cdc.gov/media/releases/2022/t0225-covid-19-update html (Feb. 25, 2022). COVID-19 vaccines are highly
effective against severe illness and death. Widespread uptake of these vaccines, coupled with higher rates of infection-
induced immunity at the population level, as well as the broad availability of mitigation measures and effective therapeutics
have moved the pandemic to a different phase. See also State of the Union Address, https://www.whitehouse.gov/state-of-the-
union-2022/ (Mar. 1, 2022).

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 138 of 280


         1. Community COVID-19 Levels

        During the first four waves of the pandemic, CDC relied on a formula to calculate community
transmission levels and update COVID-19 prevention strategies. 91 These indicators reflected the goal of
limiting transmission as vaccine availability increased. 92 The CDC Director examined these indicators in
conducting the public health assessment for the August Order. 93

        The COVID-19 pandemic has shifted to a new phase, however, due to the widespread uptake of
highly effective COVID-19 vaccines, the accrual of high rates of vaccine- and infection-induced
immunity at the population level, and the availability of effective therapeutics, testing, and masks or
respirators. 94 As a result, CDC released a new framework in February 2022, “COVID-19 Community
Levels,” reflecting a shift in focus from eliminating SARS-CoV-2 transmission toward disease control
and healthcare system protection. 95 This new framework examines three currently relevant metrics for
each U.S. county: new COVID-19 hospital admissions per 100,000 population in the past seven days,
the percent of staffed inpatient beds occupied by patients with COVID-19, and total new COVID-19
cases per 100,000 population in the past seven days. 96 CDC determined that data on disease severity and
healthcare system strain complement case rates, and that these data together are more informative for
public health recommendations for individual, organizational, and jurisdictional decisions than data on
community transmission rates alone. 97 This comprehensive approach to assessing COVID-19
Community Levels can inform decisions about layered COVID-19 prevention strategies, including
testing and masking to reduce medically significant disease and limit strain on the healthcare system and
other societal functions. 98

        Using these data, the COVID-19 Community Levels for each county are classified as low,
medium, or high. CDC recommends using county COVID-19 Community Levels to help determine
which mitigation measures should be implemented within a community. 99 As of March 31, 2022, 94.9%
of U.S. counties are classified at the low COVID-19 Community Level, 4.5% of U.S. counties are
classified at the medium COVID-19 Community Level; only 0.5% of U.S. counties are classified at the
91
   In September 2020, CDC released the Indicators of Community Transmission framework, which incorporated two metrics
to define community transmission: total new cases per 100,000 persons in the past seven days, and percentage of Nucleic
Acid Amplification Test results that are positive during the past seven days. CDC also encouraged local decision-makers to
also assess the following factors, in addition to levels of SARS-CoV-2, to inform the need for layered prevention strategies
across a range of settings: health system capacity, vaccination coverage, capacity for early detection of increases in COVID-
19 cases, and populations at risk for severe outcomes from COVID-19. See Christie A, Brooks JT, Hicks LA, et al. Guidance
for Implementing COVID-19 Prevention Strategies in the Context of Varying Community Transmission Levels and
Vaccination Coverage. MMWR Morb Mortal Wkly Rep. ePub: 27 July 2021. DOI:
http://dx.doi.org/10.15585/mmwr.mm7030e2.
92
   Id.
93
   Supra note 1.
94
   Supra note 88.
95
   Indicators for Monitoring COVID-19 Community Levels and Implementing Prevention Strategies, Centers for Disease
Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/downloads/science/Scientific-Rationale-
summary COVID-19-Community-Levels 2022.02.23.pptx (Feb. 23, 2022).
96
   New COVID-19 admissions and the percent of staffed inpatient beds occupied represent the current potential for strain on
the health system, while data on new cases acts as an early warning indicator of potential increases in health system strain in
the event of a COVID-19 surge. Community vaccination coverage and other local information, like early alerts from
surveillance, such as through wastewater or the number of emergency department visits for COVID-19, when available, can
also inform decision making for health officials and individuals. Supra note 20.
97
   Supra note 88.
98
   Id.
99
   See supra note 20.

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                                                           SAR0135
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 139 of 280


high COVID-19 Community Level. 100 Furthermore, 97.1% of the U.S. population lives in counties
classified as “low,” 2.5% live in counties classified as “medium,” and 0.4% live in counties classified as
“high.” 101

        2. Healthcare Systems and Resources

        With the ebb of the fifth wave, the number of new hospital admissions of patients with
confirmed COVID-19 has similarly receded. Daily new hospitalization admissions peaked with 154,696
daily new admissions on January 15, 2022. The large number of cases in a very short time led to a high
volume of hospitalizations that strained some local healthcare systems and, in some instances, impacted
care for non-COVID-19-related concerns. 102 Despite this high volume of COVID-19 cases and
hospitalizations, COVID-19 cases caused by the Omicron variant were, on average, less severe. 103

       The observed reduction in severity of COVID-19 cases and ongoing effective use of
pharmaceutical interventions make it possible to minimize medically significant disease and prevent
excessive strain on the healthcare sector, even with the occurrence of SARS-CoV-2 transmission. 104
Accordingly, at this stage of the pandemic, data on disease severity and healthcare system strain
complement case rates and result in a more comprehensive approach to assessing COVID-19
Community Levels.

        3. Mitigation Measures

        Effective public health mitigation measures have contributed to the vast majority of the U.S.
population living in a county identified by CDC as having either a “low” or “medium” COVID-19
Community Level. In addition to earlier public health measures, such as masking and physical
distancing, the development and widespread deployment of COVID-19 tests, vaccines, and therapeutics
have greatly reduced the transmission of the virus and severity of the disease throughout the United
States and provided a new understanding of how prevention measures may be used to minimize the
impact of COVID-19 on health and society. 105 These measures and the resulting current status of the
COVID-19 pandemic are a major factor in CDC’s determination that the Orders issued under the
authorities of 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 suspending the right to introduce certain
persons into the United States are no longer necessary to protect the public health.

                 a. Test Availability

       Testing continues to be an essential part of COVID-19 mitigation due to the potential for
asymptomatic and pre-symptomatic transmission. Compared to earlier in the pandemic, COVID-19 tests
are widely available in the United States. During January 2022, Americans had access to over 480
100
    COVID-19 Integrated County View, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#county-view?list select state=all states&list select county=all counties&data-
type=CommunityLevels&null=CommunityLevels (last updated Mar. 31, 2022); see also infra note 152.
101
    Per internal CDC calculations.
102
    Supra note 73.
103
    Id.
104
    Supra note 88.
105
    See COVID Data Tracker Weekly Review: Interpretive Summary for March 4, 2022, Centers for Disease Control and
Prevention, https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/past-reports/03042022.html (Mar. 4, 2022),
indicating that the whole community can be safe only when [everyone] take[s] steps to protect each other, even when the
COVID-19 Community Level is low or medium.

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                                                        SAR0136
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 140 of 280


million at-home tests in addition to rapid point of care and laboratory tests. 106 With the additional testing
capacity available through antigen tests, rapid testing can be implemented to identify infected persons
for isolation and identification of close contacts for quarantine and testing if indicated. 107

        Testing is also particularly helpful in congregate settings, where testing facility residents and
personnel can help facilitate early identification of increased infection rates and prompt mitigation
actions to help avoid strain on facility operations. 108 CDC recommends broad use of COVID-19 tests
among facility workforces and within the larger community; such workforce testing may decrease the
necessity for testing residents in congregate settings.

                 b. Vaccines and Boosters

        Since August 2021, the scientific community has made significant strides in the development and
distribution of COVID-19 vaccines, including booster shots. When the August Order was issued, three
COVID-19 vaccines were authorized by the U.S. Food and Drug Administration (FDA) for emergency
use and recommended for all people 12 years of age and up. While the daily count of total COVID-19
vaccine doses administered across the United States has plateaued, the cumulative number of people
protected by COVID-19 vaccination has grown since the August Order. 109 As of March 30, 2022, over
209 million people in the United States 12 years of age or older (73.9% of the population 12 years or
older) have been fully vaccinated and over 245 million people in the United States 12 years or older
(86.6%) have received at least one dose. 110 To address concerns with potential waning immunity, 111
booster shots are now recommended for all adults ages 18 years and older. 112 As of March 30, 2022,
48.3% of fully vaccinated individuals 18 years and older in the United States have also received a
booster dose. 113

        Since the August Order, eligibility for COVID-19 vaccines has expanded to include children
ages five to 11. 114 Children ages six months through four years may soon become eligible for a COVID-

106
    Testing is available for free at 21,500 locations around the country. See supra note 21.
107
    See COVID-19 Testing and Diagnostics Working Group (TDWG). U.S. Department of Health and Human Services,
https://www.hhs.gov/coronavirus/testing/testing-diagnostics-working-group/index html (last visited Mar. 31, 2022) (defining
the role of the COVID-19 TDWG, which develops testing-related guidance and provides targeted investments to expand the
available testing supply and maximize testing capacity).
108
    Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities,
Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
detention/guidance-correctional-detention html#Strategies (updated Feb. 15, 2022).
109
    Supra note 65.
110
    In comparison, as of July 28, 2021, over 163 million people in the United States (57.6% of the population 12 years or
older) had been fully vaccinated and over 189 million people in the United States (66.8% of the population 12 years or older)
had received at least one dose. Id.; see also COVID-19 Vaccinations in the United States, Centers for Disease Control and
Prevention, https://covid.cdc.gov/covid-data-tracker/#vaccinations (last updated Mar. 30, 2022).
111
    Thompson MG, Natarajan K, Irving SA, et al. Effectiveness of a Third Dose of mRNA Vaccines Against COVID-19–
Associated Emergency Department and Urgent Care Encounters and Hospitalizations Among Adults During Periods of
Delta and Omicron Variant Predominance — VISION Network, 10 States, August 2021–January 2022. MMWR Morb Mortal
Wkly Rep 2022;71:139–145. DOI: http://dx.doi.org/10.15585/mmwr.mm7104e3.
112
    CDC Expands Eligibility for COVID-19 Booster Shots to All Adults, Centers for Disease Control and Prevention,
https://www.cdc.gov/media/releases/2021/s1119-booster-shots html (released Nov. 19, 2021). See also COVID-19 Vaccine
Booster Shots, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/vaccines/booster-
shot html (updated Feb. 2, 2022).
113
    See supra note 112 (citing data as of Mar. 30, 2022). Additionally, 46.5% of fully vaccinated individuals 12 years of age
and older in the United States have received a booster dose.
114
    See supra note 75.

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 141 of 280


19 vaccine; CDC is working with state and local jurisdictions for the eventual rollout of this critical
product. 115 Improving COVID-19 vaccination coverage among children and adolescents is crucial to
maintaining low rates of COVID-19-associated morbidity and mortality among these groups and
ensuring a safe and expedited return to normal routines for everyone. 116

        Vaccines, including boosters, continue to be the single most important public health tool for
fighting COVID-19 and CDC recommends that all people get vaccinated as soon as they are eligible and
stay up to date on vaccinations. 117 Evidence shows that people who have completed the primary
COVID-19 vaccination series, and received a booster when eligible, are at substantially reduced risk of
severe illness and death from COVID-19; in contrast, the cumulative rate of COVID-19-associated
hospitalizations is substantially higher in unvaccinated adults than in those who are up to date on
COVID-19 vaccines. 118 Therefore, vaccines, including booster doses when appropriate, provide a
substantial measure of protection against COVID-19-associated hospitalization and severe disease,
including from the Omicron variant. 119 The increased percentage of individuals who are not only
vaccinated but have also received a booster—which was not available at the time of the August Order—
strengthens community protection levels and is a critical step toward resuming normal routines safely.

        The availability of COVID-19 vaccines globally has also increased dramatically since the August
       120
Order. On August 2, 2021, only 29% of the world had received at least one dose of a COVID-19
vaccine, with 12% being fully vaccinated. 121 As of March 30, 2022, 64.9% of the world population has
received at least one dose of a COVID-19 vaccine and 57% of the global population is fully vaccinated
with a primary vaccine series. 122 Fighting COVID-19 abroad is key to the nation’s effort to protect
people at home and stay ahead of new variants; therefore, the United States remains committed to
accelerating global vaccination efforts. 123


115
    COVID-19 Vaccination for Children, Centers for Disease Control and Prevention, https://www.cdc.gov/vaccines/covid-
19/planning/children.html (last reviewed Dec. 9, 2021).
116
    See generally Murthy BP, Zell E, Saelee R, et al. COVID-19 Vaccination Coverage Among Adolescents Aged 12–17 Years
— United States, December 14, 2020–July 31, 2021. MMWR Morb Mortal Wkly Rep 2021;70:1206–1213. DOI:
http://dx.doi.org/10.15585/mmwr.mm7035e1.
117
    COVID-19 Vaccines Work, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/vaccines/effectiveness/work.html (updated Dec. 23, 2021). See also supra note 111, attributing decline of vaccine
effectiveness to waning vaccine induced immunity over time, possible increased immune evasion by SARS-CoV-2 variants,
or a combination of these and other factors and finding that receiving a booster shot was highly effective at preventing
COVID-19-associated emergency department and urgent care encounters and preventing COVID-19-associated
hospitalizations). See also Stay Up to Date with Your Vaccines, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/vaccines/stay-up-to-date.html (updated Mar. 30, 2022), a person is considered
up to date after receiving all recommended COVID-19 vaccines, including any booster dose(s) when eligible. See also infra
I.B.5.
118
    This pattern applies to all age groups but is most pronounced among adults aged 65 years and older, who are at increased
risk for hospitalization and death.
119
    A recent CDC study found that among people hospitalized with COVID-19, severe outcomes during the Omicron wave
appear lower than during previous high transmission waves. COVID Data Tracker Weekly Review: Boosters Work –
Interpretive Summary for Feb. 11, 2022, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/covid-data/covidview/past-reports/02112022 html.
120
    Coronavirus disease (COVID-19): Vaccine access and allocation, World Health Organization, https://www.who.int/news-
room/questions-and-answers/item/coronavirus-disease-(covid-19)-vaccine-access-and-allocation (Aug. 6, 2021).
121
    Coronavirus (COVID-19) Vaccinations, Our World in Data, https://ourworldindata.org/covid-vaccinations#what-share-of-
the-population-has-received-at-least-one-dose-of-the-covid-19-vaccine (updated Mar. 30, 2022).
122
    Id.
123
    See supra note 21.

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                                                         SAR0138
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 142 of 280


                  c. Treatments

         Compared to August 2021, treatments for COVID-19 are more widely available. Although
monoclonal antibodies were available in August 2021 and some continue to be effective and were
widely used during the Omicron wave, such treatments must be administered by infusion and are
cumbersome to administer. The FDA has issued emergency use authorizations (EUA) for a number of
treatments for COVID-19 for people at high risk of COVID-19 disease progression, some of which were
developed after August 2021. 124 In February 2022, FDA issued an EUA for a new monoclonal antibody
that is specifically effective in combatting the Omicron variant. 125 FDA has also authorized oral antiviral
medications that target the SARS-CoV-2 virus. 126 The U.S. government has expedited the development,
manufacturing, and procurement of these treatments, securing 20 million courses of antiviral pills, which
have been shown to reduce the risk of hospitalization or death by 89%. 127 The availability of efficacious
and accessible treatments add a powerful layer of protection against severe COVID-19 that was not
available in the summer of 2021. 128 The U.S. government’s commitment to making such medications
available and the ability to produce variant-specific treatments are critical components of the next phase
of the fight against COVID-19.

         4. Congregate Settings

        As highlighted in the August Order, the very nature of congregate settings increases the risk for
COVID-19 outbreaks. 129 Now, however, numerous non-pharmaceutical and pharmaceutical
interventions are available to decrease the spread and severity of COVID-19 in these settings. 130
Throughout the pandemic, congregate settings have adapted processes to mitigate COVID-19 risk,
including incorporating mask use, improving ventilation, enhancing cleaning and disinfection
procedures, and connecting people to medical care. Current CDC guidance for correctional and
detention facilities recommends that certain key mitigation measures, including provision of
vaccinations and use of standard infection controls remain in place at all times. 131 In addition, facilities



124
    Treatments Your Healthcare Provider Might Recommend if You Are Sick, Centers for Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/your-health/treatments-for-severe-illness html (updated Jan. 13, 2022), noting
monoclonal antibody treatments may help the immune system recognize and respond more effectively to the virus.
125
    FDA News Release: Coronavirus (COVID-19) Update: FDA Authorizes New Monoclonal Antibody for Treatment of
COVID-19 that Retains Activity Against Omicron Variant, U.S. Food and Drug Administration, https://www fda.gov/news-
events/press-announcements/coronavirus-covid-19-update-fda-authorizes-new-monoclonal-antibody-treatment-covid-19-
retains (Feb. 11, 2022).
126
    See supra note 124.
127
    See supra note 21. The availability of new oral antiviral medications makes treatment more accessible to patients who are
at risk for progression to severe COVID-19, see FDA News Release: Coronavirus (COVID-19) Update: FDA Authorizes
First Oral Antiviral for Treatment of COVID-19, U.S. Food and Drug Administration, https://www.fda.gov/news-
events/press-announcements/coronavirus-covid-19-update-fda-authorizes-first-oral-antiviral-treatment-covid-19 (Dec. 22,
2022).
128
    Id. Antiviral pills will also be added to the stockpile for the first time.
129
    See supra note 44, explaining preventing coronavirus disease 2019 (COVID-19) in correctional and detention facilities
can be challenging because of population-dense housing, varied access to hygiene facilities and supplies, and limited space
for isolation and quarantine.
130
    See supra note 108.
131
    Id. CDC recommends facilities should maintain, at all times, the following aspects of standard infection control,
monitoring, and capacity to respond to cases of COVID-19: (1) provide COVID-19 vaccination, including boosters; (2)
maintain standard infection control; (3) maintain SARS-CoV-2 testing strategies; (4) prevent COVID-19 introduction from
the community; and (5) prepare for outbreaks.

                                                             18

                                                          SAR0139
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 143 of 280


are encouraged to identify their own risk levels and apply additional mitigation measures as necessitated
by local conditions. 132

         Rather than requiring physical distancing to be kept in place at all times, CDC’s congregate
settings guidance allows such measures to be scaled up or down based on local data trends and facility
characteristics. 133 Because case counts and hospitalizations are decreasing in most areas of the country,
many correctional and detention facilities are resuming certain activities that had previously been paused
to facilitate physical distancing, signaling the resumption of more normal operations for many
congregate settings. 134

         5. DHS Mitigation Measures

        It is CDC’s understanding that DHS facilities incorporate some of the recommended COVID-19
mitigation measures for congregate settings into their protocols. In particular, CBP continues to
implement a variety of mitigation measures based on the infection prevention strategy referred to as the
hierarchy of controls, which includes engineering upgrades, masking for migrants, and PPE for its
workforce. 135 Moreover, vaccine uptake among the CBP workforce has reached approximately 86%
among personnel on the U.S.-Mexico border.

        Of particular note, DHS has recently begun implementing a vaccination program for migrants
processed under Title 8 immigration authorities and held in CBP facilities. The DHS vaccination
program will apply to all age-appropriate migrants who lack legal status and are processed pursuant to
Title 8 authorities; have entered the United States after crossing the Southwest Border; and are taken
into DHS custody. DHS has conveyed to CDC that all such migrants who are unable to provide proof of
vaccination with an FDA EUA- or WHO EUL-approved vaccine will be provided an initial dose of a
COVID-19 mRNA vaccine. DHS began implementing their vaccination program at 11 sites on March
28, 2022. DHS is working to expand this program over the next two months and states that their goal is
to provide vaccinations to up to 6,000 migrants a day across 27 sites across the Southwest Border by
May 23, 2022.

       In addition, since the August Order, the DHS Office of the Chief Medical Officer has worked
with partners in local communities to move individuals safely out of CBP custody and through the
appropriate Title 8 immigration procedures, as applicable to the individual noncitizens. Through these
partnerships, DHS has supported state, local, tribal, and territorial partners and NGOs in developing
robust COVID-19 testing and quarantine programs along the Southwest Border.

132
    Some congregate settings and detention facilities are resuming activities such as inter-facility transfers and detention of
individuals for non-violent offenses, which has previously been paused due to the pandemic.
133
    Id. (Recommending that facilities develop and use metrics to guide modification of COVID-19 prevention measures using
data on local trends and facility characteristics).
134
    Per information provided by DHS.
135
    These mitigation efforts include installing plexiglass dividers in facilities, enhancing ventilation systems, adhering to CDC
guidance of cleaning and disinfection, and providing masks to migrants, as well as PPE to CBP personnel. These measures
generally follow the infection prevention control referred to as the hierarchy of controls. See Hierarchy of Controls, Centers
for Disease Control and Prevention, available at https://www.cdc.gov/niosh/topics/hierarchy/default html (last visited Mar.
30, 2022). The hierarchy of controls is used as a means of determining how to implement feasible and effective control
solutions. The hierarchy is outlined as: (1) Elimination (physically remove the hazard); (2) Substitution (replace the hazard);
(3) Engineering Controls (isolate people from the hazard); (4) Administrative Controls (change the way people work); and
(5) PPE (protect people with Personal Protective Equipment). CBP also continues to update the CBP Job Hazard Analysis
and the CBP COVID toolkit based on the latest relevant public health guidance.

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                                                            SAR0140
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 144 of 280


II.     Public Health Determination

        As the COVID-19 pandemic and public health landscape evolve, CDC reassesses the need for
continued measures under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40, the authorities that support the
CDC Orders. 136 This Public Health Determination and Termination is based upon the most recent
science and data available to CDC. Based upon the data, CDC has determined that, although the
implementation of the CDC Orders to reduce the numbers of noncitizens held in congregate settings in
POEs and Border Patrol stations has been part of the layered COVID-19 mitigation strategy used over
the past two years, less burdensome measures are now available to mitigate the introduction,
transmission, and spread of COVID-19 resulting from the entry of covered noncitizens.

         This Public Health Determination and Termination is the most recent step in CDC’s continued
efforts toward aligning the public health measures response to the COVID-19 pandemic with the best
available science. Throughout the COVID-19 pandemic, CDC has taken a range of actions to help
protect the public’s health. These actions have been informed by the status of the pandemic based on the
scientific and epidemiological information available at the time. The actions fall along a spectrum of
restrictions on movement and activities in public. Some, like the masking order for conveyances, impact
individuals but do not restrict movement; others, like the No Sail Order, apply to entire industries.

        The CDC Orders issued under the authorities of 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40
suspending the right to introduce certain persons into the United States are among the most restrictive
measures CDC has undertaken in the fight against COVID-19. The U.S. government has only used the
extraordinary authority available under 42 U.S.C. § 265 to restrict the introduction of persons in one
instance prior to the COVID-19 pandemic—in 1929, in response to a meningitis outbreak. 137 During the
earlier periods of the COVID-19 pandemic, while scientists were still learning about its epidemiology
and developing therapeutics and vaccines, the CDC Orders were deemed necessary due to the rapid
spread of the virus. As the understanding of the virus has grown and vaccines and therapeutics for the
disease have become more widely available, lower COVID-19 Community Levels have been observed.

        The August Order recognized the full panoply of mitigation measures available as key to slowing
the spread of the virus and protecting U.S. healthcare systems while widespread vaccination efforts
continued. Like other COVID-19 mitigation measures issued by CDC, the August Order was always
intended as a temporary measure as understanding of the virus evolved. The scientific knowledge,
availability of vaccines and therapeutics, and high percentage of the U.S. population living in a county
identified as having “low” or “medium” COVID-19 Community Levels have permitted CDC to
carefully step-down the various public health mitigation measures used. This step-down involves
purposeful narrowing of some restrictions while terminating others when the public health need for and
efficacy of the measures no longer outweigh the severity of the restriction. For example, CDC took the
unprecedented step of halting cruise ship travel during the earliest phases of the pandemic, but permitted
gradual resumption of cruises as the public health situation evolved. 138 Likewise, the United States has

136
    As noted above, CDC reviews the public health rationale underlying the need for the Order every 60 days.
137
    See 85 Fed. Reg. 56424, 56440-42 (noting that, despite passing the precursor to 42 U.S.C. § 265 during a cholera
epidemic in 1893, the U.S. government did not exercise this authority until 1929).
138
    CDC issued the original No Sail Order on March 14, 2020, and a version of the order remained in place until October 29,
2020, when it was replaced with a Framework for Conditional Sailing which permitted a phased resumption of cruise ship
operations as long as certain public health mitigation measures were met. This Framework for Conditional Sailing became
non-binding for cruise ships in Florida by court order in July 2021 and was allowed to expire on January 15, 2022. The


                                                            20

                                                          SAR0141
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 145 of 280


transitioned from suspending the entry of persons traveling from specified countries 139 to a framework
of CDC travel health notices and testing and proof of vaccination requirements 140 that allow for
reopening global travel and migration while still implementing necessary mitigation measures. CDC
believes that the restrictions remaining in place as part of the travel framework (e.g., proof of
vaccination requirements for noncitizens entering the United States by air or land POE, and proof of a
negative COVID-19 test result) 141 continue to be necessary and are appropriately balanced to minimize
restrictions on individuals. CDC continually evaluates the need for these measures and is committed to
tailoring them to meet the current public health needs. These careful step-downs have been driven by the
evolution of the COVID-19 pandemic and scientific developments and are part of CDC’s commitment
to exercise its authorities in a manner that provides the greatest benefit for public health while imposing
the minimum necessary burden on individuals and communities.

        In the context of the CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40, this
public health-driven step-down first narrowed implementation to except UC and then fully terminated
the Orders with respect to UC once there was no longer public health justification for such a suspension.
While the CDC Orders under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 provided an important
measure to protect against the introduction, transmission, and spread of COVID-19 during earlier phases
of the pandemic by reducing the number of noncitizens held in congregate settings, other public health
measures are now available to provide necessary public health protection for noncitizens, Americans,
and the DHS workforce. 142 CDC acknowledges that public health concerns may arise in congregate
settings, including COVID-19 transmission. CDC has determined that, although there is still a risk of
COVID-19 transmission in crowded congregate settings, including DHS facilities, that risk does not
present a sufficiently serious danger to public health to necessitate maintaining the August Order.
Furthermore, the mitigation measures available will help reduce severe outcomes and reduce the serious
danger of introduction, transmission, and spread of COVID-19 into the United States by covered
noncitizens.

        Both at home and abroad, vaccination rates are increasing. Vaccination among the American
public and the DHS workforce in particular has been largely successful and, as stated in the August
Order, widespread vaccination of federal employees and personnel in congregate settings at POE and
Border Patrol stations demonstrates important progress toward the normalization of border operations. 143
Since August 2021, vaccination rates in the countries of origin for the current majority of incoming



Framework was replaced by a voluntary program, CDC’s COVID-19 Program for Cruise Ships, wherein cruise lines
choosing to opt into the program are required to follow all recommendations and guidance as a condition of their
participation in the program. See Technical Instructions for CDC’s COVID-19 Program for Cruise Ships Operating in U.S.
Waters, Centers for Disease Control and Prevention, https://www.cdc.gov/quarantine/cruise/management/technical-
instructions-for-cruise-ships html#program-for-cruise-ships (last updated Mar. 18, 2022); see also supra notes 38, 49, and 60.
139
    See supra notes 35, 59, 66, 78, and 79.
140
    See supra note 67.
141
    CDC Orders, Centers for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cdcresponse/laws-
regulations html (updated Mar. 12, 2022).
142
    Since the August Order, the collection, production, and analysis of key COVID-19 response metrics has continued to
expand. Advances in public health surveillance may enable officials and facilities (including congregate setting facilities) to
rapidly institute necessary mitigation measures in the event of an outbreak. For example, CDC launched and is continually
enhancing the National Wastewater Surveillance System to track the presence of SARS-CoV-2 in wastewater samples
collected across the country. See supra note 21.
143
    CBP most recently reported vaccination rates between 75% and 91% among its U.S. Border Patrol and Office of Field
Operations personnel.

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                                                           SAR0142
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 146 of 280


noncitizens have also increased dramatically. 144 Such global increases in vaccination rates and infection-
induced immunity provide additional layers of protection. As noted above, DHS is currently scaling up a
program that provides vaccines to encountered noncitizens taken into CBP custody along the Southwest
Border. 145 CDC is supportive of these efforts as a public health measure as they align with CDC’s and
the U.S. government’s emphasis on global vaccination to fight COVID-19. Even if full COVID-19
vaccination cannot be assured, partial vaccination provides some level of protection against severe
illness and hospitalization and helps maintain U.S. healthcare resources. 146

        The August Order also highlighted the threat posed by emerging variants and the potential for a
future, vaccine-resistant variant, either of which could negatively impact U.S. communities and local
healthcare resources. 147 Based in part on these threats, CDC concluded at that time that SA and FMU
should continue to be subject to the August Order, pending further improvements in the public health
situation, and subject to continual reassessment. 148 Since the August Order was implemented, public
health officials have learned a great deal about variants and how best to respond to them. In response to
Omicron, the U.S. government updated the National COVID-19 Preparedness Plan for monitoring
COVID-19 to swiftly adapt tools to combat a new variant and deploy emergency resources to help
communities. 149 The Plan includes steps to ensure that variant surveillance, vaccines, tests, and
treatments can be updated and deployed quickly. 150

        At this point in the pandemic, the United States has high rates of vaccine and infection-induced
immunity in the population, as well as availability of effective therapeutics, testing, and well-fitting
masks. These tools, which have been developed and distributed over the past two years, help minimize
medically significant disease and prevent excessive strain on the healthcare sector even while SARS-
CoV-2 virus continues to circulate. As noted above, 97.1% of the U.S. population is currently living in
an area classified as having a “low” COVID-19 Community Levels, meaning most of the population can
operate under more relaxed COVID-19 mitigation strategies. 151 Noteworthy for purposes of this
Determination, as of March 31, 2022, all 24 U.S. counties along the U.S.-Mexico border are classified as
having a “low” COVID-19 Community Level. 152 Like prior CDC Orders, the August Order, issued

144
    Thus far in 2022, Mexico, Cuba, Guatemala, Honduras, and Nicaragua constitute the top five countries of origin for
covered noncitizens. Rates of vaccination for each country are as follows: Cuba: 88% fully vaccinated, 94% only partly
vaccinated; Guatemala: 33% fully vaccinated, 9.8% only partly vaccinated; Honduras: 47% fully vaccinated, 6% only partly
vaccinated; Mexico: 61% fully vaccinated, 4.5% only partly vaccinated; Nicaragua: 61% fully vaccinated, 82% only partly
vaccinated. Coronavirus (COVID-19) Vaccinations, Our World in Data, https://ourworldindata.org/covid-vaccinations (last
visited Mar. 31, 2022).
145
    See supra I.B.5. CDC strongly supports broad vaccination at the Southwest Border in furtherance of public health, and
will implement termination of the Order on May 23, 2022, in part to give DHS time to scale up its vaccination program. That
said, given the current status of the pandemic and the range of mitigation measures currently in place and in the process of
being implemented, CDC believes the serious risk to public health that the CDC Orders were intended to address has been
sufficiently alleviated, even in the absence of complete implementation of the DHS vaccination program.
146
    As demonstrated by the U.S. government’s experience with Operation Artemis and Operation Allies Welcome, a COVID-
19 vaccination program helps protect noncitizens, as well as personnel serving these populations and American communities.
Vaccination of all encountered noncitizens aligns with larger U.S. government pandemic efforts and safe travel policies.
147
    86 Fed. Reg. 42828, 42837.
148
    Id.
149
    See supra note 21.
150
    Id.
151
    Per internal CDC calculations.
152
    COVID-19 Integrated County View, Centers for Disease Control and Prevention, https://covid.cdc.gov/covid-data-
tracker/#county-view?list select state=all states&list select county=all counties&data-type=CommunityLevels (last


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                                                          SAR0143
            Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 147 of 280


during the fourth wave of the pandemic, noted the goal of slowing the introduction, transmission, and
spread of SARS-CoV-2 into the United States by covered noncitizens. 153 With the ebb of the Omicron
surge across the United States, however, the public health findings underlying the August Order have
changed. Although COVID-19 remains a concern, the readily available and less burdensome public
health mitigation tools to combat the disease render an order under 42 U.S.C. § 265 to prevent a serious
danger to the public health unnecessary. At this point in the pandemic, the previously identified public
health risk is no longer commensurate with the extraordinary measures instituted by the CDC Orders. As
the pandemic evolves, CDC will continue to monitor the situation with respect to COVID-19 at U.S.
borders and will continue to consult with DHS on combatting COVID-19 in DHS facilities following the
Termination of the August Order.


III.        Legal Considerations

       A.      Temporary Nature of Orders under 42 U.S.C. § 265 and Absence of Reliance Interests

        In issuing this Public Health Determination and Termination, CDC has considered whether state
or local governments, or their subdivisions, have any “legitimate reliance” 154 interests in the continued
expulsion of covered noncitizens pursuant to 42 U.S.C. § 265 (Section 265). CDC has determined that
no state or local government could be said to have legitimately relied on the CDC Orders issued under
42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 to implement long-term or permanent changes to its
operations because those orders are, by their very nature, short-term orders, authorized only when
specified statutory criteria are met, and subject to change at any time in response to an evolving public
health crisis. Section 265 may be invoked only if CDC determines that there is a “serious danger of the
introduction of [a communicable] disease into the United States, and that this danger is so increased by
the introduction of persons or property from such country [where the communicable disease exists] that
a suspension of the right to introduce such persons and property is required in the interest of the public
health.” 155 Moreover, the statute may be invoked only “for such period of time as [CDC] may deem
necessary” to avert such a danger. 156 As HHS’s implementing regulation further recognizes, in
prohibiting the introduction of covered persons “in whole or in part,” 157 a CDC Order is effective “only
for such period of time that the Director deems necessary to avert the serious danger of the introduction
of a quarantinable communicable disease.” 158

        For these reasons, the CDC Orders have consistently been subject to periodic reviews to ensure
their continued necessity. CDC’s initial order issued in March 2020 made clear that the Order
represented a “temporary suspension of the introduction of [covered] persons into the United States” 159
and that the order would remain effective only for “30 days, or until [CDC] determine[s] that the danger

updated Mar. 31, 2022), noting 100% (n=24) of counties along the U.S.-Mexico border are considered “Low”: California
(San Diego County, Imperial County); Arizona (Pima County, Santa Cruz County, Cochise County, Yuma County); New
Mexico (Luna County, Dona Ana County, Otero County, Eddy County, Lea County); and Texas (Presidio County, Brewster
County, Terrell County, Webb County, Zapata County, Cameron County, El Paso County, Hudspeth County, Val Verde
County, Kinney County, Maverick County, Starr County, Hidalgo County).
153
    See 86 Fed. Reg. 42828, 42834 and 42838.
154
    See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020).
155
    42 U.S.C. § 265.
156
    Id.
157
    Id.
158
    42 C.F.R. § 71.40(a).
159
    85 Fed. Reg. at 17061 (emphasis added).

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                                                      SAR0144
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 148 of 280


of further introduction of COVID-19 into the United States has ceased to be a serious danger to the
public health, whichever is shorter.” 160 The March 2020 Order was subsequently extended on April 20,
2020, and then amended on May 19, 2020. The fact that the policy was frequently reviewed should have
underscored that CDC’s use of its authority under 42 U.S.C. § 265 was a temporary measure subject to
change at any time. The October 2020 Order again confirmed this understanding of CDC’s authority,
noting the “temporary” nature of the suspension of the introduction of covered persons, as well as the
facts that the Order would be reviewed every 30 days based on “the latest information regarding the
status of the COVID-19 pandemic and associated public health risks,” and that CDC “retain[ed] the
authority to extend, modify, or terminate the Order, or implementation of [the] Order, at any time as
needed to protect public health.” 161

         In addition, CDC’s ability to exercise its authority under Section 265 as to certain groups has
fluctuated due to litigation, further rendering it unreasonable for any state or local government to have
acted in reliance on the continued exercise of the authority. CDC’s exercise of the Section 265 authority
was first challenged shortly after CDC issued its initial order in March 2020, and subsequent court
orders enjoining CDC from exercising its authority under 42 U.S.C. § 265 as to certain groups of
covered noncitizens should have further discouraged reliance on temporary CDC orders. For example, in
November 2020, the United States District Court for the District of Columbia enjoined the expulsion of
UC on the basis that Section 265 likely did not authorize such expulsions. 162 Although the government
obtained a stay of the injunction in January 2021, 163 the extent of the government’s authority under
Section 265 remained contested. In addition, in September 2021, the United States District Court for the
District of Columbia similarly enjoined the expulsion of FMU, again on the basis that Section 265 likely
did not authorize such expulsions. 164 The U.S. Court of Appeals for the D.C. Circuit recently upheld the
government’s authority under 42 U.S.C. § 265 to expel FMU, but the court held that such expulsions
cannot be to places where the noncitizen are likely to be persecuted or tortured. 165 Although the decision
will not take effect until the mandate issues in late April 2022, the decision should have put any state or
local government on notice that there might be significant practical constraints on the government’s
ability to expel covered FMU quickly.

       Moreover, by August 2021, state and local governments were on notice that the federal
government would be taking steps towards the resumption of normal border operations. In the August
2021 Order, CDC stated that it “view[ed] this public health reassessment as setting forth a roadmap
toward the safe resumption of normal processing of arriving noncitizens, taking into account COVID-19
concerns and immigration facilities’ ability to implement mitigation measures.” 166 Accordingly, state

160
    85 Fed. Reg. at 17068.
161
    85 Fed. Reg. at 65807, 65812.
162
    See P.J.E.S. v. Wolf, 502 F. Supp. 3d 492 (D.D.C. 2020).
163
    Order, P.J.E.S. v. Mayorkas, et al., No. 20-5357 (D.C. Cir. Jan. 29, 2021), Doc. No. 1882899.
164
    See Huisha-Huisha v. Mayorkas, No. CV 21-100 (EGS), 2021 WL 4206688, at *12 (D.D.C. Sept. 16, 2021).
165
    Id. at *1. The D.C. Circuit also noted the “considerable difference” in public health situations between March 2020 and
March 2022. Id. at *13.
166
    86 Fed. Reg. 42828, 42831; see also id. at 42837 (discussing a necessary mitigation measure “as DHS moves towards the
resumption of normal border operations”); id. at 42838 (“CDC believes that the gradual resumption of normal border
operations under Title 8 is feasible. With careful planning, this may be initiated in a stepwise manner that complies with
COVID-19 mitigation protocols.”); id. at 42840 (noting that “although this Order will continue with respect to SA and FMU,
DHS will use case-by-case exceptions based on the totality of the circumstances where appropriate to except individual SA
and FMU in a manner that gradually recommences normal migration operations as COVID-19 health and safety protocols
and capacity allows”); id. (CDC considered “the use of case-by-case exceptions as a step towards the resumption of normal
border operations under Title 8”).

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                                                         SAR0145
           Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 149 of 280


and local governments could not have reasonably relied on CDC’s indefinite use of its expulsion
authority under Section 265. As a factual matter, CDC is not aware of any reasonable or legitimate
reliance on the continued expulsion of covered noncitizens under 42 U.S.C. § 265 beyond potentially
local healthcare systems’ allocation of resources, which CDC has considered in this Order. 167

         Even if a state or local government had relied on the continued existence of a CDC order under
this authority, 42 U.S.C. § 265 only authorizes CDC to prevent the introduction of noncitizens when it is
required in the interest of public health. No state or local government could reasonably rely on CDC’s
continued application of Section 265 once CDC determined that there is no longer sufficient public
health risk present with respect to the introduction of covered noncitizens. Therefore, CDC’s considered
judgment is that any reliance interest that might be said to exist in connection with the continued
suspension of the right to introduce covered noncitizens under 42 U.S.C. § 265 is not weighty enough to
displace CDC’s determination that there is no public health justification for such a suspension at this
time. 168 To the extent that any state or local government did rely on the expulsion of noncitizens for
purposes of resource allocation despite the reasons cautioning against such reliance, CDC concludes that
resource allocation concerns do not outweigh CDC’s determination that the suspension of the right to
introduce covered noncitizens is not required to avert a serious danger to public health.

        CDC has also considered whether there may be any short-term reliance on the continued
expulsion of noncitizens under the August 2021 Order. CDC concludes that any short-term reliance
interests should be limited for all the reasons explained above, and particularly in light of the expressly
temporary nature of the Order. For the same reasons, CDC concludes that any such reliance does not
outweigh CDC’s determination that the expulsion of covered noncitizens is not required to avert a
serious danger to public health. Moreover, to the extent that any state or local government has made any
short-term plans based on the existence of the August Order, the effective date of this Termination has
been set for 52 days from the date of issuance, thus providing state and local governments time to adjust
to the resumption of regular Title 8 immigration processing.

        Finally, the CDC Orders issued under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 are not, and
do not purport to be, policy decisions about controlling immigration; rather, as explained, CDC’s
exercise of its authority under Section 265 depends on the existence of a public health need. Thus, to the
extent that state and local governments along the border or elsewhere were relying on an order under 42
U.S.C. § 265 as a means of controlling immigration, such reliance would not be reasonable or
legitimate. And even if such reliance were reasonable or legitimate, that reliance would not outweigh
CDC’s conclusion that expulsions are not necessary under the terms of 42 U.S.C. § 265 or warrant
disruption of ordinary processing of covered noncitizens.

      B.      Basis for Termination under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40

        CDC is hereby terminating the August Order 169 and all prior orders issued pursuant to sections
362 and 365 of the PHS Act (42 U.S.C. §§ 265, 268) and the implementing regulation at 42 C.F.R. §
71.40. 170 This Termination will be implemented on May 23, 2022, for the operational reasons outlined

167
    See supra I.B.2.
168
    See Regents, 140 S. Ct. at 1913 (explaining that features evidencing the temporary and non-rights-conferring nature of a
government program “surely are pertinent in considering the strength of any reliance interests,” and can be considered by the
agency).
169
    See supra notes 1 and 4.
170
    See supra note 7.

                                                             25

                                                          SAR0146
       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 150 of 280


herein, including to give DHS time to implement additional COVID-19 mitigation measures. The
statutory and regulatory authorities permit the CDC Director to issue Orders prohibiting, in whole or in
part, the introduction into the United States of persons from designated foreign countries (or one or more
political subdivisions or regions thereof) or places, only for such period of time that the Director deems
necessary to avert the serious danger of the introduction of a quarantinable communicable disease, based
on a determination by the Director that:
        (1) By reason of the existence of any quarantinable communicable disease in a foreign country
            (or one or more political subdivisions or regions thereof) or place there is serious danger of
            the introduction of such quarantinable communicable disease into the United States; and
        (2) This danger is so increased by the introduction of persons from such country (or one or more
            political subdivisions or regions thereof) or place that a suspension of the right to introduce
            such persons into the United States is required in the interest of public health. 171

        Pursuant to 42 U.S.C. § 265 and the implementing regulation, the CDC Director has the
authority to issue orders to mitigate the introduction and further spread of COVID-19 disease. 172 In
recognition of the extraordinary nature of these emergency public health powers, section 265 and its
implementing regulation contemplate that the exercise of these authorities will be temporally and
geographically limited in scope as described below. Critically, these authorities also require that any
orders issued will be terminated when they are no longer necessary to protect the public health. The
authority to make this determination has been delegated to the CDC Director.

        CDC explained in the preamble to the Final Rule for 42 C.F.R. § 71.40 that, in issuing an Order
under these authorities, it may “consider a wide array of facts and circumstances when determining what
is required in the interest of public health in a particular situation . . . includ[ing]: the overall number of
cases of disease; any large increase in the number of cases over a short period of time; the geographic
distribution of cases; any sustained (generational) transmission; the method of disease transmission;
morbidity and mortality associated with the disease; the effectiveness of contact tracing; the adequacy of
state and local healthcare systems; and the effectiveness of state and local public health systems and
control measures.” 173 Other factors noted in the Final Rule are the potential for disease spread among
persons held in congregate settings, the potential for disease spread to the community at large, and strain
on healthcare systems. 174

        CDC is committed to avoiding the imposition of unnecessary burdens in exercising its
communicable disease authorities. This aligns with the underlying legal authority in 42 U.S.C. § 265,
which makes clear that this authority extends only for such period of time deemed necessary to avert the
serious danger of the introduction of a quarantinable communicable disease into the United States. 175
Such an order must also be predicated, in part, upon a determination that the danger of such introduction
is so increased that a suspension of the right to introduce such persons into the United States is required
in the interest of public health. 176


171
    42 U.S.C. § 265; 42 C.F.R. § 71.40.
172
    85 Fed. Reg. 56424, 56425-26. The Director may suspend the introduction of persons not only to prevent the introduction
of a quarantinable communicable disease, but also to aid in continued efforts to mitigate spread of that disease.
173
    Id. at 56444.
174
    Id. at 56431; 56434.
175
    42 U.S.C. § 265; 42 C.F.R. § 71.40.
176
    42 C.F.R. § 71.40.

                                                            26

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       Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 151 of 280


         CDC has considered these and other relevant factors in the foregoing determination, including
the overall shift in the U.S. government response to the pandemic, and has determined that less
restrictive means are available to avert the public health risks associated with the introduction,
transmission, and spread of COVID-19 into the United States due to the entry of covered noncitizens.
Although COVID-19 continues to spread within the United States, as a result of the numerous tools for
disease prevention, mitigation, and treatment which have become available over the past two years, and
the other considerations explained above, an order suspending the right to introduce covered noncitizens
under 42 U.S.C. § 265 is no longer required in the interest of public health.


IV.     Issuance and Implementation

        Based on the foregoing Public Health Determination, I hereby Terminate the August Order and
all previous orders issued pursuant to Sections 362 and 365 of the PHS Act (42 U.S.C. §§ 265, 268), and
their implementing regulations under 42 C.F.R. § 71.40. 177 This Termination will be implemented on
May 23, 2022.

       Following an assessment of the current epidemiologic status of the COVID-19 pandemic and the
U.S. government’s ongoing response efforts, I find there is no longer a public health justification for the
August Order and previous Orders issued under these authorities; employing such a broad restriction to
preserve the health and safety of U.S. citizens, U.S. nationals, and lawful permanent residents, and
personnel and noncitizens in POE and U.S. Border Patrol stations is no longer necessary to protect the
public health. Other current public health mitigation measures sufficiently reduce the serious danger of
introduction, transmission, and spread of the virus that causes COVID-19 as a result of the entry of
covered noncitizens, including in congregate settings where such noncitizens would otherwise be held
while undergoing immigration processing, including at POE and U.S. Border Patrol stations at or near
the U.S. land and adjacent coastal borders.

         Termination of the August Order is based on the current status of the COVID-19 pandemic and
the available public health mitigation measures. In making this determination, I have considered myriad
facts, including epidemiological information such as the viral transmissibility and asymptomatic
transmission of COVID-19, the epidemiology and spread of SARS-CoV-2 variants, the morbidity and
mortality associated with the disease for individuals in certain risk categories, COVID-19 Community
Levels, national levels of transmission and immunity, the availability and efficacy of vaccination and
treatments, as well as public health concerns with congregate settings at border facilities. While holding
noncitizens in congregate settings with limited options for COVID-19 mitigation is accompanied by
inherent risk, the overall public health landscape in the United States has changed such that the
justification for the August Order is no longer sustained.

        The COVID-19 pandemic is ongoing and appropriate public health mitigation measures must
continue to be applied. 178 Although it cannot be known how the spread of SARS-CoV-2 will change in
the future (e.g., due to the emergence of a new variant), CDC plans to rely on COVID-19 Community
Levels, among other factors, to inform how prevention measures may be used to minimize the impact of
177
    Control of Communicable Diseases; Foreign Quarantine: Suspension of the Right to Introduce and Prohibition of
Introduction of Persons into United States from Designated Foreign Countries or Places for Public Health Purposes, 85 Fed.
Reg. 56424 (Sept. 11, 2020).
178
    See supra note 105, indicating that the whole community can be safe only when [everyone] take[s] steps to protect each
other, even when the COVID-19 Community Level is low or medium.

                                                            27

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           Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 152 of 280


COVID-19 on health and society, including at the U.S. borders. 179 To that end, CDC will continue to
assess the public health situation at the U.S. borders even after this Termination as part of its
comprehensive COVID-19 response. If, for example, there is a substantial change in the public health
situation with respect to the pandemic, such as due to new and particularly concerning SARS-CoV-2
variants, CDC could determine a new order under 42 U.S.C. §§ 265, 268 and 42 C.F.R. § 71.40 is
necessary. Any such determination would be based on the public health needs identified at that time.

      A.      Implementation of this Termination

        CDC is required by the Final Rule to consult with “all Federal departments or agencies whose
interests would be impacted by this order,” “as practicable under the circumstances. 180 CDC recognizes
that resumption of border operations under Title 8 authorities, and the need to put additional appropriate
COVID-19 mitigation measures in place, requires time to operationalize in a manner that protects the
health and safety of the migrants, workforce, and American communities. Based on DHS’
recommendation and in order to provide DHS time to implement operational plans for fully resuming
Title 8 processing, including incorporating appropriate COVID-19 measures, this Termination will be
implemented on May 23, 2022.

         DHS has represented that over the next several weeks it is taking important steps to implement
processes in preparation for the full resumption of border operations pursuant to Title 8 authorities, in a
manner that promotes the health and safety of migrants, CBP employees, and the local communities.
Most recently, DHS has initiated a vaccination program for all age-eligible migrants who lack legal
status and are processed pursuant to Title 8 authorities; this program will be scaled up over the next two
months. 181 As stated above, CDC recognizes vaccination as the single most important public health tool
for fighting COVID-19 and recommends that all eligible persons, regardless of citizenship, be
vaccinated and remain up to date with boosters. 182 The implementation timeline of this Termination will
provide DHS with time to scale its vaccination program, as well as ready its operational capacity,
implement appropriate COVID-19 protocols, and prepare for resumption of regular migration under
Title 8.

         CDC recognizes that the Termination of the August Order will lead to an increase in the number
of noncitizens being processed in DHS facilities which could result in overcrowding in congregate
settings. Moreover, DHS projects, based on available intelligence as well as seasonal migration patterns,
an increase in encounters in the coming months, which could lead to further crowding in DHS facilities.
DHS reports that it is taking steps to plan for such increases, including by readying decompression
plans, deploying additional personnel and resources to support U.S. Border Patrol, and enhancing its
ability to safely hold noncitizens it encounters. Putting such plans in place, ensuring that the workforce
is adequately and appropriate trained for their shifting roles, and deploying critical resources require
time. This Termination will be implemented on May 23, 2022, to provide DHS with additional time to
ready such operational plans and prepare for full resumption of regular migration under Title 8.



179
    Id.
180
    42 C.F.R. § 71.40.
181
    See supra I.B.5.
182
    In line with CDC’s emphasis on the importance of vaccination, CDC has kept its requirement for noncitizens to provide
proof of vaccination for air travel and also supports DHS’s Order requiring the same at the land borders (see supra notes 67
and 83).

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                                                          SAR0149
           Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 153 of 280


        For the foregoing reasons, this Termination will be implemented on May 23, 2022. To the extent
that any state or local government has a misplaced reliance interest on the August Order, the timeline for
implementation of the Termination also allows time for such entities to adjust their planning in
anticipation of the full resumption of Title 8 border processing. During this temporary period of
continued application of the August Order, DHS will continue to exercise its discretion to issue case-by-
case exceptions based on the totality of the circumstances as set forth in the August Order. 183 DHS has
represented that it will continue to make use of this exception where, for example, a noncitizen may
suffer particular harms associated with expulsion (e.g., vulnerable and medically fragile persons) until
the Termination is effective.

      B.      APA Review

        This Termination shall be implemented on May 23, 2022. I consulted with DHS and other
federal departments as required by the Final Rule before I issued this Order and requested that DHS aid
in the implementation of this Termination. 184 DHS is developing operational plans for implementing this
Termination. CDC will review these plans and ensure that they are consistent with the language of this
Termination and public health best practices.

         This Termination, like the preceding Orders issued under this authority, is not a rule subject to
notice and comment under the Administrative Procedure Act (APA). 185 Even if it were, notice and
comment are not required because there is good cause to dispense with prior public notice and the
opportunity to comment on this Termination. 186 Given the extraordinary nature of an order under
Section 265, the resultant restrictions on application for asylum and other immigration processes under
Title 8, and the statutory and regulatory requirement that an CDC order under the authority last no
longer than necessary to protect public health, it would be impracticable and contrary to the public
interest and immigration laws that apply in the absence of an order under 42 U.S.C. § 265 to delay the
effective date of this termination beyond May 23, 2022 for the reasons outlined herein. 187 As explained,
DHS requires time to institute operational plans to implement this order, including COVID-19
mitigation measures, and begin regular immigration processing pursuant to Title 8. In light of the
August Order’s significant disruption of ordinary immigration processing and DHS’s need for time to
implement an orderly and safe termination of the order, there is good cause not to delay issuing this
termination or to delay the termination of this order past May 23, 2022. In addition, this Order concerns
ongoing discussions with Canada, Mexico, and other countries regarding immigration and how best to
control COVID-19 transmission over shared borders and therefore directly “involve[s] . . . a . . . foreign
affairs function of the United States;” 188 thus, notice and comment are not required.

183
    “Persons whom customs officers determine, with approval from a supervisor, should be excepted from this Order based on
the totality of the circumstances, including consideration of significant law enforcement, officer and public safety,
humanitarian, and public health interests. DHS will consult with CDC regarding the standards for such exceptions to help
ensure consistency with current CDC guidance and public health recommendations.” 86 Fed. Reg. 42828, 42841 (Aug. 5,
2021).
184
    42 U.S.C. § 268; 42 C.F.R. § 71.40(d).
185
    While this Termination is not a rule subject to notice and comment under the APA (5 U.S.C. § 553), the Office of
Information and Regulatory Affairs has determined that this is a major rule as defined by Subtitle E of the Small Business
Regulatory Enforcement Fairness Act of 1996, also known as the Congressional Review Act (CRA). 5 U.S.C. § 804(2). The
agency finds, for the reasons listed above, that good cause exists to make this rule effective on May 23, 2022, under 5 U.S.C.
§ 808(2).
186
    5 U.S.C. § 553(b)(3)(B).
187
188


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                                                          SAR0150
      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 154 of 280



        With this Termination, I hereby determine that the danger of further introduction, transmission,
or spread of COVID-19 into the United States from covered noncitizens, as defined in the August Order,
has ceased to be a serious danger to the public health and therefore the continuation of the August Order,
and all previous orders issued under the same authority, is no longer necessary to protect public health.
Nothing in this Termination will prevent me from issuing a new Order under 42 U.S.C. §§ 265, 268 and
42 C.F.R. § 71.40 based on new findings, as dictated by public health needs.

        In testimony whereof, the Director, Centers for Disease Control and Prevention, U.S.
Department of Health and Human Services, has hereunto set her hand at Atlanta, Georgia, this 1 st day of
April, 2022.




Rochelle P. Walensky, MD, MPH
Director
Centers for Disease Control and Prevention




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 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page1155
                                                               of 6of 280



 1   WO
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 6                      IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Unknown Parties, et al.,                           No. CV-15-00250-TUC-DCB
10                  Plaintiffs,                         ORDER FOR:
                                                        PERMANENT INJUNCTION
11   v.
12   Kirstjen M Nielsen, et al.,
13                  Defendants.
14
15          This Court has issued Findings of Fact and Conclusions of Law (Doc. 482) and
16   entered judgment in favor of Plaintiffs (Doc. 483). Good cause appearing,
17          Accordingly,
18          IT IS ORDERED that:
19                                       I. DEFINITIONS
20          The following terms and definitions shall apply to this Order:
21          a. “Adequate Food” shall mean food that has been evaluated and approved by a
22   registered dietitian and/or nutritionist to meet the dietary Detention-industry Standards for
23   maintaining Detainee health.
24          b. “Bed” shall mean a raised cot, bunkbed, or other similar structure with a mattress
25   which meets accepted Detention-industry Standards. A Mat placed directly on a floor is
26   not a Bed.
27          c. “Blanket” shall mean a cloth blanket, capable of being washed and reused. A
28   Mylar Blanket is not a Blanket.




                                        SAR0152
 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page2156
                                                               of 6of 280



 1          d. “Book In” shall mean the time of a person’s first arrival at any CBP station as
 2   entered in the e3 Detention Module (“e3DM”).
 3          e. “Defendants” shall mean Chad Wolf, Acting Secretary of Homeland Security, in
 4   his official capacity; Mark A. Morgan, Acting Commissioner, U.S. Customs and Border
 5   Protection, in his official capacity; Carla L. Provost, Chief of United States Border Patrol,
 6   in her official capacity; Roy D. Villareal, Chief Patrol Agent-Tucson Sector, in his official
 7   capacity, their respective successors in office, and the agents and employees acting under
 8   their authority and/or supervision.
 9          f. “Detainee” shall mean an individual in CBP’s custody who is a class member in
10   the above-captioned action.
11          g. “Detention-industry Standard” shall mean standards applicable at a jail, prison
12   or ICE-detention facility.
13          h. “Exigent Circumstances” shall be narrowly construed and mean any exceptional,
14   sudden, and unforeseeable events caused by an acute event outside of CBP’s control that
15   temporarily precludes CBP’s full compliance with the terms of this Order, including, for
16   instance, Acts of God/natural disasters; other emergencies (fires, terrorism, etc.); full or
17   partial government shutdown; or public health concerns in a particular facility. Periodic
18   surges that occur along the border are a chronic condition that do not constitute Exigent
19   Circumstances.
20          i. “Order” shall mean this Order.
21          j. “Logistical Impossibility” shall mean that CBP is unable to transfer a Processing
22   Complete Detainee to the appropriate receiving agency because that agency is
23   operationally closed, such as during the night, weekends and holidays, and closures due to
24   exigent circumstances like those described above.
25          k. “Mat” shall mean a mattress or pad which can be disinfected and cleaned. A Mat
26   shall include those currently being provided as of this Order in the Tucson Sector.
27          l. “Medical Professional” shall mean an advanced practice provider (a physician,
28   physician assistant, nurse practitioner, or a registered nurse) and medical technicians


                                                     -2-
                                           SAR0153
 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page3157
                                                               of 6of 280



 1   (certified Emergency Medical Technician, paramedic, licensed practical nurse, licensed
 2   vocational nurse), working under the direct supervision of the advanced practice provider
 3   when performing medical assessments.
 4          m. “Parties” shall mean Plaintiffs and Defendants collectively in the above-
 5   captioned action.
 6          n. “Plaintiffs” shall mean plaintiff class members in the above captioned action.
 7          o. “Potable Water” shall mean water safe for human consumption and so labeled.
 8          p. “Processing Complete” shall mean that the Detainee has been processed by CBP
 9   and the receiving agency has been identified.
10          q. “Shower” shall mean a bath or stall in which water is showered—i.e., wet with a
11   spray, fine stream, or drops—on the body. A Paper Shower is not a Shower.
12          r. “Time in Detention” shall mean time in Tucson Sector CBP custody, calculated
13   from first Book In at a Tucson Sector Border Patrol station. Temporary book-outs to a
14   hospital, jail, or any other facility will not be counted as Time in Detention and will not be
15   included in the 48-hour calculation.
16          s. “Station” shall Tucson Sector Border Patrol Stations.
17
18                         II.    CONDITIONS OF CONFINEMENT
19          1.     U.S. Customs and Border Protections (“CBP”) shall be permanently enjoined
20   from holding Processing Complete Detainees whose Time In Detention in Tucson Sector
21   CBP facilities is longer than 48 hours, unless CBP provides conditions of confinement to
22   meet Detainees’ basic human needs, pursuant to Detention-industry Standards for the
23   following:
24          a.     Bed and Blanket for sleeping;
25          b.     Showers;
26          c.     Adequate Food;
27          d.     Potable Water; and
28          e.     Medical assessment by a Medical Professional.


                                                   -3-
                                         SAR0154
 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page4158
                                                               of 6of 280



 1          2.       Defendants shall continue to provide Detainees with the items in ¶ 1a.–d. of
 2   this Order until Detainees are transferred to another agency, repatriated, released, or
 3   otherwise no longer in CBP custody in Tucson Sector Border Patrol facilities. In particular,
 4   conditions of confinement shall be provided pursuant to Detention-industry Standards for
 5   cleanliness and sanitation.
 6          3.       Defendants shall be enjoined from overcrowding hold rooms to the extent
 7   that Detainees (regardless of Time in Custody) are sleeping within toilet areas. Mat-
 8   sleeping shall be prohibited in hold room toilet areas.
 9          4.       When Mats are in use inside a hold room, Defendants shall make every effort
10   not to exceed hold room Mat capacities, which are based on the number of Mats that can
11   be fully unfolded on the floor with minimal or no overlapping, and with sufficient clearance
12   to and from the cell door, toilet(s), and drinking water. If operational necessity requires
13   Defendants to exceed the Mat capacities, Defendants shall make every effort to limit the
14   period during which Mat capacities are exceeded. Operational necessity shall not excuse
15   Defendants from failing to redistribute Detainees when there are empty or underused hold
16   rooms. To prevent overcrowding, Defendants may retrieve Mats from Detainees so long
17   as no Detainee is deprived of a Mat for more than 12 hours in any 24-hour period.
18          5.       The sleeping, personal hygiene, medical provisions, of the Preliminary
19   Injunction (Order (Doc. 244) at 28 ¶¶ 1-4) are hereby made permanent.
20          6.       Logistical Impossibility preventing transfer of a Detainee within 48 hours
21   shall not be construed to extend beyond a third night, with the transfer occurring the next
22   business day.
23          7.       Exigent Circumstances may temporarily excuse compliance with ¶ 1 of this
24   Order only as long as the Exigent Circumstances last, plus a reasonable amount of time
25   following the conclusion of the Exigent Circumstances for Defendants to return to
26   compliance.
27
28


                                                   -4-
                                         SAR0155
 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page5159
                                                               of 6of 280



 1            III.   MONITORING AND E3DM DOCUMENTATION
 2            8.     Defendants shall track, and document in e3DM, the time that an individual
 3   Detainee is booked into a Tucson Sector Border Patrol station and the time that the
 4   Detainee becomes Processing Complete. Defendants shall ensure that for each individual,
 5   Tucson Sector Border Patrol is able to identify, using e3DM, if the individual is Processing
 6   Complete at 48 hours. Tucson Sector Border Patrol will ensure that Detainees who have
 7   reached 48 hours in custody from Book In are Processing Complete as soon as reasonably
 8   possible. Defendants shall track, and document in e3DM, the time when a Processing
 9   Complete Detainee is provided the basic human needs guaranteed for Processing Complete
10   Detainees held for more than 48 hours, as required by ¶ 1 of this Order.
11            9.     Defendants shall track and document the beginning, end, and nature of any
12   Exigent Circumstances.
13            10.    The 12-hour conditions of confinement provisions imposed by the Court’s
14   Preliminary Injunction (Order (Doc. 244), made permanent herein, supra ¶ 5, shall
15   continue to be tracked, documented and monitored through the use of e3DM data. There
16   shall be no requirement going forward for video tracking and monitoring, or preservation
17   and exchange of video recordings.
18            11.    Defendants will provide Plaintiffs with the above described e3DM data on a
19   quarterly basis for a period of 24 months following the entry of this order. Plaintiffs may
20   request class access visits, under the same terms as such visits have been provided during
21   the course of this litigation, on a quarterly basis for a period of 24 months following the
22   entry of this order. For at least two years following the entry of this order, Defendants will
23   conduct internal compliance evaluations performed by the TCA Policy & Compliance
24   Division and provide them to Plaintiffs for at least two years following the entry of this
25   order.
26                                   IV.     EFFECTIVE DATE
27            12.    The Order shall become effective upon entry by the Court, with Defendants
28   having 90 days from the filing date of this Order to attain full compliance. The Defendants


                                                     -5-
                                           SAR0156
 Case Case
      3:21-cv-01066-TKW-ZCB
           4:15-cv-00250-DCB Document
                             Document 87-1 Filed04/17/20
                                      494 Filed 10/03/22 Page
                                                         Page6160
                                                               of 6of 280



 1   shall file a status report with the Court every 30 days until full compliance is attained.
 2          13.    Defendants shall ensure that a copy of this Order is kept at all Stations in a
 3   location accessible to CBP agents. Defendants shall ensure that all Tucson Sector CBP
 4   agents carrying out custodial duties receive and read the Order.
 5          IT IS FURTHER ORDERED that this Court retains jurisdiction to reopen this
 6   case and return it to the Court’s active docket to enforce its Orders, the Permanent
 7   Injunction and Judgment entered in this action
 8          IT IS FURTHER ORDERED that the framing of relief provided herein is no
 9   broader than required by law and the precise facts of this case. See Friends of the Earth v.
10   Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 193 (2000).
11          SO ORDERED.
12                 Dated this 17th day of April, 2020.
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                                                   -6-
                                         SAR0157
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 161 of 280



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION




STATE OF FLORIDA,


                       Plaintiff,                                  Civil Action No. 3:21-cv-01066
        v.

The UNITED STATES OF AMERICA, et al.,


                       Defendants.




                    CERTIFICATION OF ADMINISTRATIVE RECORD


I, Patrick J. Lechleitner, pursuant to 28 U.S.C. §1746, declare under penalty of perjury as
follows:

       1.      I am the Senior Official performing the duties of the Deputy Director for U.S.

Immigration and Customs Enforcement (“ICE”). I have held this position since August 15,

2021. In this capacity, I am the second highest ranking official within ICE and oversee all of its

component groups, including the day-to-day operations of the agency, an annual budget of over

$8 billion, and more than 20,000 employees. Prior to this current position, I was the Acting

Executive Associate Director for Homeland Security Investigations (HSI) from March 16, 2021

to July 30, 2021 and permanent Executive Associate Director for HSI from July 31 to present. I

have also held positions at ICE Headquarters as the Assistant Director for HSI International

Operations Division from March 3, 2019 through my acting time as EAD, and Acting Assistant
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 162 of 280

Director for the National Security Investigations Divisions, and the Deputy Assistant Director

overseeing HSI’s Cyber Crimes Divisions. I was also the Special Agent in Charge for HSI

Washington, D.C. from March 7, 2017 until March 3, 2019. In total, I have over 20 years of

federal law enforcement experience with the U.S. Customs Service, and HSI with almost 5

additional years as a local police officer in Virginia prior to federal service.

       2.      The facts attested to herein are based upon my personal knowledge or upon

information provided to me in my official capacity, and upon conclusions and determinations

reached and made in accordance therewith.

       3.      The documents listed in the accompanying Administrative Record Index and

contained in the files annexed hereto, constitute to the best of my knowledge and belief, a true

and complete copy of all non-privileged documents and materials considered by ICE in issuing

the July 18, 2022 Memorandum, titled Policy on the Use of Parole Plus Alternatives to

Detention to Decompress Border Locations.



I certify under penalty of perjury that the foregoing is true and correct.


Executed this 25th day of July, 2022 in Washington, D.C.
                                                                         Digitally signed by PATRICK
                                                        PATRICK J        J LECHLEITNER
                                                                         Date: 2022.07.25 18:22:20
                                                        LECHLEITNER
                                                       ___________________________________
                                                                         -04'00'

                                                       Patrick J. Lechleitner
                                                       Senior Official Performing the Duties of the
                                                       Deputy Director
                                                       U.S. Immigration and Customs Enforcement
     Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 163 of 280



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION




                                                                  Civil Action No. 3:21-cv-01066

   STATE OF FLORIDA,
                                                                  UNITED STATES IMMIGRATION
                                                                  AND CUSTOMS ENFORCEMENT
                         Plaintiff,                               ADMINISTRATIVE RECORD FOR
                                                                  JULY 18, 2022 POLICY ON THE USE
          v.                                                      OF PAROLE PLUS ALTERNTIVES
   The UNITED STATES OF AMERICA, et al.,                          TO DETENTION TO DECOMPRESS
                                                                  BORDER LOCATIONS

                         Defendants.




                    CERTIFIED INDEX TO ADMINISTRATIVE RECORD


                                      DOCUMENT                                               PAGE
1. U.S. Customs and Border Protection and U.S. Immigration and Customs Enforcement,        SAR0158-
   Policy on the Use of Parole Plus Alternatives to Detention to Decompress Border           161
   Locations (July 18, 2022).
2. U.S. Border Patrol, Parole Plus Alternative to Detention (November 2, 2021).            SAR0162-
                                                                                             164
3. Operation Horizon Comms Plan: Mailing Initiative and NTAs (November 8, 2021).           SAR0165-
                                                                                             169
4. Capacity Report (April 8, 2022).                                                        SAR0170-
                                                                                             251
5. [Redacted] FW: Op Horizon OT Update (April 25, 2022).                                   SAR0252-
                                                                                             254
6. FAMU Compliance Rates by Fiscal Year (April 26, 2022).                                  SAR0255-
                                                                                             256
    Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 164 of 280

7. [Redacted] Re: Parole/ATD release (May 2, 2022).                      SAR0257-
                                                                           260
8. Cost if P+ATD Halted 30-60-90 days_v2 (May 6, 2022).                  SAR0261-
                                                                           266
9. [Redacted] FW: Projecting ICE Workload (May 6, 2022).                 SAR0267-
                                                                           271
10. Ad-Hoc Non-FAMU Compliance Rates by FY (May 9, 2022).                SAR0272-
                                                                           273
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 165 of 280




                                SAR0158
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 166 of 280




                                SAR0159
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 167 of 280




                                SAR0160
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 168 of 280




                                SAR0161
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 169 of 280




                                SAR0162
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 170 of 280




                                SAR0163
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 171 of 280




                                SAR0164
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 172 of 280




                          Comms Plan: Mailing Initiative and NTAs
                                     FINAL 11.8.21

Overview:
   • ICE Field Offices will mail out approximately 78,000 packets that include:
          o Cover letter with general resources
          o Notice to Appear, Form I-862
          o Interview Notice, Form G-56
          o Informational materials on change of address, legal assistance, and more
   • During the ICE appointment, ICE will review the case with the noncitizen, take
      biometrics and photos, and establish any ongoing check-in requirements.
   • More than 1,400 ICE staff are supporting the initiative at ERO and HSI field offices
      across the country.

Statement attributable to ICE spokesperson:
“U.S. Immigration and Customs Enforcement is mailing charging documents to place
noncitizens in removal proceedings who have been paroled or released under prosecutorial
discretion by Customs and Border Protection (CBP).

“Noncitizens are being directed to their closest ICE Field Office and will be processed using the
information collected by CBP as evidence of citizenship and removability. During the ICE
appointment, ICE will review the case with the noncitizen, take biometrics and photos, and
establish any ongoing check-in requirements.

“Noncitizens must report to ICE and appear at their designation immigration court date as part of
their immigration proceedings in order to comply with US law. Action will be taken against
those that do not appear consistent with the law and Department priorities.

“By mailing out these charging documents, ICE is initiating removal proceedings in a timely
way.”

Additional Background (for reporters):
  • ICE has communicated to noncitizens via mail for decades.
  • Other appropriate charging documents will be issued in person, as appropriate, on a case-
       by-case basis.
  • When an individual reports to the ICE Field Office, they will be asked additional
       information and provide fingerprints.
  • The noncitizen will receive instructions about next steps and information on how to find
       legal help and other resources.

RTQs
   •   Why didn’t noncitizens get this notice when they arrived in the US?
       Earlier this year, when encounters were consistently high, operational capacity strained,
       and COVID-19 acute, CBP began issuing notices to report (NTR), a significantly faster
       mechanism for processing noncitizens, particularly when used for family units (FMU).
       NTRs were used for certain noncitizens following initial processing and collection of




                                             SAR0165
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 173 of 280




    biometric and biographic information. The use of this processing pathway enabled CBP
    to relieve overcrowding in congregate settings, thus better protecting both the workforce
    and noncitizens in CBP custody. Those released with NTRs, however, were directed to
    report to ICE for further processing, including for an NTA, as appropriate.

    CBP is no longer issuing NTRs. Instead, in circumstances where an alternate path is
    necessary to address urgent crowding and excessive Time-In-Custody (TIC) in CBP
    facilities, Border Patrol has developed an alternative processing pathway: the use of
    Parole + ATD. This pathway includes enrollment of FMUs in ICE ATD programs to
    ensure individuals are accounted for after release from CBP facilities. Parole + ATD is a
    rigorous enforcement process that is effective and includes accountability measures to
    require noncitizens to report to ICE for issuance of an NTA and continue through the
    formal immigration process.

•   How do you know where people are?
    ICE is using the address provided to CBP when noncitizens were initially processed, the
    address that the noncitizen has provided to ICE directly, or through enrollment in the
    ATD program.

•   Why is ICE embarking on this initiative?
    We are applying an organized and methodical approach to place noncitizens in removal
    proceedings who have been paroled or released by CBP. By mailing out these charging
    documents, ICE is relieving scheduling pressures on its Field Offices and initiating
    removal proceedings in a timely way. ICE Field Offices will mail out a packet that
    includes an NTA, an ICE appointment date, and more. During the ICE appointment, ICE
    will review the case with the noncitizen, take biometrics and photos, and establish any
    ongoing check-in requirements. More than 1,400 ICE staff are supporting the initiative at
    ERO and HSI field offices across the country.

•   Why does a noncitizen have to report to ICE?
    Noncitizens must report to the ICE Field Office and show up at their immigration court
    dates. This preserves the integrity of the immigration system and provides noncitizens
    with the opportunity to seek relief or protection from removal. If a noncitizen has any
    questions about reporting, they can call ICE at 833-383-1465 where operators can help in
    several languages.

•   What is Form I-862?
    Form I-862 (Notice to Appear, also known as an NTA) is provided to noncitizens to
    initiate removal proceedings under section 240 of the Immigration and Nationality Act. It
    includes, among other things, the immigration charges against the noncitizen and the
    date, time, and address of the Executive Office for Immigration Review (EOIR)
    immigration court where they are required to appear. It also notifies the noncitizen of the
    requirement that he or she provide a written record of any change of address or telephone
    number.




                                          SAR0166
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 174 of 280




•   What is the plan/process to handle inquiries coming in to verify legitimacy of the
    letters? Report fraudulent ones?
    ICE can validate call-in letters, NTRs, and parole documents issued to noncitizens using
    person-specific identifiers that are exclusive to an individual. To validate a letter,
    noncitizens or their representatives can call the local ICE field office or contact the ICE
    VESL at 833-383-1465 where operators can help in several languages.

•   What is the plan for the longer lines at the check-in stations (i.e., Houston) when/if
    people do quickly decide they need to rush to report in Florida (though unlikely)?
    The operation is designed to mail out NTAs to individuals issued an NTR or paroled and
    placed on ATD at the southwest border and create a more orderly process for reporting to
    ICE. Individuals will be required to report in person to receive limited documentation in
    person along with appropriate biometrics collection. However, the mailed NTA will
    reduce the amount of time needed with ICE officers.

•   Are these letters going out in the native language of the individual recipients?
    Yes, brochures and advisals will be made available in English, Spanish, Portuguese, and
    Haitian Creole.

•   What’s happening to the noncitizen that passed the 60-day report window? Are they
    receiving this packet?
    Over a matter of months, ICE will issue noncitizens who have been released with a notice
    to report or on immigration parole an NTA and G-56 by mail.

•   If we don’t receive viable addresses of those past the 60-report window, what
    happens to those noncitizens?
    DHS plans to conduct follow-up inquiries to locate and take appropriate action with these
    individuals. Those who do not report, like anyone who is in our country without legal
    status, are subject to removal by ICE.

•   How many NTAs are being mailed?
    Approximately 78,000 NTA packages are being mailed over the course of a matter of
    months.

•   What if the NTA gets lost in the mail? What should the noncitizen do?
    A noncitizen or their legal representative should contact the ICE VESL (833-383-1465).

•   What will a noncitizen receive in the mail from ICE?
    The mailing contains an NTA that, among other things, includes the charges against the
    noncitizen (violations of immigration law). The mailing will also include legal access
    resources and explanatory materials about how to provide a change of address. For those
    individuals released by CBP without being given an NTA, ICE field offices will process
    assigned cases using the information collected by CBP as evidence of citizenship and
    removability. A noncitizen will receive the following documents in the mail:
        o Cover letter with general resources
        o Notice to Appear, Form I-862



                                          SAR0167
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 175 of 280




          o Interview Notice, Form G-56
          o Informational materials on change of address, legal assistance, and more

   •   What happens when a noncitizen arrives for their appointment at a field office?
       When a noncitizen reports to an ICE Field Office, they can bring an attorney or someone
       to help them at the appointment. Unless they have committed a serious crime, or the
       government thinks they may be a risk to the United States, a noncitizen will not be taken
       into custody at the appointment. When they report to the ICE Field Office, an officer will
       confirm contact information, take biometrics, and explain the court process. The
       noncitizen will receive instructions about next steps and receive more information on
       how to find legal help and other resources.

   •   How does a noncitizen change their address with ICE?
       To change an address with ICE, a noncitizen should contact the ICE Victims Engagement
       and Services Line at 1-833-383-1465 or ice.gov/vesl. For cases already filed with EOIR,
       noncitizens are also required to change their address with the court by submitting a
       Change of Address, Form EOIR-33, with the EOIR.

   •   Does ICE expect a large number of in absentia removal orders as a result of
       noncitizens not receiving their mailed NTA?
       It is critical that all noncitizens contact the ICE VESL line to update their contact
       information with ICE if it changes. Failure to appear at a scheduled immigration court
       hearing may result in a judge ordering the individual removed in absentia.

   •   Will people be placed on the dedicated docket?
       Yes, they will be placed on the dedicated docket if they are part of a family group who
       was apprehended between the ports of entry after May 28, 2021, eligible for the ATD
       program, and residing in one of the 11 dedicated docket jurisdictions.

Communications deliverables from ICE OPA:
  • RTQ
  • Updates to ice.gov/check-in: adding video and example of sample packet
        o Video (style: animation) explaining mailer’s intent; will launch with Spanish and
            then add versions in Portuguese and Creole.
        o Updated information on changing address already made.
  • Focused media effort, pitching placed stories to Telemundo/Univision and Spanish radio
    in the following markets: Miami, Houston, New Orleans, Atlanta, Newark, Chicago,
    Boston, Washington, Los Angeles, and San Francisco.

Draft Tick Tock (subject to change):
Thursday, November 4
5:30-6:15PM ET      ICE/OPE host stakeholder call, “What to Expect from the Mailout NTA
and Processing”

Friday, November 5




                                            SAR0168
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 176 of 280




Ongoing              ICE/OPE CRO’s to host calls in areas of responsibility for additional key
stakeholders

Monday, November 8
                  First round of packets drops in the mail
                  ICE/OPA begins pitching to targeted media (Telemundo/Univision)

Tuesday, November 9
                     Add video (English, Spanish) to ice.gov/check-in; Portuguese and Creole
to come by week’s end.




                                           SAR0169
      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 177 of 280



                                                Number of
Capacity Date Capacity Location AOR             Appointments     Noncitizen Count Capacity
   2022‐05‐01 HSI/ERO            Chicago                       0                 0       0.00
              SPRINGFIELD MO
              OFFICE
   2022‐04‐01 WICHITA ICE OFFICE Chicago                       5                9       12.50

   2023‐01‐01 HSI/ERO              Chicago                     0                0        0.00
              SPRINGFIELD MO
              OFFICE
   2022‐09‐01 HSI/ERO              Chicago                     0                0        0.00
              SPRINGFIELD MO
              OFFICE
   2022‐12‐01 LOUISVILLE FIELD     Chicago                     0                0        0.00
              OFFICE
   2022‐06‐01 CHICAGO FIELD        Chicago                 73                 169       97.19
              OFFICE
   2024‐01‐01 MILWAUKEE FIELD      Chicago                     0                0        0.00
              OFFICE
   2022‐05‐01 ERO ‐ KANSAS CITY    Chicago                 34                  73      93.65
              FIELD OFFICE
   2023‐02‐01 CHICAGO FIELD        Chicago                 34                 102       88.89
              OFFICE
   2023‐04‐01 LOUISVILLE FIELD     Chicago                     0                0        0.00
              OFFICE
   2022‐10‐01 CHICAGO FIELD        Chicago                 36                  99       83.82
              OFFICE
   2022‐09‐01 ERO ‐ KANSAS CITY    Chicago                     1                1        1.79
              FIELD OFFICE
   2022‐09‐01 LOUISVILLE FIELD     Chicago                     4                9        9.25
              OFFICE
   2022‐09‐01 MILWAUKEE FIELD      Chicago                 17                  38       82.86
              OFFICE
   2023‐01‐01 WICHITA ICE OFFICE   Chicago                     0                0        0.00

   2023‐03‐01 ERO/HSI              Chicago                 25                  69       58.33
              INDIANAPOLIS
              OFFICE
   2022‐05‐01 LOUISVILLE FIELD     Chicago                 33                  94       42.39
              OFFICE
   2022‐05‐01 MILWAUKEE FIELD      Chicago                 17                  40       85.07
              OFFICE
   2023‐09‐01 MILWAUKEE FIELD      Chicago                 13                  34       43.40
              OFFICE
   2022‐09‐01 WICHITA ICE OFFICE   Chicago                     0                0        0.00




                                             SAR0170
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 178 of 280


2022‐11‐01 ERO/HSI             Chicago             36         87    88.39
           INDIANAPOLIS
           OFFICE
2023‐05‐01 MILWAUKEE FIELD     Chicago             19         49    77.27
           OFFICE
2022‐07‐01 ERO/HSI             Chicago             33         70    85.83
           INDIANAPOLIS
           OFFICE
2023‐01‐01 MILWAUKEE FIELD     Chicago             17         40    78.08
           OFFICE
2023‐03‐01 ERO ‐ KANSAS CITY   Chicago              0          0     0.00
           FIELD OFFICE
2022‐09‐01 SAINT LOUIS FILE    Chicago              0          0     0.00
           CONTROL OFFICE
2022‐11‐01 ERO ‐ KANSAS CITY   Chicago              0          0     0.00
           FIELD OFFICE
2023‐01‐01 SAINT LOUIS FILE    Chicago              0          0     0.00
           CONTROL OFFICE
2022‐07‐01 SAINT LOUIS FILE    Chicago              7         17     9.72
           CONTROL OFFICE
2023‐04‐01 HSI/ERO             Chicago              0          0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐12‐01 HSI/ERO             Chicago              0          0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐08‐01 HSI/ERO             Chicago              0          0     0.00
           SPRINGFIELD MO
           OFFICE
2023‐12‐01 MILWAUKEE FIELD     Chicago              0          0     0.00
           OFFICE
2022‐04‐01 ERO ‐ KANSAS CITY   Chicago             24         59    88.43
           FIELD OFFICE
2023‐01‐01 CHICAGO FIELD       Chicago             35         99    98.21
           OFFICE
2023‐03‐01 LOUISVILLE FIELD    Chicago              0          0     0.00
           OFFICE
2022‐09‐01 CHICAGO FIELD       Chicago             38        110    92.50
           OFFICE
2022‐11‐01 LOUISVILLE FIELD    Chicago              0          0     0.00
           OFFICE
2024‐04‐01 MILWAUKEE FIELD     Chicago              0          0     0.00
           OFFICE
2022‐08‐01 ERO ‐ KANSAS CITY   Chicago             25         57    66.88
           FIELD OFFICE
2022‐05‐01 CHICAGO FIELD       Chicago             67        158    98.05
           OFFICE



                                         SAR0171
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 179 of 280


2022‐12‐01 WICHITA ICE OFFICE Chicago                0         0     0.00

2023‐02‐01 ERO/HSI              Chicago             29        75    86.67
           INDIANAPOLIS
           OFFICE
2022‐04‐01 LOUISVILLE FIELD     Chicago             39        87    50.00
           OFFICE
2022‐04‐01 MILWAUKEE FIELD      Chicago             12        29    58.62
           OFFICE
2023‐08‐01 MILWAUKEE FIELD      Chicago             14        41    55.56
           OFFICE
2022‐08‐01 WICHITA ICE OFFICE   Chicago              0         0     0.00

2022‐10‐01 ERO/HSI              Chicago             35        79    89.06
           INDIANAPOLIS
           OFFICE
2023‐04‐01 MILWAUKEE FIELD      Chicago             15        36    71.83
           OFFICE
2022‐06‐01 ERO/HSI              Chicago             48       113    93.60
           INDIANAPOLIS
           OFFICE
2022‐12‐01 MILWAUKEE FIELD      Chicago             13        35    69.23
           OFFICE
2023‐04‐01 WICHITA ICE OFFICE   Chicago              0         0     0.00

2022‐08‐01 LOUISVILLE FIELD     Chicago             12        38    20.69
           OFFICE
2022‐08‐01 MILWAUKEE FIELD      Chicago             21        50    79.78
           OFFICE
2022‐10‐01 ERO ‐ KANSAS CITY    Chicago              0         0     0.00
           FIELD OFFICE
2023‐04‐01 SAINT LOUIS FILE     Chicago              0         0     0.00
           CONTROL OFFICE
2022‐12‐01 SAINT LOUIS FILE     Chicago              0         0     0.00
           CONTROL OFFICE
2022‐06‐01 SAINT LOUIS FILE     Chicago              8        24    18.18
           CONTROL OFFICE
2023‐02‐01 ERO ‐ KANSAS CITY    Chicago              0         0     0.00
           FIELD OFFICE
2022‐11‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐07‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE




                                          SAR0172
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 180 of 280


2023‐03‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐12‐01 CHICAGO FIELD        Chicago             35       101    83.82
           OFFICE
2023‐02‐01 LOUISVILLE FIELD     Chicago              0         0     0.00
           OFFICE
2022‐08‐01 CHICAGO FIELD        Chicago             42       127    88.95
           OFFICE
2022‐10‐01 LOUISVILLE FIELD     Chicago              0         0     0.00
           OFFICE
2024‐03‐01 MILWAUKEE FIELD      Chicago              0         0     0.00
           OFFICE
2022‐07‐01 ERO ‐ KANSAS CITY    Chicago             22        68    60.87
           FIELD OFFICE
2022‐04‐01 CHICAGO FIELD        Chicago             55       136    98.82
           OFFICE
2023‐11‐01 MILWAUKEE FIELD      Chicago              0         0     0.00
           OFFICE
2022‐07‐01 WICHITA ICE OFFICE   Chicago              0         0     0.00

2022‐09‐01 ERO/HSI              Chicago             33        81    89.06
           INDIANAPOLIS
           OFFICE
2022‐04‐01 HSI/ERO              Chicago              1         1    33.33
           SPRINGFIELD MO
           OFFICE
2023‐03‐01 MILWAUKEE FIELD      Chicago             20        48    80.95
           OFFICE
2022‐05‐01 ERO/HSI              Chicago             55       155    97.22
           INDIANAPOLIS
           OFFICE
2022‐11‐01 MILWAUKEE FIELD      Chicago             16        41    60.00
           OFFICE
2023‐03‐01 WICHITA ICE OFFICE   Chicago             0         0      0.00

2022‐07‐01 LOUISVILLE FIELD   Chicago               31        83    49.38
           OFFICE
2022‐07‐01 MILWAUKEE FIELD Chicago                  16        38    79.41
           OFFICE
2022‐11‐01 WICHITA ICE OFFICE Chicago               0         0      0.00

2023‐01‐01 ERO/HSI              Chicago             35        85    93.75
           INDIANAPOLIS
           OFFICE
2023‐07‐01 MILWAUKEE FIELD      Chicago             12        37    78.49
           OFFICE



                                          SAR0173
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 181 of 280


2023‐03‐01 SAINT LOUIS FILE     Chicago              0         0     0.00
           CONTROL OFFICE
2022‐11‐01 SAINT LOUIS FILE     Chicago              0         0     0.00
           CONTROL OFFICE
2022‐05‐01 SAINT LOUIS FILE     Chicago              8        20    15.00
           CONTROL OFFICE
2023‐01‐01 ERO ‐ KANSAS CITY    Chicago              0         0     0.00
           FIELD OFFICE
2023‐04‐01 ERO/HSI              Chicago              0         0     0.00
           INDIANAPOLIS
           OFFICE
2022‐06‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐06‐01 WICHITA ICE OFFICE   Chicago             1          1     1.19

2023‐02‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE
2022‐08‐01 SAINT LOUIS FILE     Chicago              3        10    11.76
           CONTROL OFFICE
2022‐10‐01 HSI/ERO              Chicago              0         0     0.00
           SPRINGFIELD MO
           OFFICE
2023‐01‐01 LOUISVILLE FIELD     Chicago              0         0     0.00
           OFFICE
2022‐07‐01 CHICAGO FIELD        Chicago             31        97    97.06
           OFFICE
2024‐02‐01 MILWAUKEE FIELD      Chicago              0         0     0.00
           OFFICE
2022‐06‐01 ERO ‐ KANSAS CITY    Chicago             27        75    87.50
           FIELD OFFICE
2023‐10‐01 MILWAUKEE FIELD      Chicago              0         0     0.00
           OFFICE
2023‐03‐01 CHICAGO FIELD        Chicago             28        77    67.31
           OFFICE
2022‐11‐01 CHICAGO FIELD        Chicago             39       110    85.63
           OFFICE
2022‐04‐01 ERO/HSI              Chicago             43       127    96.69
           INDIANAPOLIS
           OFFICE
2022‐10‐01 MILWAUKEE FIELD      Chicago             17        41    82.86
           OFFICE
2023‐04‐01 CHICAGO FIELD        Chicago              0         0     0.00
           OFFICE
2023‐02‐01 WICHITA ICE OFFICE   Chicago              0         0     0.00




                                          SAR0174
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 182 of 280


2022‐06‐01 LOUISVILLE FIELD   Chicago              33         97    43.44
           OFFICE
2022‐06‐01 MILWAUKEE FIELD Chicago                 20         48    79.07
           OFFICE
2022‐10‐01 WICHITA ICE OFFICE Chicago               0          0     0.00

2022‐12‐01 ERO/HSI            Chicago              32         82    89.06
           INDIANAPOLIS
           OFFICE
2023‐06‐01 MILWAUKEE FIELD Chicago                 13         39    72.22
           OFFICE
2022‐05‐01 WICHITA ICE OFFICE Chicago               0          0     0.00

2022‐08‐01 ERO/HSI             Chicago             38         96    85.94
           INDIANAPOLIS
           OFFICE
2023‐02‐01 MILWAUKEE FIELD     Chicago             15         37    74.29
           OFFICE
2023‐04‐01 ERO ‐ KANSAS CITY   Chicago              0          0     0.00
           FIELD OFFICE
2022‐10‐01 SAINT LOUIS FILE    Chicago              0          0     0.00
           CONTROL OFFICE
2022‐04‐01 SAINT LOUIS FILE    Chicago              9         25    73.08
           CONTROL OFFICE
2022‐12‐01 ERO ‐ KANSAS CITY   Chicago              0          0     0.00
           FIELD OFFICE
2023‐02‐01 SAINT LOUIS FILE    Chicago              0          0     0.00
           CONTROL OFFICE
2022‐09‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2022‐06‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2022‐05‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2023‐01‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2022‐10‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2023‐04‐01 MIDLAND ERO         El Paso              0          0     0.00
           OFFICE
2023‐02‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2022‐12‐01 MIDLAND ERO         El Paso              0          0     0.00
           OFFICE
2022‐06‐01 MIDLAND ERO         El Paso              7         23     1.12
           OFFICE




                                         SAR0175
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 183 of 280


2023‐04‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2022‐12‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2022‐08‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2022‐04‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2023‐04‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2022‐12‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2022‐08‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2023‐03‐01 MIDLAND ERO         El Paso              0          0     0.00
           OFFICE
2023‐01‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2022‐11‐01 MIDLAND ERO         El Paso              0          0     0.00
           OFFICE
2022‐09‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2022‐04‐01 ICE COLOCATION EL   El Paso              4          6     3.11
           PASO
2022‐05‐01 MIDLAND ERO         El Paso             10         28     3.18
           OFFICE
2022‐11‐01 ROSWELL, NM ERO     El Paso              0          0     0.00

2022‐07‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2023‐03‐01 ROSWELL, NM ERO El Paso                  0          0     0.00

2023‐03‐01 ICE COLOCATION EL   El Paso             0          0      0.00
           PASO
2022‐11‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2022‐08‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2022‐07‐01 ICE COLOCATION EL   El Paso              0          0     0.00
           PASO
2023‐04‐01 ALBUQUERQUE         El Paso              0          0     0.00
           OFFICE
2023‐02‐01 MIDLAND ERO         El Paso              0          0     0.00
           OFFICE
2022‐12‐01 ALBUQUERQUE         El Paso             0          0      0.00
           OFFICE




                                         SAR0176
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 184 of 280


2022‐10‐01 MIDLAND ERO         El Paso                 0       0     0.00
           OFFICE
2022‐05‐01 ALBUQUERQUE         El Paso                 1       1     1.75
           OFFICE
2022‐04‐01 MIDLAND ERO         El Paso                16      41    14.88
           OFFICE
2022‐08‐01 MIDLAND ERO         El Paso                 3       8     2.16
           OFFICE
2022‐06‐01 ROSWELL, NM ERO     El Paso                 0       0     0.00

2023‐02‐01 ROSWELL, NM ERO El Paso                     0       0     0.00

2022‐10‐01 ROSWELL, NM ERO El Paso                     0       0     0.00

2022‐10‐01 ICE COLOCATION EL   El Paso                 0       0     0.00
           PASO
2022‐07‐01 ALBUQUERQUE         El Paso                 0       0     0.00
           OFFICE
2022‐06‐01 ICE COLOCATION EL   El Paso                 0       0     0.00
           PASO
2023‐02‐01 ICE COLOCATION EL   El Paso                 0       0     0.00
           PASO
2022‐11‐01 ALBUQUERQUE         El Paso                 0       0     0.00
           OFFICE
2022‐09‐01 MIDLAND ERO         El Paso                 0       0     0.00
           OFFICE
2022‐04‐01 ALBUQUERQUE         El Paso                 5       7    63.64
           OFFICE
2023‐03‐01 ALBUQUERQUE         El Paso                0        0     0.00
           OFFICE
2023‐01‐01 MIDLAND ERO         El Paso                0        0     0.00
           OFFICE
2022‐07‐01 MIDLAND ERO         El Paso               12       34     5.31
           OFFICE
2023‐01‐01 ROSWELL, NM ERO     El Paso                 0       0     0.00

2022‐09‐01 ROSWELL, NM ERO El Paso                     0       0     0.00

2022‐05‐01 ROSWELL, NM ERO El Paso                     0       0     0.00

2023‐01‐01 WICOMICO            Baltimore               1       2     2.26
           DETENTION
           FACILITY
2022‐10‐01 BALTIMORE           Baltimore             171     433    57.92
           DISTRICT OFFICE
2023‐02‐01 BALTIMORE           Baltimore               2       6     1.19
           DISTRICT OFFICE



                                           SAR0177
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 185 of 280


2022‐11‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2024‐02‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2023‐10‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2022‐04‐01 BALTIMORE         Baltimore              19        47   100.00
           DISTRICT OFFICE
2022‐05‐01 BALTIMORE         Baltimore              21        58   100.00
           DISTRICT OFFICE
2023‐05‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2022‐08‐01 WICOMICO          Baltimore              14        35   100.00
           DETENTION
           FACILITY
2022‐10‐01 WICOMICO          Baltimore               2         6     8.05
           DETENTION
           FACILITY
2023‐01‐01 BALTIMORE         Baltimore              21        59     6.16
           DISTRICT OFFICE
2022‐09‐01 BALTIMORE         Baltimore             238       539    77.87
           DISTRICT OFFICE
2024‐01‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2023‐09‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2022‐04‐01 WICOMICO          Baltimore              10        27   100.00
           DETENTION
           FACILITY
2023‐04‐01 WICOMICO          Baltimore               0         0     0.00
           DETENTION
           FACILITY
2022‐05‐01 WICOMICO          Baltimore              13        33   100.00
           DETENTION
           FACILITY
2022‐09‐01 WICOMICO          Baltimore               8        14    17.65
           DETENTION
           FACILITY
2022‐12‐01 BALTIMORE         Baltimore             165       442    59.55
           DISTRICT OFFICE




                                         SAR0178
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 186 of 280


2023‐04‐01 BALTIMORE         Baltimore                    0     0     0.00
           DISTRICT OFFICE
2022‐08‐01 BALTIMORE         Baltimore                  296   734    97.79
           DISTRICT OFFICE
2023‐07‐01 WICOMICO          Baltimore                    0     0     0.00
           DETENTION
           FACILITY
2023‐02‐01 WICOMICO          Baltimore                    0     0     0.00
           DETENTION
           FACILITY
2023‐03‐01 WICOMICO          Baltimore                    0     0     0.00
           DETENTION
           FACILITY
2024‐04‐01 WICOMICO          Baltimore                    0    0      0.00
           DETENTION
           FACILITY
2023‐12‐01 WICOMICO          Baltimore                   0     0      0.00
           DETENTION
           FACILITY
2022‐07‐01 WICOMICO          Baltimore                  12    32    100.00
           DETENTION
           FACILITY
2022‐06‐01 WICOMICO          Baltimore                  14    35    100.00
           DETENTION
           FACILITY
2023‐08‐01 WICOMICO          Baltimore                   1     3      3.38
           DETENTION
           FACILITY
2022‐11‐01 BALTIMORE         Baltimore                  160   410    54.06
           DISTRICT OFFICE
2023‐03‐01 BALTIMORE         Baltimore                    2     6     0.96
           DISTRICT OFFICE
2022‐12‐01 WICOMICO          Baltimore                    0     0     0.00
           DETENTION
           FACILITY
2024‐03‐01 WICOMICO          Baltimore                    0     0     0.00
           DETENTION
           FACILITY
2023‐11‐01 WICOMICO          Baltimore                    0    0      0.00
           DETENTION
           FACILITY
2023‐06‐01 WICOMICO          Baltimore                   0     0      0.00
           DETENTION
           FACILITY
2022‐12‐01 HELENA FIELD      Salt Lake City              0     0      0.00
           OFFICE




                                              SAR0179
   Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 187 of 280


2022‐12‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐06‐01 WEST VALLEY CITY     Salt Lake City             14   36   10.64
           OFFICE
2022‐08‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2022‐08‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐04‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2023‐04‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐09‐01 BOISE FIELD OFFICE   Salt Lake City              0    0    0.00

2022‐09‐01 LAS VEGAS HSI, ERO Salt Lake City                0    0    0.00
           AND OPLA
2022‐12‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2023‐01‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2022‐05‐01 BOISE FIELD OFFICE Salt Lake City                0    0    0.00

2022‐08‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2022‐09‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2022‐05‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2023‐01‐01 BOISE FIELD OFFICE Salt Lake City                0    0    0.00

2023‐01‐01 LAS VEGAS HSI, ERO   Salt Lake City              0    0    0.00
           AND OPLA
2023‐04‐01 TWIN FALLS FIELD     Salt Lake City              0    0    0.00
           ERO
2022‐05‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐05‐01 LAS VEGAS HSI, ERO   Salt Lake City              4   14    8.11
           AND OPLA
2023‐01‐01 WEST VALLEY CITY     Salt Lake City              0    0    0.00
           OFFICE
2023‐01‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐09‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐04‐01 HELENA FIELD         Salt Lake City              1    4    5.00
           OFFICE




                                                 SAR0180
   Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 188 of 280


2022‐05‐01 RENO OFFICE         Salt Lake City               0     0    0.00

2022‐04‐01 PROVO OFFICE        Salt Lake City              12    35   70.24

2023‐01‐01 RENO OFFICE         Salt Lake City               0     0    0.00

2023‐02‐01 PROVO OFFICE        Salt Lake City               0     0    0.00

2022‐09‐01 RENO OFFICE         Salt Lake City               0     0    0.00

2022‐08‐01 PROVO OFFICE        Salt Lake City              15    43   82.95

2022‐05‐01 WEST VALLEY CITY    Salt Lake City             120   209   36.33
           OFFICE
2022‐07‐01 HELENA FIELD        Salt Lake City               0     0    0.00
           OFFICE
2022‐07‐01 IDAHO FALLS ICE     Salt Lake City               0     0    0.00
           OFFICE
2023‐04‐01 HELENA FIELD        Salt Lake City               0     0    0.00
           OFFICE
2022‐04‐01 TWIN FALLS FIELD    Salt Lake City               1     1    2.88
           ERO
2023‐03‐01 IDAHO FALLS ICE     Salt Lake City               0     0    0.00
           OFFICE
2022‐12‐01 WEST VALLEY CITY    Salt Lake City               1     1    4.73
           OFFICE
2022‐11‐01 HELENA FIELD        Salt Lake City               0     0    0.00
           OFFICE
2022‐11‐01 IDAHO FALLS ICE     Salt Lake City               0     0    0.00
           OFFICE
2022‐07‐01 TWIN FALLS FIELD    Salt Lake City               0     0    0.00
           ERO
2022‐08‐01 ST. GEORGE OFFICE   Salt Lake City               0     0    0.00

2023‐04‐01 BOISE FIELD OFFICE Salt Lake City                0     0    0.00

2023‐04‐01 LAS VEGAS HSI, ERO Salt Lake City                0     0    0.00
           AND OPLA
2022‐04‐01 ST. GEORGE OFFICE Salt Lake City                 0     0    0.00

2022‐12‐01 BOISE FIELD OFFICE Salt Lake City                0     0    0.00

2022‐12‐01 LAS VEGAS HSI, ERO Salt Lake City                0     0    0.00
           AND OPLA
2023‐03‐01 TWIN FALLS FIELD Salt Lake City                  0     0    0.00
           ERO




                                                SAR0181
   Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 189 of 280


2023‐04‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2022‐04‐01 BOISE FIELD OFFICE Salt Lake City                2    3    5.13

2022‐08‐01 BOISE FIELD OFFICE Salt Lake City                0    0    0.00

2022‐07‐01 LAS VEGAS HSI, ERO Salt Lake City                0    0    0.00
           AND OPLA
2022‐11‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2022‐12‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2023‐04‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐11‐01 WEST VALLEY CITY     Salt Lake City              0    0    0.00
           OFFICE
2022‐12‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐08‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2023‐04‐01 WEST VALLEY CITY     Salt Lake City              0    0    0.00
           OFFICE
2022‐04‐01 LAS VEGAS HSI, ERO   Salt Lake City             34   84   95.16
           AND OPLA
2023‐04‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2022‐04‐01 RENO OFFICE          Salt Lake City              4    8   10.34

2022‐12‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2023‐01‐01 PROVO OFFICE         Salt Lake City              0    0    0.00

2022‐08‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2022‐07‐01 PROVO OFFICE         Salt Lake City             13   37   87.50

2023‐03‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2023‐02‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐08‐01 WEST VALLEY CITY     Salt Lake City             15   47    9.94
           OFFICE
2022‐10‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2022‐10‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE




                                                 SAR0182
   Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 190 of 280


2022‐04‐01 WEST VALLEY CITY     Salt Lake City             242   416   88.09
           OFFICE
2022‐06‐01 HELENA FIELD         Salt Lake City               0     0    0.00
           OFFICE
2022‐06‐01 IDAHO FALLS ICE      Salt Lake City               0     0    0.00
           OFFICE
2023‐03‐01 BOISE FIELD OFFICE   Salt Lake City               0     0    0.00

2023‐03‐01 LAS VEGAS HSI, ERO Salt Lake City                 0     0    0.00
           AND OPLA
2022‐11‐01 BOISE FIELD OFFICE Salt Lake City                 0     0    0.00

2022‐11‐01 LAS VEGAS HSI, ERO Salt Lake City                 0     0    0.00
           AND OPLA
2023‐02‐01 TWIN FALLS FIELD Salt Lake City                   0     0    0.00
           ERO
2023‐03‐01 ST. GEORGE OFFICE Salt Lake City                  0     0    0.00

2022‐07‐01 BOISE FIELD OFFICE Salt Lake City                 0     0    0.00

2022‐10‐01 TWIN FALLS FIELD Salt Lake City                   0     0    0.00
           ERO
2022‐11‐01 ST. GEORGE OFFICE Salt Lake City                  0     0    0.00

2022‐06‐01 TWIN FALLS FIELD Salt Lake City                   0     0    0.00
           ERO
2022‐07‐01 ST. GEORGE OFFICE Salt Lake City                  0     0    0.00

2022‐11‐01 OGDEN QUICK          Salt Lake City               0     0    0.00
           RESPONSE TEAM
2022‐07‐01 OGDEN QUICK          Salt Lake City               0     0    0.00
           RESPONSE TEAM
2022‐08‐01 LAS VEGAS HSI, ERO   Salt Lake City               2     6    3.39
           AND OPLA
2023‐03‐01 WEST VALLEY CITY     Salt Lake City               0     0    0.00
           OFFICE
2023‐03‐01 OGDEN QUICK          Salt Lake City               0     0    0.00
           RESPONSE TEAM
2022‐10‐01 WEST VALLEY CITY     Salt Lake City               0     0    0.00
           OFFICE
2023‐04‐01 PROVO OFFICE         Salt Lake City               0     0    0.00

2022‐11‐01 RENO OFFICE          Salt Lake City               0     0    0.00

2022‐10‐01 PROVO OFFICE         Salt Lake City               2     8   16.67




                                                 SAR0183
   Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 191 of 280


2022‐12‐01 PROVO OFFICE         Salt Lake City              0    0    0.00

2022‐07‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2022‐06‐01 PROVO OFFICE         Salt Lake City             15   40   79.55

2023‐03‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2023‐01‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2023‐01‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐07‐01 WEST VALLEY CITY     Salt Lake City             13   45   12.89
           OFFICE
2022‐09‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2022‐09‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2022‐05‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2022‐05‐01 IDAHO FALLS ICE      Salt Lake City              0    0    0.00
           OFFICE
2023‐02‐01 HELENA FIELD         Salt Lake City              0    0    0.00
           OFFICE
2022‐10‐01 BOISE FIELD OFFICE   Salt Lake City              0    0    0.00

2022‐10‐01 LAS VEGAS HSI, ERO Salt Lake City                0    0    0.00
           AND OPLA
2023‐01‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2023‐02‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2022‐06‐01 BOISE FIELD OFFICE Salt Lake City                0    0    0.00

2022‐09‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2022‐10‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2022‐05‐01 TWIN FALLS FIELD Salt Lake City                  0    0    0.00
           ERO
2022‐06‐01 ST. GEORGE OFFICE Salt Lake City                 0    0    0.00

2023‐02‐01 BOISE FIELD OFFICE Salt Lake City                0    0    0.00

2023‐02‐01 LAS VEGAS HSI, ERO Salt Lake City                0    0    0.00
           AND OPLA




                                                 SAR0184
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 192 of 280


2022‐06‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐06‐01 LAS VEGAS HSI, ERO   Salt Lake City              2    5    3.32
           AND OPLA
2023‐02‐01 WEST VALLEY CITY     Salt Lake City              0    0    0.00
           OFFICE
2023‐02‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐09‐01 WEST VALLEY CITY     Salt Lake City              0    0    0.00
           OFFICE
2022‐10‐01 OGDEN QUICK          Salt Lake City              0    0    0.00
           RESPONSE TEAM
2022‐11‐01 PROVO OFFICE         Salt Lake City              0    0    0.00

2022‐06‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2022‐05‐01 PROVO OFFICE         Salt Lake City             16   37   86.25

2022‐04‐01 OGDEN QUICK          Salt Lake City             10   19   18.46
           RESPONSE TEAM
2023‐02‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2023‐03‐01 PROVO OFFICE         Salt Lake City              0    0    0.00

2022‐10‐01 RENO OFFICE          Salt Lake City              0    0    0.00

2022‐09‐01 PROVO OFFICE         Salt Lake City             14   43   88.75

2023‐02‐01 LATHAM OFFICE        Buffalo                    0    0     0.00
2022‐06‐01 SYRACUSE OFFICE      Buffalo                    0    0     0.00
2023‐01‐01 CHAMPLAIN ERO        Buffalo                    0    0     0.00
           OFFICE
2022‐09‐01 LATHAM OFFICE        Buffalo                    0    0     0.00
2022‐11‐01 BUFFALO FIELD        Buffalo                    0    0     0.00
           OFFICE CO‐LO SITE

2022‐09‐01 CHAMPLAIN ERO        Buffalo                    0    0     0.00
           OFFICE
2022‐05‐01 LATHAM OFFICE        Buffalo                    0    0     0.00
2023‐02‐01 SYRACUSE OFFICE      Buffalo                    0    0     0.00
2022‐07‐01 BUFFALO FIELD        Buffalo                    0    0     0.00
           OFFICE CO‐LO SITE

2023‐02‐01 BUFFALO FIELD        Buffalo                    0    0     0.00
           OFFICE CO‐LO SITE




                                                 SAR0185
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 193 of 280


2022‐05‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐10‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐10‐01 LATHAM OFFICE       Buffalo              1          2     4.17
2022‐12‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐08‐01 LATHAM OFFICE       Buffalo              0          0     0.00
2022‐10‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2022‐08‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2023‐01‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐04‐01 BUFFALO FIELD       Buffalo             16         26     6.05
           OFFICE CO‐LO SITE

2022‐06‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2023‐01‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2022‐04‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐09‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2023‐04‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2023‐01‐01 LATHAM OFFICE       Buffalo              0          0     0.00
2022‐05‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐04‐01 LATHAM OFFICE       Buffalo              1          1     2.42
2022‐09‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2023‐04‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2022‐07‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐12‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐05‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2023‐04‐01 LATHAM OFFICE       Buffalo              0          0     0.00
2022‐08‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2023‐03‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐12‐01 LATHAM OFFICE       Buffalo              0          0     0.00



                                         SAR0186
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 194 of 280


2022‐11‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐07‐01 LATHAM OFFICE       Buffalo              0          0     0.00
2023‐04‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐04‐01 SYRACUSE OFFICE     Buffalo             15         22   100.00
2023‐03‐01 LATHAM OFFICE       Buffalo              0          0     0.00
2022‐07‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2023‐02‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐11‐01 LATHAM OFFICE       Buffalo             0          0      0.00
2022‐12‐01 BUFFALO FIELD       Buffalo             0          0      0.00
           OFFICE CO‐LO SITE

2022‐10‐01 CHAMPLAIN ERO       Buffalo             0          0      0.00
           OFFICE
2022‐06‐01 LATHAM OFFICE       Buffalo             0          0      0.00
2023‐03‐01 SYRACUSE OFFICE     Buffalo             0          0      0.00
2022‐08‐01 BUFFALO FIELD       Buffalo             0          0      0.00
           OFFICE CO‐LO SITE

2023‐03‐01 BUFFALO FIELD       Buffalo              0          0     0.00
           OFFICE CO‐LO SITE

2022‐06‐01 CHAMPLAIN ERO       Buffalo              0          0     0.00
           OFFICE
2022‐11‐01 SYRACUSE OFFICE     Buffalo              0          0     0.00
2022‐07‐01 DALLAS FIELD        Dallas              70        159    14.54
           OFFICE
2023‐03‐01 DALLAS FIELD        Dallas               1          1     0.07
           OFFICE
2022‐11‐01 DALLAS FIELD        Dallas              1          3      0.25
           OFFICE
2023‐04‐01 DALLAS FIELD        Dallas              0          0      0.00
           OFFICE
2022‐09‐01 OKLAHOMA CITY ‐     Dallas              0          0      0.00
           ERO
2022‐05‐01 OKLAHOMA CITY ‐     Dallas               0          0     0.00
           ERO
2023‐01‐01 OKLAHOMA CITY ‐     Dallas               0          0     0.00
           ERO
2023‐02‐01 DALLAS FIELD        Dallas               4          4     0.33
           OFFICE
2022‐10‐01 DALLAS FIELD        Dallas               4          8     0.67
           OFFICE
2022‐12‐01 OKLAHOMA CITY ‐     Dallas              0          0      0.00
           ERO




                                         SAR0187
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 195 of 280


2022‐08‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2023‐03‐01 OKLAHOMA CITY ‐   Dallas                  1         1     0.64
           ERO
2023‐01‐01 DALLAS FIELD      Dallas                  3         3     0.25
           OFFICE
2022‐09‐01 DALLAS FIELD      Dallas                  5        10     0.69
           OFFICE
2023‐04‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2022‐11‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2022‐06‐01 DALLAS FIELD      Dallas                168       379   100.00
           OFFICE
2022‐07‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2022‐04‐01 DALLAS FIELD      Dallas                143       357   100.00
           OFFICE
2022‐05‐01 DALLAS FIELD      Dallas                169       439   100.00
           OFFICE
2022‐04‐01 OKLAHOMA CITY ‐   Dallas                 14        37    10.05
           ERO
2022‐08‐01 DALLAS FIELD      Dallas                  5         8     0.58
           OFFICE
2022‐12‐01 DALLAS FIELD      Dallas                  2         4     0.28
           OFFICE
2022‐10‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2022‐06‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2023‐02‐01 OKLAHOMA CITY ‐   Dallas                  0         0     0.00
           ERO
2022‐11‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE
2022‐05‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE
2023‐03‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE
2023‐02‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE
2022‐10‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE
2022‐09‐01 HARLINGEN FIELD   Harlingen               1         3     1.37
           OFFICE
2023‐01‐01 HARLINGEN FIELD   Harlingen               0         0     0.00
           OFFICE




                                         SAR0188
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 196 of 280


2022‐08‐01 HARLINGEN FIELD   Harlingen             0           0     0.00
           OFFICE
2022‐06‐01 HARLINGEN FIELD   Harlingen             1           1     0.46
           OFFICE
2022‐12‐01 HARLINGEN FIELD   Harlingen             0           0     0.00
           OFFICE
2022‐07‐01 HARLINGEN FIELD   Harlingen             0           0     0.00
           OFFICE
2023‐04‐01 HARLINGEN FIELD   Harlingen             0           0     0.00
           OFFICE
2022‐04‐01 HARLINGEN FIELD   Harlingen             8          18     3.95
           OFFICE
2023‐04‐01 TUCSON OFFICE     Phoenix               0          0      0.00
2022‐12‐01 TUCSON OFFICE     Phoenix               0          0      0.00
2022‐07‐01 TUCSON OFFICE     Phoenix               0          0      0.00
2023‐02‐01 PHOENIX FIELD     Phoenix               0          0      0.00
           OFFICE
2022‐10‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2022‐05‐01 PHOENIX FIELD     Phoenix               1           1     0.13
           OFFICE
2023‐03‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐11‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐06‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2023‐01‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2022‐08‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2022‐04‐01 PHOENIX FIELD     Phoenix               9          19     0.70
           OFFICE
2022‐04‐01 TUCSON OFFICE     Phoenix               2           4     6.67
2023‐02‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐10‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐05‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐07‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2023‐04‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2022‐12‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE
2022‐09‐01 PHOENIX FIELD     Phoenix               1           1     0.13
           OFFICE
2022‐09‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2023‐01‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2022‐08‐01 TUCSON OFFICE     Phoenix               0           0     0.00
2023‐03‐01 PHOENIX FIELD     Phoenix               0           0     0.00
           OFFICE



                                         SAR0189
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 197 of 280


2022‐11‐01 PHOENIX FIELD       Phoenix              0          0     0.00
           OFFICE
2022‐06‐01 PHOENIX FIELD       Phoenix              1          2     0.18
           OFFICE
2022‐04‐01 WESTERVILLE CO‐LO   Detroit             21         55    84.87
           OFFICE
2022‐08‐01 WESTERVILLE CO‐LO   Detroit             24         72    48.78
           OFFICE
2022‐06‐01 BLUE ASH BUILDING   Detroit             12         29    42.86

2022‐06‐01 CLEVELAND OFFICE Detroit                 1          3     3.57

2023‐01‐01 BLUE ASH BUILDING Detroit                0          0     0.00

2022‐08‐01 BLUE ASH BUILDING Detroit                0          0     0.00

2022‐09‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2022‐11‐01 WESTERVILLE CO‐LO   Detroit              0          0     0.00
           OFFICE
2023‐02‐01 DETROIT FIELD       Detroit              0          0     0.00
           OFFICE
2022‐10‐01 DETROIT FIELD       Detroit              0          0     0.00
           OFFICE
2023‐01‐01 CLEVELAND OFFICE    Detroit             0           0     0.00

2023‐04‐01 WESTERVILLE CO‐LO   Detroit              0          0     0.00
           OFFICE
2023‐01‐01 WESTERVILLE CO‐LO   Detroit              1          1     1.89
           OFFICE
2022‐07‐01 WESTERVILLE CO‐LO   Detroit             26         64    74.44
           OFFICE
2023‐04‐01 BLUE ASH BUILDING   Detroit              0          0     0.00

2022‐05‐01 CLEVELAND OFFICE Detroit                1          3      3.85

2022‐11‐01 BLUE ASH BUILDING Detroit                0          0     0.00

2022‐06‐01 DETROIT FIELD     Detroit               7          23     0.29
           OFFICE
2022‐05‐01 BLUE ASH BUILDING Detroit               21         62    86.72

2023‐01‐01 DETROIT FIELD    Detroit                 0          0     0.00
           OFFICE
2023‐04‐01 CLEVELAND OFFICE Detroit                 0          0     0.00




                                         SAR0190
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 198 of 280


2022‐09‐01 DETROIT FIELD    Detroit                 0          0     0.00
           OFFICE
2022‐12‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2023‐03‐01 WESTERVILLE CO‐LO Detroit                0          0     0.00
           OFFICE
2022‐08‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2022‐10‐01 WESTERVILLE CO‐LO Detroit                1          3     2.04
           OFFICE
2022‐06‐01 WESTERVILLE CO‐LO Detroit               28         86    52.94
           OFFICE
2022‐10‐01 BLUE ASH BUILDING Detroit                0          0     0.00

2022‐12‐01 BLUE ASH BUILDING Detroit                1          4     4.38

2022‐05‐01 DETROIT FIELD     Detroit               25         68     3.24
           OFFICE
2022‐04‐01 BLUE ASH BUILDING Detroit               19         57    84.52

2023‐03‐01 BLUE ASH BUILDING Detroit                0          0     0.00

2022‐04‐01 CLEVELAND OFFICE Detroit                 5          8    15.85

2023‐03‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2022‐08‐01 DETROIT FIELD    Detroit                 0          0     0.00
           OFFICE
2022‐11‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2023‐02‐01 WESTERVILLE CO‐LO Detroit                0          0     0.00
           OFFICE
2022‐07‐01 CLEVELAND OFFICE Detroit                 0          0     0.00

2023‐04‐01 DETROIT FIELD       Detroit              0          0     0.00
           OFFICE
2022‐12‐01 DETROIT FIELD       Detroit              0          0     0.00
           OFFICE
2022‐05‐01 WESTERVILLE CO‐LO   Detroit             26         67    68.60
           OFFICE
2022‐09‐01 WESTERVILLE CO‐LO   Detroit              4          8     7.96
           OFFICE
2022‐07‐01 BLUE ASH BUILDING   Detroit              1          1     3.33

2022‐04‐01 DETROIT FIELD       Detroit             28         61     4.16
           OFFICE




                                         SAR0191
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 199 of 280


2023‐02‐01 BLUE ASH BUILDING Detroit                     0     0     0.00

2022‐09‐01 BLUE ASH BUILDING Detroit                     0     0     0.00

2022‐10‐01 CLEVELAND OFFICE Detroit                     0      0     0.00

2022‐12‐01 WESTERVILLE CO‐LO   Detroit                   0     0     0.00
           OFFICE
2023‐03‐01 DETROIT FIELD       Detroit                  0      0     0.00
           OFFICE
2022‐11‐01 DETROIT FIELD       Detroit                  0      0     0.00
           OFFICE
2023‐02‐01 CLEVELAND OFFICE    Detroit                  0     0      0.00

2022‐07‐01 DETROIT FIELD    Detroit                     0     0      0.00
           OFFICE
2023‐03‐01 SANTA ANA OFFICE Los Angeles                 0      0     0.00

2022‐04‐01 SANTA ANA OFFICE Los Angeles                 6     15     2.39

2023‐01‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐11‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐07‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2023‐03‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2022‐11‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2023‐01‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐05‐01 LOS ANGELES FIELD   Los Angeles             127   351   100.00
           OFFICE
2022‐09‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐05‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐07‐01 LOS ANGELES FIELD   Los Angeles               1     3     0.22
           OFFICE
2023‐03‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐11‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐07‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER



                                             SAR0192
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 200 of 280


2022‐09‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2023‐04‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2023‐02‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐05‐01 SAN BERNARDINO      Los Angeles               1     3     0.24
           OFFICE

2022‐10‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐06‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2023‐02‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2022‐09‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2022‐08‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐06‐01 LOS ANGELES FIELD   Los Angeles             113   314    48.26
           OFFICE
2023‐04‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐12‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2023‐02‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐10‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐12‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐06‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐08‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐04‐01 SAN BERNARDINO      Los Angeles              10    20     2.39
           OFFICE

2022‐09‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2023‐03‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE




                                             SAR0193
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 201 of 280


2023‐01‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐04‐01 CORTEZ CIRCLE       Los Angeles               2     5     3.03
           OFFICE
2023‐01‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2023‐03‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐11‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐07‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐10‐01 LOS ANGELES FIELD   Los Angeles               1     2     0.17
           OFFICE
2022‐09‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐11‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐05‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐07‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2023‐01‐01 ERO PROCESSING   Los Angeles                  0     0     0.00
           CENTER
2023‐04‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐05‐01 SANTA ANA OFFICE Los Angeles                  1     3     0.34

2023‐02‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐12‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2022‐08‐01 SANTA ANA OFFICE Los Angeles                  0     0     0.00

2023‐04‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2022‐12‐01 LOS ANGELES FIELD   Los Angeles               0     0     0.00
           OFFICE
2023‐02‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐04‐01 LOS ANGELES FIELD   Los Angeles             102   256   100.00
           OFFICE
2022‐10‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE



                                             SAR0194
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 202 of 280


2022‐06‐01 CORTEZ CIRCLE       Los Angeles               0     0     0.00
           OFFICE
2022‐08‐01 LOS ANGELES FIELD   Los Angeles               2     3     0.24
           OFFICE
2022‐04‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐06‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2023‐04‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐12‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐08‐01 ERO PROCESSING      Los Angeles               0     0     0.00
           CENTER
2022‐10‐01 SAN BERNARDINO      Los Angeles               0     0     0.00
           OFFICE

2022‐04‐01 DOVER OFFICE        Philadelphia             12    29    75.58

2022‐11‐01 CHARLESTON FIELD Philadelphia                 0     0     0.00
           OFFICE
2022‐07‐01 CHARLESTON FIELD Philadelphia                 0     0     0.00
           OFFICE
2022‐12‐01 DOVER OFFICE     Philadelphia                16    35    73.75

2022‐08‐01 DOVER OFFICE        Philadelphia             16    36    93.75

2023‐03‐01 DOVER OFFICE        Philadelphia              0     0     0.00

2023‐03‐01 CHARLESTON FIELD Philadelphia                 0     0     0.00
           OFFICE
2022‐09‐01 PHILADELPHIA     Philadelphia                 0     0     0.00
           OFFICE N 8TH ST.
2022‐06‐01 PIKE COUNTY      Philadelphia                 0     0     0.00
           PRISON DETENTION
           CENTER

2022‐11‐01 PITTSBURGH SUB      Philadelphia              0     0     0.00
           OFFICE
2022‐09‐01 YORK ERO FIELD      Philadelphia              0     0     0.00
           OFFICE
2022‐07‐01 PITTSBURGH SUB      Philadelphia              0     0     0.00
           OFFICE
2022‐05‐01 YORK ERO FIELD      Philadelphia              0    0      0.00
           OFFICE




                                              SAR0195
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 203 of 280


2023‐02‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐03‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐10‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐04‐01 PITTSBURGH SUB     Philadelphia              0      0     0.00
           OFFICE
2023‐01‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE
2022‐04‐01 PITTSBURGH SUB     Philadelphia             5      11    20.00
           OFFICE
2022‐07‐01 PHILADELPHIA       Philadelphia             1       2     1.17
           OFFICE N 8TH ST.
2022‐10‐01 CHARLESTON FIELD   Philadelphia             0       0     0.00
           OFFICE
2022‐06‐01 CHARLESTON FIELD   Philadelphia              0      0     0.00
           OFFICE
2022‐11‐01 DOVER OFFICE       Philadelphia             15     37    72.50

2022‐07‐01 DOVER OFFICE       Philadelphia             14     27    95.83

2023‐02‐01 CHARLESTON FIELD Philadelphia                0      0     0.00
           OFFICE
2022‐05‐01 PITTSBURGH SUB   Philadelphia                0      0     0.00
           OFFICE
2023‐01‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐04‐01 YORK ERO FIELD   Philadelphia                0      0     0.00
           OFFICE
2022‐12‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐09‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐03‐01 PITTSBURGH SUB     Philadelphia              0      0     0.00
           OFFICE
2022‐12‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE




                                             SAR0196
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 204 of 280


2023‐02‐01 DOVER OFFICE       Philadelphia              0     0      0.00

2022‐08‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐05‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2022‐10‐01 PITTSBURGH SUB   Philadelphia                0     0      0.00
           OFFICE
2022‐08‐01 YORK ERO FIELD   Philadelphia               0      0      0.00
           OFFICE
2022‐04‐01 PIKE COUNTY      Philadelphia               1      2      0.60
           PRISON DETENTION
           CENTER

2022‐06‐01 PHILADELPHIA       Philadelphia             4      4      2.96
           OFFICE N 8TH ST.
2022‐04‐01 YORK ERO FIELD     Philadelphia             2      7      6.10
           OFFICE
2022‐10‐01 DOVER OFFICE       Philadelphia             12     32    94.44

2022‐06‐01 DOVER OFFICE       Philadelphia             16     38    96.88

2023‐01‐01 CHARLESTON FIELD   Philadelphia              0      0     0.00
           OFFICE
2022‐09‐01 CHARLESTON FIELD   Philadelphia              0      0     0.00
           OFFICE
2022‐05‐01 CHARLESTON FIELD   Philadelphia              2      6     1.18
           OFFICE
2022‐12‐01 PIKE COUNTY        Philadelphia              0      0     0.00
           PRISON DETENTION
           CENTER

2023‐03‐01 YORK ERO FIELD   Philadelphia                0      0     0.00
           OFFICE
2022‐11‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐08‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐02‐01 PITTSBURGH SUB     Philadelphia              0      0     0.00
           OFFICE
2022‐11‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE




                                             SAR0197
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 205 of 280


2022‐09‐01 PITTSBURGH SUB   Philadelphia                0      0     0.00
           OFFICE
2022‐07‐01 YORK ERO FIELD   Philadelphia                0      0     0.00
           OFFICE
2023‐04‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐02‐01 PHILADELPHIA       Philadelphia              1      3     1.50
           OFFICE N 8TH ST.
2022‐05‐01 PHILADELPHIA       Philadelphia              2      7     3.33
           OFFICE N 8TH ST.
2023‐01‐01 PITTSBURGH SUB     Philadelphia              1      1     1.92
           OFFICE
2022‐05‐01 DOVER OFFICE       Philadelphia             14     37    68.75

2022‐12‐01 CHARLESTON FIELD Philadelphia                0      0     0.00
           OFFICE
2022‐08‐01 CHARLESTON FIELD Philadelphia                0      0     0.00
           OFFICE
2023‐01‐01 DOVER OFFICE     Philadelphia                9     26    50.96

2022‐04‐01 CHARLESTON FIELD Philadelphia                1      2     0.49
           OFFICE
2022‐09‐01 DOVER OFFICE     Philadelphia               14     34    92.86

2023‐04‐01 DOVER OFFICE       Philadelphia              0      0     0.00

2023‐04‐01 CHARLESTON FIELD Philadelphia                0      0     0.00
           OFFICE
2022‐10‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐07‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2022‐12‐01 PITTSBURGH SUB     Philadelphia              0      0     0.00
           OFFICE
2022‐10‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE
2022‐08‐01 PITTSBURGH SUB     Philadelphia              0      0     0.00
           OFFICE
2022‐06‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE




                                             SAR0198
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 206 of 280


2023‐03‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐04‐01 PHILADELPHIA     Philadelphia                0      0     0.00
           OFFICE N 8TH ST.
2022‐11‐01 PIKE COUNTY      Philadelphia                0      0     0.00
           PRISON DETENTION
           CENTER

2023‐02‐01 YORK ERO FIELD     Philadelphia              0      0     0.00
           OFFICE
2022‐04‐01 PHILADELPHIA       Philadelphia             48    121    71.01
           OFFICE N 8TH ST.
2022‐06‐01 PITTSBURGH SUB     Philadelphia             1       2     2.68
           OFFICE
2023‐01‐01 PHILADELPHIA       Philadelphia              2      2     1.56
           OFFICE N 8TH ST.
2022‐11‐01 WASHINGTON         Washington               2       3     2.18
           FIELD OFFICE
2022‐04‐01 WASHINGTON         Washington               56    137    96.44
           FIELD OFFICE
2023‐04‐01 WASHINGTON         Washington                0      0     0.00
           FIELD OFFICE
2022‐12‐01 WASHINGTON         Washington                0      0     0.00
           FIELD OFFICE
2023‐03‐01 NORFOLK ASAC       Washington               0       0     0.00
           OFFICE
2022‐11‐01 NORFOLK ASAC       Washington               0      0      0.00
           OFFICE
2022‐07‐01 NORFOLK ASAC       Washington               0      0      0.00
           OFFICE
2023‐01‐01 RICHMOND VA, HQ    Washington               0      0      0.00
           COOP OFFICE
2022‐05‐01 NORFOLK ASAC       Washington               1      1      0.98
           OFFICE
2022‐09‐01 RICHMOND VA, HQ    Washington               0      0      0.00
           COOP OFFICE
2022‐05‐01 RICHMOND VA, HQ    Washington                0      0     0.00
           COOP OFFICE
2022‐09‐01 WASHINGTON         Washington                1      2     1.42
           FIELD OFFICE
2023‐03‐01 WASHINGTON         Washington               0       0     0.00
           FIELD OFFICE
2022‐10‐01 WASHINGTON         Washington               0       0     0.00
           FIELD OFFICE




                                             SAR0199
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 207 of 280


2023‐02‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2022‐10‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2022‐08‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2023‐04‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐12‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐04‐01 NORFOLK ASAC      Washington              5        11    12.12
           OFFICE
2022‐06‐01 WASHINGTON        Washington             41       118    61.39
           FIELD OFFICE
2022‐08‐01 WASHINGTON        Washington             0          0     0.00
           FIELD OFFICE
2023‐02‐01 WASHINGTON        Washington             0         0      0.00
           FIELD OFFICE
2022‐09‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2023‐01‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2023‐03‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐11‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐07‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐05‐01 WASHINGTON        Washington             62       155    83.78
           FIELD OFFICE
2023‐01‐01 WASHINGTON        Washington              0         0     0.00
           FIELD OFFICE
2022‐07‐01 WASHINGTON        Washington              0         0     0.00
           FIELD OFFICE
2023‐04‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2022‐12‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2022‐08‐01 NORFOLK ASAC      Washington              0         0     0.00
           OFFICE
2023‐02‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE
2022‐06‐01 NORFOLK ASAC      Washington              1         2     1.47
           OFFICE
2022‐10‐01 RICHMOND VA, HQ   Washington              0         0     0.00
           COOP OFFICE




                                          SAR0200
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 208 of 280


2022‐04‐01 RICHMOND VA, HQ Washington              17         29    16.67
           COOP OFFICE
2022‐06‐01 RICHMOND VA, HQ Washington               0          0     0.00
           COOP OFFICE
2022‐07‐01 SAN ANTONIO ERO San Antonio              1          3     1.48
           RESIDENT OFFICE

2022‐04‐01 SAN ANTONIO ERO San Antonio             84        181   100.00
           RESIDENT OFFICE

2023‐04‐01 SAN ANTONIO ERO San Antonio             0           0     0.00
           RESIDENT OFFICE

2022‐12‐01 SAN ANTONIO ERO San Antonio             0          0      0.00
           RESIDENT OFFICE

2022‐06‐01 SAN ANTONIO ERO San Antonio              2          3     1.41
           RESIDENT OFFICE

2022‐11‐01 SAN ANTONIO ERO San Antonio              0          0     0.00
           RESIDENT OFFICE

2023‐03‐01 SAN ANTONIO ERO San Antonio              0          0     0.00
           RESIDENT OFFICE

2022‐05‐01 SAN ANTONIO ERO San Antonio             71        128    54.24
           RESIDENT OFFICE

2023‐02‐01 SAN ANTONIO ERO San Antonio              0          0     0.00
           RESIDENT OFFICE

2022‐10‐01 SAN ANTONIO ERO San Antonio             0           0     0.00
           RESIDENT OFFICE

2022‐09‐01 SAN ANTONIO ERO San Antonio              2          5     2.33
           RESIDENT OFFICE

2023‐01‐01 SAN ANTONIO ERO San Antonio              0          0     0.00
           RESIDENT OFFICE

2022‐08‐01 SAN ANTONIO ERO San Antonio              0          0     0.00
           RESIDENT OFFICE

2022‐11‐01 IMPERIAL OFFICE   San Diego              0          0     0.00
2022‐11‐01 SAN DIEGO         San Diego              0          0     0.00
           DISTRICT FIELD
           OFFICE



                                         SAR0201
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 209 of 280


2022‐07‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2022‐06‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐04‐01 SAN DIEGO         San Diego             3          5      0.20
           DISTRICT FIELD
           OFFICE
2023‐03‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐03‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐06‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐02‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐02‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐10‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2022‐10‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐05‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐01‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐01‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐09‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2022‐08‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐09‐01 SAN DIEGO         San Diego             1          2      0.06
           DISTRICT FIELD
           OFFICE
2022‐12‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2022‐12‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐08‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2022‐07‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE
2022‐05‐01 SAN DIEGO         San Diego             3          7      0.19
           DISTRICT FIELD
           OFFICE
2022‐04‐01 IMPERIAL OFFICE   San Diego             0          0      0.00
2023‐04‐01 SAN DIEGO         San Diego             0          0      0.00
           DISTRICT FIELD
           OFFICE



                                         SAR0202
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 210 of 280


2023‐04‐01 IMPERIAL OFFICE   San Diego               0         0     0.00
2023‐02‐01 SAINT PAUL ICE    Saint Paul             18        52    88.89
           OFFICE
2022‐08‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐11‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐10‐01 SAINT PAUL ICE    Saint Paul             22        52    93.75
           OFFICE
2022‐07‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐06‐01 SAINT PAUL ICE    Saint Paul             37       109    95.21
           OFFICE
2023‐04‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐12‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2023‐03‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2023‐02‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2022‐10‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2022‐05‐01 DES MOINES ICE    Saint Paul              1         3     5.56
           OFFICE
2022‐06‐01 CEDAR RAPIDS IA   Saint Paul             0          0     0.00
           RAC OFFICE
2022‐12‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐08‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐11‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2022‐06‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐04‐01 GRAND ISLAND      Saint Paul              6        12     3.80
           ERO/HSI OFFICE
2023‐03‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2022‐04‐01 OMAHA FIELD       Saint Paul             10        17    14.29
           OFFICE
2022‐11‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE



                                          SAR0203
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 211 of 280


2023‐01‐01 RAPID CITY ICE    Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 NORTH PLATTE      Saint Paul              1         4    33.33
           OFFICE
2022‐07‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2022‐12‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2023‐04‐01 SAINT PAUL ICE    Saint Paul             0          0     0.00
           OFFICE
2022‐05‐01 RAPID CITY ICE    Saint Paul             0          0     0.00
           OFFICE
2022‐09‐01 RAPID CITY ICE    Saint Paul             0          0     0.00
           OFFICE
2022‐12‐01 NORTH PLATTE      Saint Paul              1         2     0.59
           OFFICE
2022‐08‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2022‐08‐01 NORTH PLATTE      Saint Paul              1         3     1.84
           OFFICE
2022‐09‐01 SAINT PAUL ICE    Saint Paul             22        56    96.15
           OFFICE
2022‐06‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐05‐01 SAINT PAUL ICE    Saint Paul             36        99    93.04
           OFFICE
2023‐03‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐05‐01 SIOUX CITY ERO    Saint Paul              2         7     8.57
           BUILDING
2022‐11‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2023‐02‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2023‐01‐01 SAINT PAUL ICE    Saint Paul             22        55    95.19
           OFFICE
2022‐07‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐10‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐09‐01 CEDAR RAPIDS IA   Saint Paul             0          0     0.00
           RAC OFFICE
2022‐04‐01 DES MOINES ICE    Saint Paul             6         12    50.00
           OFFICE
2023‐01‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE




                                          SAR0204
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 212 of 280


2022‐07‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐10‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2022‐05‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2023‐03‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐05‐01 GRAND FORKS ERO   Saint Paul              3         7    40.63
           OFFICE
2022‐11‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐07‐01 NORTH PLATTE      Saint Paul              0         0     0.00
           OFFICE
2023‐02‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2022‐10‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2023‐03‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2022‐12‐01 RAPID CITY ICE    Saint Paul              0         0     0.00
           OFFICE
2023‐03‐01 NORTH PLATTE      Saint Paul              2         5     3.03
           OFFICE
2022‐06‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2022‐11‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2022‐04‐01 RAPID CITY ICE    Saint Paul              0        0      0.00
           OFFICE
2022‐08‐01 RAPID CITY ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐11‐01 NORTH PLATTE      Saint Paul              1         2     0.62
           OFFICE
2022‐07‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2022‐05‐01 NORTH PLATTE      Saint Paul              2         6     2.33
           OFFICE
2023‐02‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 RAPID CITY ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐04‐01 SAINT PAUL ICE    Saint Paul             29        81    82.14
           OFFICE
2023‐02‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING




                                          SAR0205
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 213 of 280


2022‐04‐01 SIOUX CITY ERO    Saint Paul              6        10    11.11
           BUILDING
2022‐10‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2023‐01‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐12‐01 SAINT PAUL ICE    Saint Paul             27        58    87.50
           OFFICE
2022‐06‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐09‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐08‐01 SAINT PAUL ICE    Saint Paul             23        71    87.97
           OFFICE
2022‐05‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2022‐05‐01 CEDAR RAPIDS IA   Saint Paul              1         1    25.00
           RAC OFFICE
2022‐12‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2022‐08‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2023‐02‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐04‐01 GRAND FORKS ERO   Saint Paul              3         6    50.00
           OFFICE
2022‐10‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐06‐01 NORTH PLATTE      Saint Paul              0         0     0.00
           OFFICE
2023‐01‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2022‐06‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐09‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2023‐04‐01 OMAHA FIELD       Saint Paul              0         0     0.00
           OFFICE
2022‐10‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE
2022‐10‐01 NORTH PLATTE      Saint Paul              7        11     6.67
           OFFICE
2022‐06‐01 GRAND ISLAND      Saint Paul              0         0     0.00
           ERO/HSI OFFICE




                                          SAR0206
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 214 of 280


2022‐04‐01 NORTH PLATTE      Saint Paul              9        32    20.00
           OFFICE
2023‐01‐01 GRAND FORKS ERO   Saint Paul              0         0     0.00
           OFFICE
2023‐03‐01 RAPID CITY ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐09‐01 GRAND FORKS ERO   Saint Paul              0        0      0.00
           OFFICE
2023‐02‐01 GRAND ISLAND      Saint Paul             0         0      0.00
           ERO/HSI OFFICE
2022‐07‐01 RAPID CITY ICE    Saint Paul             0         0      0.00
           OFFICE
2022‐11‐01 RAPID CITY ICE    Saint Paul             0         0      0.00
           OFFICE
2023‐02‐01 NORTH PLATTE      Saint Paul              1         3     1.94
           OFFICE
2023‐03‐01 SAINT PAUL ICE    Saint Paul             26        56    90.00
           OFFICE
2022‐09‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2022‐12‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐11‐01 SAINT PAUL ICE    Saint Paul             25        55    93.75
           OFFICE
2022‐08‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2022‐07‐01 SAINT PAUL ICE    Saint Paul             33        86    86.86
           OFFICE
2022‐04‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2023‐01‐01 SIOUX CITY ERO    Saint Paul              0         0     0.00
           BUILDING
2023‐04‐01 SIOUX FALLS ICE   Saint Paul              0         0     0.00
           OFFICE
2023‐03‐01 CEDAR RAPIDS IA   Saint Paul              0         0     0.00
           RAC OFFICE
2022‐04‐01 CEDAR RAPIDS IA   Saint Paul              1         1     8.33
           RAC OFFICE
2022‐11‐01 CEDAR RAPIDS IA   Saint Paul              0        0      0.00
           RAC OFFICE
2022‐07‐01 CEDAR RAPIDS IA   Saint Paul             0         0      0.00
           RAC OFFICE
2023‐01‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE
2022‐09‐01 DES MOINES ICE    Saint Paul              0         0     0.00
           OFFICE




                                          SAR0207
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 215 of 280


2022‐12‐01 OMAHA FIELD         Saint Paul              0       0     0.00
           OFFICE
2022‐07‐01 OMAHA FIELD         Saint Paul              0       0     0.00
           OFFICE
2023‐03‐01 OMAHA FIELD         Saint Paul              0       0     0.00
           OFFICE
2022‐05‐01 GRAND ISLAND        Saint Paul              5       7     6.91
           ERO/HSI OFFICE
2023‐04‐01 GRAND FORKS ERO     Saint Paul             0       0      0.00
           OFFICE
2022‐08‐01 OMAHA FIELD         Saint Paul             1       2      2.70
           OFFICE
2022‐12‐01 GRAND FORKS ERO     Saint Paul             0       0      0.00
           OFFICE
2023‐02‐01 RAPID CITY ICE      Saint Paul              0       0     0.00
           OFFICE
2022‐08‐01 GRAND FORKS ERO     Saint Paul              0      0      0.00
           OFFICE
2023‐01‐01 GRAND ISLAND        Saint Paul             0       0      0.00
           ERO/HSI OFFICE
2022‐06‐01 RAPID CITY ICE      Saint Paul             0       0      0.00
           OFFICE
2022‐10‐01 RAPID CITY ICE      Saint Paul             0       0      0.00
           OFFICE
2023‐01‐01 NORTH PLATTE        Saint Paul             1       2      0.62
           OFFICE
2022‐09‐01 GRAND ISLAND        Saint Paul             0       0      0.00
           ERO/HSI OFFICE
2022‐09‐01 NORTH PLATTE        Saint Paul             3       7      4.00
           OFFICE
2022‐12‐01 SCARBOROUGH         Boston                 14      41    32.93
           ERO SUB OFFICE
2022‐10‐01 SAXON BUILDING      Boston                  0       0     0.00
2023‐03‐01 SCARBOROUGH         Boston                  0       0     0.00
           ERO SUB OFFICE
2022‐06‐01 SAXON BUILDING      Boston                  4      14    11.30
2023‐03‐01 SAXON BUILDING      Boston                  0       0     0.00
2023‐04‐01 HARTFORD SUB        Boston                  0       0     0.00
           OFFICE
2022‐06‐01 ST. ALBANS OFFICE   Boston                 0       0      0.00

2023‐03‐01 BURLINGTON MA       Boston                 3       8      0.79
           OFFICE
2023‐01‐01 MANCHESTER ICE      Boston                 0       0      0.00
2022‐08‐01 BURLINGTON MA       Boston                 1       2      0.22
           OFFICE




                                            SAR0208
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 216 of 280


2022‐11‐01 BURLINGTON MA     Boston                0           0     0.00
           OFFICE
2022‐08‐01 MANCHESTER ICE Boston                   0           0     0.00
2022‐10‐01 ST. ALBANS OFFICE Boston                0           0     0.00

2022‐04‐01 BURLINGTON MA     Boston               69         181    20.23
           OFFICE
2023‐02‐01 ST. ALBANS OFFICE Boston                0           0     0.00

2022‐10‐01 HARTFORD SUB        Boston              9          22     6.84
           OFFICE
2022‐06‐01 HARTFORD SUB        Boston              5          11     6.87
           OFFICE
2022‐05‐01 SAXON BUILDING      Boston             26          65    58.37
2023‐02‐01 SAXON BUILDING      Boston              0           0     0.00
2023‐03‐01 HARTFORD SUB        Boston              0           0     0.00
           OFFICE
2022‐05‐01 ST. ALBANS OFFICE   Boston             0           0      0.00

2022‐09‐01 SCARBOROUGH         Boston             19          60    87.30
           ERO SUB OFFICE
2022‐09‐01 SAXON BUILDING      Boston              0           0     0.00
2023‐02‐01 SCARBOROUGH         Boston              0           0     0.00
           ERO SUB OFFICE
2022‐12‐01 MANCHESTER ICE      Boston              0           0     0.00
2022‐07‐01 BURLINGTON MA       Boston              2           6     0.67
           OFFICE
2022‐09‐01 BURLINGTON MA       Boston              0           0     0.00
           OFFICE
2022‐07‐01 MANCHESTER ICE      Boston              0           0     0.00
2022‐09‐01 ST. ALBANS OFFICE   Boston              0           0     0.00

2023‐01‐01 ST. ALBANS OFFICE Boston               0            0     0.00

2023‐04‐01 MANCHESTER ICE      Boston              0           0     0.00
2023‐02‐01 BURLINGTON MA       Boston              1           1     0.16
           OFFICE
2022‐05‐01 HARTFORD SUB        Boston              4           4     5.13
           OFFICE
2023‐01‐01 HARTFORD SUB        Boston              1           2     1.52
           OFFICE
2022‐09‐01 HARTFORD SUB        Boston              9          24     6.28
           OFFICE
2022‐08‐01 SCARBOROUGH         Boston             23          60   100.00
           ERO SUB OFFICE
2023‐02‐01 HARTFORD SUB        Boston              0           0     0.00
           OFFICE



                                        SAR0209
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 217 of 280


2022‐04‐01 ST. ALBANS OFFICE Boston                0           0     0.00

2022‐12‐01 SAXON BUILDING      Boston              1           2     2.37
2022‐08‐01 SAXON BUILDING      Boston              0           0     0.00
2023‐01‐01 SCARBOROUGH         Boston              0           0     0.00
           ERO SUB OFFICE
2022‐04‐01 SAXON BUILDING      Boston             27          60    97.24
2023‐01‐01 SAXON BUILDING      Boston              0           0     0.00
2022‐06‐01 MANCHESTER ICE      Boston              0           0     0.00
2022‐08‐01 ST. ALBANS OFFICE   Boston              0           0     0.00

2023‐04‐01 ST. ALBANS OFFICE Boston               0           0      0.00

2023‐03‐01 MANCHESTER ICE      Boston              0          0      0.00
2023‐01‐01 BURLINGTON MA       Boston              1          5      0.50
           OFFICE
2023‐04‐01 BURLINGTON MA       Boston             0           0      0.00
           OFFICE
2022‐11‐01 MANCHESTER ICE      Boston              0           0     0.00
2022‐12‐01 ST. ALBANS OFFICE   Boston              0           0     0.00

2022‐06‐01 BURLINGTON MA       Boston              1           3     0.28
           OFFICE
2022‐12‐01 HARTFORD SUB        Boston              2           4     2.89
           OFFICE
2022‐10‐01 MANCHESTER ICE      Boston              1           3     1.85
2022‐05‐01 SCARBOROUGH         Boston             21          68   100.00
           ERO SUB OFFICE
2022‐08‐01 HARTFORD SUB        Boston             25          74    27.57
           OFFICE
2022‐04‐01 HARTFORD SUB        Boston             32          72    55.22
           OFFICE
2022‐10‐01 SCARBOROUGH         Boston             20          80   100.00
           ERO SUB OFFICE
2023‐04‐01 SCARBOROUGH         Boston              0           0     0.00
           ERO SUB OFFICE
2022‐07‐01 SAXON BUILDING      Boston              1           2     2.09
2023‐04‐01 SAXON BUILDING      Boston              0           0     0.00
2022‐11‐01 SAXON BUILDING      Boston              0           0     0.00
2022‐07‐01 ST. ALBANS OFFICE   Boston              0           0     0.00

2023‐02‐01 MANCHESTER ICE      Boston              0           0     0.00
2022‐10‐01 BURLINGTON MA       Boston              1           1     0.17
           OFFICE
2022‐12‐01 BURLINGTON MA       Boston              0           0     0.00
           OFFICE
2022‐09‐01 MANCHESTER ICE      Boston              0           0     0.00



                                        SAR0210
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 218 of 280


2022‐11‐01 ST. ALBANS OFFICE Boston               0            0     0.00

2022‐05‐01 BURLINGTON MA     Boston               2            6     0.45
           OFFICE
2022‐05‐01 MANCHESTER ICE Boston                  0            0     0.00
2023‐03‐01 ST. ALBANS OFFICE Boston               0            0     0.00

2022‐11‐01 HARTFORD SUB       Boston              6           11     0.85
           OFFICE
2022‐04‐01 MANCHESTER ICE     Boston              4            9     7.22
2022‐07‐01 HARTFORD SUB       Boston              8           22     5.54
           OFFICE
2022‐04‐01 SCARBOROUGH        Boston             17           61   100.00
           ERO SUB OFFICE
2022‐07‐01 SCARBOROUGH        Boston             20           62   100.00
           ERO SUB OFFICE
2022‐06‐01 SCARBOROUGH        Boston             21           72   100.00
           ERO SUB OFFICE
2022‐11‐01 SCARBOROUGH        Boston             20           74   100.00
           ERO SUB OFFICE
2023‐03‐01 TAMPA SUB OFFICE   Miami              45           81    91.30

2023‐02‐01 SAN PATRICIO     Miami                 0            0     0.00
           OFFICE CENTER
2022‐06‐01 TAMPA SUB OFFICE Miami                37           88    96.15

2022‐11‐01 TAMPA SUB OFFICE Miami                36           76    92.59

2022‐10‐01 SAN PATRICIO     Miami                 0            0     0.00
           OFFICE CENTER
2022‐05‐01 TALLAHASSEE      Miami                32           51    89.39
           OFFICE
           COMMMONWEALT
           H
2022‐07‐01 TAMPA SUB OFFICE Miami                35           76    90.28

2022‐06‐01 SAN PATRICIO     Miami                 0            0     0.00
           OFFICE CENTER
2022‐12‐01 TALLAHASSEE      Miami                 0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2025‐03‐01 JACKSONVILLE CO‐ Miami                 0            0     0.00
           LO OFFICE




                                       SAR0211
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 219 of 280


2022‐08‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2024‐11‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2023‐04‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2022‐07‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐04‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2023‐03‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2024‐08‐01 JACKSONVILLE CO‐   Miami               7           12     4.19
           LO OFFICE
2022‐11‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2023‐05‐01 ORLANDO CO‐LO      Miami             31            85   100.00
           OFFICE
2023‐10‐01 ORLANDO CO‐LO      Miami              29           80   100.00
           OFFICE
2024‐04‐01 JACKSONVILLE CO‐   Miami              26           65   100.00
           LO OFFICE
2022‐10‐01 MIRAMAR ERO        Miami             100          252   100.00
           OFFICE
2023‐04‐01 ORLANDO CO‐LO      Miami              29           74   100.00
           OFFICE
2023‐09‐01 MIRAMAR ERO        Miami             100          251   100.00
           OFFICE
2024‐02‐01 ORLANDO CO‐LO      Miami              31           52   100.00
           OFFICE
2022‐09‐01 MIRAMAR ERO        Miami             105          265   100.00
           OFFICE
2022‐12‐01 JACKSONVILLE CO‐   Miami              25           67   100.00
           LO OFFICE
2023‐03‐01 ORLANDO CO‐LO      Miami             35            82   100.00
           OFFICE
2023‐08‐01 JACKSONVILLE CO‐   Miami              26           64   100.00
           LO OFFICE




                                      SAR0212
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 220 of 280


2024‐01‐01 MIRAMAR ERO        Miami             105          249   100.00
           OFFICE
2022‐11‐01 ORLANDO CO‐LO      Miami              42           93   100.00
           OFFICE
2023‐02‐01 ORLANDO CO‐LO      Miami              31           76   100.00
           OFFICE
2023‐06‐01 ORLANDO CO‐LO      Miami             29            71   100.00
           OFFICE
2023‐12‐01 JACKSONVILLE CO‐   Miami             24            67   100.00
           LO OFFICE
2024‐06‐01 JACKSONVILLE CO‐   Miami             22            46   100.00
           LO OFFICE
2022‐06‐01 ORLANDO CO‐LO      Miami             55           122    88.94
           OFFICE
2022‐05‐01 TAMPA SUB OFFICE   Miami             43            98    97.73

2022‐10‐01 TAMPA SUB OFFICE Miami               33            79    92.59

2022‐09‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2022‐04‐01 TALLAHASSEE        Miami              18           36    77.14
           OFFICE
           COMMMONWEALT
           H
2022‐05‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2023‐02‐01 TAMPA SUB OFFICE   Miami              34           68    89.47

2023‐01‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2025‐02‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2022‐07‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2024‐10‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2023‐03‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2022‐11‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H




                                      SAR0213
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 221 of 280


2023‐02‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐10‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐04‐01 JACKSONVILLE CO‐   Miami              21           52   100.00
           LO OFFICE
2023‐09‐01 JACKSONVILLE CO‐   Miami              24           49   100.00
           LO OFFICE
2024‐02‐01 MIRAMAR ERO        Miami             100          231   100.00
           OFFICE
2022‐09‐01 JACKSONVILLE CO‐   Miami              24           67   100.00
           LO OFFICE
2023‐03‐01 MIRAMAR ERO        Miami             115          268   100.00
           OFFICE
2023‐07‐01 ORLANDO CO‐LO      Miami              26           64   100.00
           OFFICE
2024‐01‐01 JACKSONVILLE CO‐   Miami             24            52   100.00
           LO OFFICE
2022‐06‐01 MIRAMAR ERO        Miami             109          306   100.00
           OFFICE
2022‐11‐01 MIRAMAR ERO        Miami              98          242   100.00
           OFFICE
2023‐02‐01 MIRAMAR ERO        Miami              95          226   100.00
           OFFICE
2022‐09‐01 ORLANDO CO‐LO      Miami              45           99    86.19
           OFFICE
2023‐06‐01 MIRAMAR ERO        Miami             104          252   100.00
           OFFICE
2023‐11‐01 ORLANDO CO‐LO      Miami              28           57   100.00
           OFFICE
2024‐05‐01 JACKSONVILLE CO‐   Miami              26           57   100.00
           LO OFFICE
2023‐01‐01 ORLANDO CO‐LO      Miami              44           95   100.00
           OFFICE
2022‐05‐01 ORLANDO CO‐LO      Miami              48          106    86.11
           OFFICE
2023‐05‐01 MIRAMAR ERO        Miami             111          248   100.00
           OFFICE
2023‐10‐01 MIRAMAR ERO        Miami             105          233   100.00
           OFFICE
2024‐03‐01 ORLANDO CO‐LO      Miami              27           48   100.00
           OFFICE
2022‐07‐01 MIRAMAR ERO        Miami             100          272   100.00
           OFFICE




                                      SAR0214
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 222 of 280


2022‐10‐01 JACKSONVILLE CO‐   Miami              24           58   100.00
           LO OFFICE
2023‐04‐01 MIRAMAR ERO        Miami             100          213   100.00
           OFFICE
2022‐04‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2023‐04‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2023‐01‐01 TAMPA SUB OFFICE   Miami              42           75    93.52

2022‐12‐01 SAN PATRICIO     Miami                 0            0     0.00
           OFFICE CENTER
2022‐04‐01 TAMPA SUB OFFICE Miami                40           93    94.74

2022‐09‐01 TAMPA SUB OFFICE Miami                38           80    91.23

2022‐08‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2024‐09‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2023‐02‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2022‐10‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2025‐01‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2023‐01‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐09‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐04‐01 MIRAMAR ERO        Miami             101          231   100.00
           OFFICE
2022‐06‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐05‐01 JACKSONVILLE CO‐   Miami              33           90   100.00
           LO OFFICE
2023‐07‐01 MIRAMAR ERO        Miami             100          227   100.00
           OFFICE
2023‐12‐01 ORLANDO CO‐LO      Miami              21           48   100.00
           OFFICE



                                      SAR0215
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 223 of 280


2022‐08‐01 MIRAMAR ERO        Miami             115          311   100.00
           OFFICE
2022‐11‐01 JACKSONVILLE CO‐   Miami              24           60   100.00
           LO OFFICE
2023‐02‐01 JACKSONVILLE CO‐   Miami              22           65   100.00
           LO OFFICE
2022‐08‐01 ORLANDO CO‐LO      Miami              51          109    98.75
           OFFICE
2023‐06‐01 JACKSONVILLE CO‐   Miami              24           50   100.00
           LO OFFICE
2023‐11‐01 MIRAMAR ERO        Miami             105          283   100.00
           OFFICE
2024‐04‐01 ORLANDO CO‐LO      Miami               8           12   100.00
           OFFICE
2023‐01‐01 MIRAMAR ERO        Miami             100          231   100.00
           OFFICE
2022‐04‐01 ORLANDO CO‐LO      Miami             40            95    97.04
           OFFICE
2023‐05‐01 JACKSONVILLE CO‐   Miami              26           61   100.00
           LO OFFICE
2023‐10‐01 JACKSONVILLE CO‐   Miami              24           66   100.00
           LO OFFICE
2024‐03‐01 MIRAMAR ERO        Miami             106          221   100.00
           OFFICE
2022‐07‐01 JACKSONVILLE CO‐   Miami              24           69   100.00
           LO OFFICE
2022‐12‐01 ORLANDO CO‐LO      Miami              46           94   100.00
           OFFICE
2023‐04‐01 JACKSONVILLE CO‐   Miami              24           53   100.00
           LO OFFICE
2023‐08‐01 ORLANDO CO‐LO      Miami              36           90   100.00
           OFFICE
2024‐02‐01 JACKSONVILLE CO‐   Miami              22           49   100.00
           LO OFFICE
2023‐03‐01 JACKSONVILLE CO‐   Miami              30           73   100.00
           LO OFFICE
2023‐04‐01 TAMPA SUB OFFICE   Miami               7           15    83.33

2023‐03‐01 SAN PATRICIO     Miami                 0            0     0.00
           OFFICE CENTER
2022‐12‐01 TAMPA SUB OFFICE Miami                39           81    92.98

2022‐11‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER




                                      SAR0216
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 224 of 280


2022‐06‐01 TALLAHASSEE      Miami                 8           15    25.56
           OFFICE
           COMMMONWEALT
           H
2022‐08‐01 TAMPA SUB OFFICE Miami                42           89    94.93

2022‐07‐01 SAN PATRICIO       Miami               0            0     0.00
           OFFICE CENTER
2023‐01‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2025‐04‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2022‐09‐01 TALLAHASSEE        Miami               0            0     0.00
           OFFICE
           COMMMONWEALT
           H
2024‐12‐01 JACKSONVILLE CO‐   Miami               0            0     0.00
           LO OFFICE
2022‐08‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐05‐01 MIRAMAR ERO        Miami             115          310   100.00
           OFFICE
2022‐05‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2023‐04‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐12‐01 DEPORTATION        Miami               0            0     0.00
           PROCESSING
           CENTER
2022‐06‐01 JACKSONVILLE CO‐   Miami              25           70   100.00
           LO OFFICE
2023‐11‐01 JACKSONVILLE CO‐   Miami              26           48   100.00
           LO OFFICE
2024‐04‐01 MIRAMAR ERO        Miami              25           46   100.00
           OFFICE
2022‐10‐01 ORLANDO CO‐LO      Miami             42            80   100.00
           OFFICE
2023‐01‐01 JACKSONVILLE CO‐   Miami             22            55   100.00
           LO OFFICE
2023‐09‐01 ORLANDO CO‐LO      Miami             31            77   100.00
           OFFICE




                                      SAR0217
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 225 of 280


2024‐03‐01 JACKSONVILLE CO‐   Miami               26          54   100.00
           LO OFFICE
2022‐12‐01 MIRAMAR ERO        Miami              109         259   100.00
           OFFICE
2023‐08‐01 MIRAMAR ERO        Miami              115         268   100.00
           OFFICE
2024‐01‐01 ORLANDO CO‐LO      Miami               31          56   100.00
           OFFICE
2023‐07‐01 JACKSONVILLE CO‐   Miami               26          67   100.00
           LO OFFICE
2023‐12‐01 MIRAMAR ERO        Miami              100         251   100.00
           OFFICE
2024‐07‐01 JACKSONVILLE CO‐   Miami               28          50   100.00
           LO OFFICE
2022‐08‐01 JACKSONVILLE CO‐   Miami              28           80   100.00
           LO OFFICE
2022‐07‐01 ORLANDO CO‐LO      Miami              46           99    98.82
           OFFICE
2023‐04‐01 MOUNT LAUREL NJ    Newark               0           0     0.00
           ERO/HSI
2022‐10‐01 MOUNT LAUREL NJ    Newark               0           0     0.00
           ERO/HSI
2022‐10‐01 PETER W. RODINO    Newark               0           0     0.00
           JR FEDERAL BLDG
2022‐07‐01 MOUNT LAUREL NJ    Newark              60         169   100.00
           ERO/HSI
2023‐03‐01 PETER W. RODINO    Newark               1           1     0.19
           JR FEDERAL BLDG
2022‐08‐01 PETER W. RODINO    Newark               1           1     0.19
           JR FEDERAL BLDG
2022‐06‐01 MOUNT LAUREL NJ    Newark              63         168   100.00
           ERO/HSI
2022‐04‐01 PETER W. RODINO    Newark             227         550    68.04
           JR FEDERAL BLDG
2022‐09‐01 MOUNT LAUREL NJ    Newark               0           0     0.00
           ERO/HSI
2022‐09‐01 PETER W. RODINO    Newark               0           0     0.00
           JR FEDERAL BLDG
2022‐04‐01 MOUNT LAUREL NJ    Newark              51         131   100.00
           ERO/HSI
2023‐02‐01 MOUNT LAUREL NJ    Newark               0           0     0.00
           ERO/HSI
2022‐07‐01 PETER W. RODINO    Newark               2           5     0.70
           JR FEDERAL BLDG
2023‐03‐01 MOUNT LAUREL NJ    Newark               1           2     0.58
           ERO/HSI




                                       SAR0218
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 226 of 280


2023‐01‐01 PETER W. RODINO   Newark                1           1     0.20
           JR FEDERAL BLDG
2022‐05‐01 MOUNT LAUREL NJ   Newark               63         173   100.00
           ERO/HSI
2023‐01‐01 MOUNT LAUREL NJ   Newark                2           5     1.55
           ERO/HSI
2022‐12‐01 MOUNT LAUREL NJ   Newark                0           0     0.00
           ERO/HSI
2023‐04‐01 PETER W. RODINO   Newark                0           0     0.00
           JR FEDERAL BLDG
2022‐12‐01 PETER W. RODINO   Newark                2           3     0.47
           JR FEDERAL BLDG
2022‐06‐01 PETER W. RODINO   Newark               21          46     6.14
           JR FEDERAL BLDG
2022‐08‐01 MOUNT LAUREL NJ   Newark               45         129    40.85
           ERO/HSI
2022‐11‐01 MOUNT LAUREL NJ   Newark                0           0     0.00
           ERO/HSI
2023‐02‐01 PETER W. RODINO   Newark                0           0     0.00
           JR FEDERAL BLDG
2022‐11‐01 PETER W. RODINO   Newark                2           4     0.60
           JR FEDERAL BLDG
2022‐05‐01 PETER W. RODINO   Newark              223         663    76.64
           JR FEDERAL BLDG
2023‐10‐01 HOUSTON FIELD     Houston              39          96     7.91
           OFFICE
2023‐06‐01 HOUSTON FIELD     Houston              37         102     7.68
           OFFICE
2022‐04‐01 HOUSTON FIELD     Houston             134         286    81.13
           OFFICE
2022‐06‐01 HOUSTON FIELD     Houston              85         244   100.00
           OFFICE
2024‐02‐01 HOUSTON FIELD     Houston              39         117     8.38
           OFFICE
2023‐01‐01 HOUSTON FIELD     Houston              80         183   100.00
           OFFICE
2022‐08‐01 HOUSTON FIELD     Houston              95         243   100.00
           OFFICE
2024‐04‐01 HOUSTON FIELD     Houston               0           0     0.00
           OFFICE
2023‐05‐01 HOUSTON FIELD     Houston              44         107     7.12
           OFFICE
2024‐01‐01 HOUSTON FIELD     Houston             43          123     7.60
           OFFICE
2023‐09‐01 HOUSTON FIELD     Houston             36           95     6.94
           OFFICE




                                       SAR0219
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 227 of 280


2022‐12‐01 HOUSTON FIELD     Houston             80          183   100.00
           OFFICE
2023‐12‐01 HOUSTON FIELD     Houston             35           99     7.17
           OFFICE
2023‐08‐01 HOUSTON FIELD     Houston             45          114     6.20
           OFFICE
2023‐04‐01 HOUSTON FIELD     Houston             35           91     7.11
           OFFICE
2022‐10‐01 HOUSTON FIELD     Houston             81          190   100.00
           OFFICE
2022‐09‐01 HOUSTON FIELD     Houston             80          205   100.00
           OFFICE
2023‐11‐01 HOUSTON FIELD     Houston             39           95     7.88
           OFFICE
2022‐05‐01 HOUSTON FIELD     Houston             88          247   100.00
           OFFICE
2023‐07‐01 HOUSTON FIELD     Houston             32           94     5.26
           OFFICE
2023‐03‐01 HOUSTON FIELD     Houston             56          110    10.31
           OFFICE
2024‐03‐01 HOUSTON FIELD     Houston              2            5     0.43
           OFFICE
2022‐07‐01 HOUSTON FIELD     Houston             75          171   100.00
           OFFICE
2022‐11‐01 HOUSTON FIELD     Houston             85          195   100.00
           OFFICE
2023‐02‐01 HOUSTON FIELD     Houston             75          159   100.00
           OFFICE
2022‐10‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2023‐07‐01 ATLANTA FEDERAL   Atlanta             18           50    90.91
           OFFICE
2023‐03‐01 ATLANTA FEDERAL   Atlanta             22           61    84.48
           OFFICE
2024‐03‐01 ATLANTA FEDERAL   Atlanta             12           33    75.00
           OFFICE
2024‐01‐01 CHARLOTTE ERO     Atlanta              1            2     0.99
           OFFICE
2022‐10‐01 ATLANTA FEDERAL   Atlanta             26           59    98.33
           OFFICE
2022‐09‐01 CHARLESTON        Atlanta              1            3     1.79
           ERO/HSI OFFICE
2023‐02‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2022‐05‐01 ATLANTA FEDERAL   Atlanta             32           87    85.55
           OFFICE




                                       SAR0220
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 228 of 280


2023‐11‐01 ATLANTA FEDERAL   Atlanta             23           53    88.46
           OFFICE
2022‐05‐01 CHARLESTON        Atlanta             51          140    96.67
           ERO/HSI OFFICE
2024‐04‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2022‐06‐01 ATLANTA FEDERAL   Atlanta             31           73   100.00
           OFFICE
2023‐11‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2023‐10‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2022‐11‐01 CHARLOTTE ERO     Atlanta             26           58   100.00
           OFFICE
2023‐02‐01 CHARLOTTE ERO     Atlanta             24           67   100.00
           OFFICE
2023‐02‐01 ATLANTA FEDERAL   Atlanta             19           51    82.26
           OFFICE
2024‐02‐01 ATLANTA FEDERAL   Atlanta             15           38    81.71
           OFFICE
2023‐07‐01 CHARLOTTE ERO     Atlanta             17           37    33.02
           OFFICE
2022‐09‐01 ATLANTA FEDERAL   Atlanta             33           87    80.77
           OFFICE
2022‐08‐01 CHARLESTON        Atlanta             56          144    91.88
           ERO/HSI OFFICE
2023‐01‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2022‐04‐01 ATLANTA FEDERAL   Atlanta             29           75    98.74
           OFFICE
2023‐10‐01 ATLANTA FEDERAL   Atlanta             23           52    86.92
           OFFICE
2022‐04‐01 CHARLESTON        Atlanta             38          115    83.94
           ERO/HSI OFFICE
2023‐06‐01 ATLANTA FEDERAL   Atlanta             25           64    98.11
           OFFICE
2023‐09‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2024‐03‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2022‐07‐01 CHARLOTTE ERO     Atlanta             24           64   100.00
           OFFICE
2022‐08‐01 CHARLOTTE ERO     Atlanta             28           74   100.00
           OFFICE
2022‐11‐01 ATLANTA FEDERAL   Atlanta             25           65   100.00
           OFFICE




                                       SAR0221
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 229 of 280


2023‐01‐01 CHARLOTTE ERO     Atlanta             26           73   100.00
           OFFICE
2023‐04‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2022‐08‐01 ATLANTA FEDERAL   Atlanta             36           90    94.83
           OFFICE
2022‐07‐01 CHARLESTON        Atlanta             56          133    97.32
           ERO/HSI OFFICE
2022‐12‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2023‐09‐01 ATLANTA FEDERAL   Atlanta             18           53    89.17
           OFFICE
2023‐05‐01 ATLANTA FEDERAL   Atlanta             23           65    91.38
           OFFICE
2023‐01‐01 ATLANTA FEDERAL   Atlanta             22           60    92.31
           OFFICE
2024‐01‐01 ATLANTA FEDERAL   Atlanta             20           44    93.10
           OFFICE
2023‐08‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2024‐02‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE
2022‐12‐01 CHARLOTTE ERO     Atlanta             26           55   100.00
           OFFICE
2024‐04‐01 ATLANTA FEDERAL   Atlanta              0            0     0.00
           OFFICE
2022‐11‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2023‐08‐01 ATLANTA FEDERAL   Atlanta             26           73    97.33
           OFFICE
2023‐04‐01 ATLANTA FEDERAL   Atlanta             19           51    85.00
           OFFICE
2022‐12‐01 ATLANTA FEDERAL   Atlanta             23           59    90.77
           OFFICE
2023‐03‐01 CHARLESTON        Atlanta              0            0     0.00
           ERO/HSI OFFICE
2022‐07‐01 ATLANTA FEDERAL   Atlanta             25           69    95.83
           OFFICE
2023‐12‐01 ATLANTA FEDERAL   Atlanta             18           43    84.03
           OFFICE
2022‐06‐01 CHARLESTON        Atlanta             53          140    96.67
           ERO/HSI OFFICE
2022‐06‐01 CHARLOTTE ERO     Atlanta             28           68   100.00
           OFFICE
2023‐12‐01 CHARLOTTE ERO     Atlanta              0            0     0.00
           OFFICE




                                       SAR0222
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 230 of 280


2022‐04‐01 CHARLOTTE ERO        Atlanta             30        80   100.00
           OFFICE
2022‐05‐01 CHARLOTTE ERO        Atlanta             26        64   100.00
           OFFICE
2023‐06‐01 CHARLOTTE ERO        Atlanta             26        67   100.00
           OFFICE
2023‐05‐01 CHARLOTTE ERO        Atlanta             29        81   100.00
           OFFICE
2022‐10‐01 CHARLOTTE ERO        Atlanta             24        55   100.00
           OFFICE
2023‐04‐01 CHARLOTTE ERO        Atlanta             24        57   100.00
           OFFICE
2022‐09‐01 CHARLOTTE ERO        Atlanta             26        68   100.00
           OFFICE
2023‐03‐01 CHARLOTTE ERO        Atlanta             28        55   100.00
           OFFICE
2022‐05‐01 ALAMOSA OFFICE       Denver               0         0     0.00
2023‐01‐01 ALAMOSA OFFICE       Denver               0         0     0.00
2022‐09‐01 ALAMOSA OFFICE       Denver               0         0     0.00
2022‐09‐01 CASPER SUB‐OFFICE    Denver               0         0     0.00

2022‐05‐01 CASPER SUB‐OFFICE Denver                  0         0     0.00

2023‐01‐01 CASPER SUB‐OFFICE Denver                  0         0     0.00

2022‐06‐01 ERO ‐ FREDERICK CO   Denver               0         0     0.00
           OFFICE
2023‐01‐01 CRAIG OFFICE         Denver               0         0     0.00
2023‐02‐01 DURANGO OFFICE       Denver               0         0     0.00
           ERO
2022‐09‐01 CRAIG OFFICE         Denver               0         0     0.00
2023‐01‐01 DENVER FOD AND       Denver               0         0     0.00
           CHIEF COUNSEL
           OFFICE
2022‐10‐01 DURANGO OFFICE       Denver               0         0     0.00
           ERO
2022‐05‐01 CRAIG OFFICE         Denver               0         0     0.00
2022‐09‐01 DENVER FOD AND       Denver               0         0     0.00
           CHIEF COUNSEL
           OFFICE
2022‐06‐01 DURANGO OFFICE       Denver               0         0     0.00
           ERO
2022‐11‐01 FLORENCE OFFICE      Denver               0         0     0.00
2022‐06‐01 GLENWOOD SPRING      Denver               0         0     0.00
           QUICK RESPONSE
           TEAM




                                          SAR0223
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 231 of 280


2022‐10‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐07‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐07‐01 FLORENCE OFFICE      Denver             0          0      0.00
2023‐02‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐03‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐10‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐03‐01 FLORENCE OFFICE      Denver             0          0      0.00
2023‐02‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐11‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐04‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐12‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐08‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐04‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐04‐01 CASPER SUB‐OFFICE    Denver             0          0      0.00

2023‐04‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐12‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐08‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐04‐01 CRAIG OFFICE         Denver             1          2      5.88
2022‐12‐01 CRAIG OFFICE         Denver             0          0      0.00
2023‐04‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2023‐01‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐08‐01 CRAIG OFFICE         Denver             0          0      0.00
2022‐12‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐09‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO




                                         SAR0224
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 232 of 280


2022‐08‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐05‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐09‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐04‐01 CRAIG OFFICE         Denver             0          0      0.00
2022‐05‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2022‐04‐01 FLORENCE OFFICE      Denver             1          1      0.70
2022‐06‐01 FLORENCE OFFICE      Denver             0          0      0.00
2023‐01‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐02‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐02‐01 FLORENCE OFFICE      Denver             0          0      0.00
2023‐01‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐10‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐10‐01 FLORENCE OFFICE      Denver             0          0      0.00
2022‐05‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐09‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐06‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐11‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐07‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2023‐03‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2023‐03‐01 CASPER SUB‐OFFICE    Denver             0          0      0.00

2022‐11‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐07‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐05‐01 DENVER FOD AND       Denver             1          1      0.53
           CHIEF COUNSEL
           OFFICE




                                         SAR0225
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 233 of 280


2022‐04‐01 ERO ‐ FREDERICK CO   Denver             1          2      7.14
           OFFICE
2022‐07‐01 CRAIG OFFICE         Denver             0          0      0.00
2022‐11‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐08‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐07‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐04‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐08‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐03‐01 CRAIG OFFICE         Denver             0          0      0.00
2023‐04‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐11‐01 CRAIG OFFICE         Denver             0          0      0.00
2023‐03‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐12‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐12‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐04‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2023‐01‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐01‐01 FLORENCE OFFICE      Denver             0          0      0.00
2022‐08‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐12‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐09‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐09‐01 FLORENCE OFFICE      Denver             0          0      0.00
2022‐04‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM




                                         SAR0226
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 234 of 280


2022‐05‐01 GRAND JUNCTION       Denver             0          0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐04‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2022‐05‐01 FLORENCE OFFICE      Denver             0          0      0.00
2022‐06‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2023‐02‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐10‐01 ALAMOSA OFFICE       Denver             0          0      0.00
2022‐10‐01 CASPER SUB‐OFFICE    Denver             0          0      0.00

2022‐06‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐04‐01 DENVER FOD AND Denver                   5          7      3.47
           CHIEF COUNSEL
           OFFICE
2023‐02‐01 CASPER SUB‐OFFICE Denver                0          0      0.00

2022‐06‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐07‐01 ERO ‐ FREDERICK CO   Denver             0          0      0.00
           OFFICE
2023‐02‐01 CRAIG OFFICE         Denver             0          0      0.00
2023‐03‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐10‐01 CRAIG OFFICE         Denver             0          0      0.00
2023‐02‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐11‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐06‐01 CRAIG OFFICE         Denver             0          0      0.00
2022‐10‐01 DENVER FOD AND       Denver             0          0      0.00
           CHIEF COUNSEL
           OFFICE
2022‐07‐01 DURANGO OFFICE       Denver             0          0      0.00
           ERO
2022‐12‐01 FLORENCE OFFICE      Denver             0          0      0.00
2022‐07‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM
2022‐11‐01 GLENWOOD SPRING      Denver             0          0      0.00
           QUICK RESPONSE
           TEAM




                                         SAR0227
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 235 of 280


2022‐08‐01 GRAND JUNCTION       Denver                  0     0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐08‐01 FLORENCE OFFICE      Denver                  0     0      0.00
2022‐04‐01 GRAND JUNCTION       Denver                  0     0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐03‐01 ERO ‐ FREDERICK CO   Denver                  0     0      0.00
           OFFICE
2023‐04‐01 GRAND JUNCTION       Denver                  0     0      0.00
           RESIDENT AGENT IN
           CHARGE
2022‐11‐01 ERO ‐ FREDERICK CO   Denver                  0     0      0.00
           OFFICE
2023‐04‐01 FLORENCE OFFICE      Denver                  0     0      0.00
2023‐03‐01 GLENWOOD SPRING      Denver                  0     0      0.00
           QUICK RESPONSE
           TEAM
2022‐12‐01 GRAND JUNCTION       Denver                  0     0      0.00
           RESIDENT AGENT IN
           CHARGE
2023‐03‐01 HOMEWOOD AL          New Orleans             0     0      0.00
           ERO/HSI OFFICE
2022‐11‐01 HOMEWOOD AL          New Orleans             0     0      0.00
           ERO/HSI OFFICE
2022‐06‐01 HOMEWOOD AL          New Orleans             0     0      0.00
           ERO/HSI OFFICE
2022‐11‐01 BATON ROUGE RAC      New Orleans             0     0      0.00
           OFFICE
2023‐03‐01 BOSSIER CITY         New Orleans             0     0      0.00

2022‐08‐01 KNOXVILLE RAC     New Orleans                0     0      0.00
           OFFICE
2023‐04‐01 MEMPHIS ERO       New Orleans                0     0      0.00
           OFFICE BUSINESS
           PARK
2022‐05‐01 MOBILE RAC OFFICE New Orleans                0     0      0.00

2022‐11‐01 BOSSIER CITY         New Orleans             0     0      0.00

2023‐02‐01 LAFAYETTE RAC   New Orleans                  0     0      0.00
           OFFICE
2023‐03‐01 LITTLE ROCK ERO New Orleans                  0     0      0.00
           OFFICE
2023‐01‐01 BATON ROUGE RAC New Orleans                  1     4     20.00
           OFFICE




                                              SAR0228
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 236 of 280


2022‐06‐01 BOSSIER CITY        New Orleans              0      0     0.00

2022‐09‐01 LAFAYETTE RAC       New Orleans              0      0     0.00
           OFFICE
2022‐11‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐06‐01 BATON ROUGE RAC     New Orleans             17     33    54.35
           OFFICE
2022‐12‐01 KNOXVILLE RAC       New Orleans              0      0     0.00
           OFFICE
2022‐07‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐04‐01 BOSSIER CITY        New Orleans             4      13     3.13

2022‐06‐01 MONTGOMERY ERO      New Orleans             0       0     0.00
           OFFICE
2022‐04‐01 LAFAYETTE RAC       New Orleans              7     14   100.00
           OFFICE
2022‐04‐01 FORT SMITH RAC      New Orleans              2      4    13.16
           OFFICE
2022‐05‐01 MONTGOMERY ERO      New Orleans              1      3    50.00
           OFFICE
2023‐04‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐04‐01 FAYETTEVILLE ERO    New Orleans              4     11   100.00
           OFFICE
2022‐05‐01 GULFPORT RAC        New Orleans              6     11   100.00
           OFFICE
2023‐03‐01 GULFPORT RAC        New Orleans              4     10    20.00
           OFFICE
2022‐07‐01 LAFAYETTE RAC       New Orleans              7     14    50.00
           OFFICE
2022‐12‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2023‐02‐01 MOBILE RAC OFFICE   New Orleans              0      0     0.00

2023‐02‐01 MONTGOMERY ERO      New Orleans              0      0     0.00
           OFFICE
2022‐10‐01 GULFPORT RAC        New Orleans              1      1     3.03
           OFFICE
2022‐09‐01 MEMPHIS ERO         New Orleans             16     37    20.31
           OFFICE BUSINESS
           PARK
2022‐08‐01 CHATTANOOGA         New Orleans             0       0     0.00
           RAC OFFICE
2022‐09‐01 MOBILE RAC OFFICE   New Orleans             0       0     0.00




                                             SAR0229
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 237 of 280


2022‐10‐01 MONTGOMERY ERO    New Orleans              0        0     0.00
           OFFICE
2022‐05‐01 MEMPHIS ERO       New Orleans             37      106    49.06
           OFFICE BUSINESS
           PARK
2022‐06‐01 ETOWAH ERO +      New Orleans              0        0     0.00
           287G OFFICE
2023‐03‐01 FORT SMITH RAC    New Orleans              0        0     0.00
           OFFICE
2023‐04‐01 NASHVILLE SAC     New Orleans              8       20    16.67
           OFFICE
2022‐08‐01 NEW ORLEANS       New Orleans             19       45    18.63
           OFFICE
2022‐11‐01 FORT SMITH RAC    New Orleans              0        0     0.00
           OFFICE
2022‐07‐01 GULFPORT RAC      New Orleans              4        6   100.00
           OFFICE
2022‐12‐01 NASHVILLE SAC     New Orleans             14       33    76.67
           OFFICE
2024‐04‐01 NASHVILLE SAC     New Orleans              2        8    83.33
           OFFICE
2023‐02‐01 ETOWAH ERO +      New Orleans              0        0     0.00
           287G OFFICE
2022‐07‐01 FORT SMITH RAC    New Orleans              0        0     0.00
           OFFICE
2022‐08‐01 NASHVILLE SAC     New Orleans             17       36    67.95
           OFFICE
2023‐12‐01 NASHVILLE SAC     New Orleans             8        21    20.83
           OFFICE
2022‐10‐01 ETOWAH ERO +      New Orleans             0         0     0.00
           287G OFFICE
2022‐04‐01 NASHVILLE SAC     New Orleans             38       92    80.92
           OFFICE
2023‐08‐01 NASHVILLE SAC     New Orleans             10       26    33.33
           OFFICE
2022‐12‐01 NEW ORLEANS       New Orleans             22       44    23.56
           OFFICE
2023‐04‐01 GULFPORT RAC      New Orleans              0        0     0.00
           OFFICE
2022‐09‐01 HOMEWOOD AL       New Orleans              0        0     0.00
           ERO/HSI OFFICE
2023‐02‐01 HOMEWOOD AL       New Orleans              0        0     0.00
           ERO/HSI OFFICE
2022‐10‐01 BOSSIER CITY      New Orleans              0        0     0.00

2023‐01‐01 LAFAYETTE RAC     New Orleans              0        0     0.00
           OFFICE



                                           SAR0230
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 238 of 280


2023‐02‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐09‐01 BATON ROUGE RAC     New Orleans              1      1    51.02
           OFFICE
2023‐04‐01 KNOXVILLE RAC       New Orleans              0      0     0.00
           OFFICE
2022‐10‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐05‐01 BATON ROUGE RAC     New Orleans             22     42    80.00
           OFFICE
2023‐04‐01 BATON ROUGE RAC     New Orleans              0      0     0.00
           OFFICE
2022‐11‐01 KNOXVILLE RAC       New Orleans             0       0     0.00
           OFFICE
2022‐05‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐08‐01 MOBILE RAC OFFICE   New Orleans              0      0     0.00

2022‐10‐01 BATON ROUGE RAC New Orleans                  0      0     0.00
           OFFICE
2023‐02‐01 BOSSIER CITY    New Orleans                  0      0     0.00

2022‐07‐01 KNOXVILLE RAC       New Orleans              0      0     0.00
           OFFICE
2023‐03‐01 MEMPHIS ERO         New Orleans              0      0     0.00
           OFFICE BUSINESS
           PARK
2023‐03‐01 CHATTANOOGA         New Orleans             0      0      0.00
           RAC OFFICE
2022‐05‐01 FAYETTEVILLE ERO    New Orleans             2      4    100.00
           OFFICE
2023‐01‐01 GULFPORT RAC        New Orleans              2      2     5.88
           OFFICE
2023‐03‐01 KNOXVILLE RAC       New Orleans              1      2     1.42
           OFFICE
2022‐12‐01 MEMPHIS ERO         New Orleans              1      2     1.42
           OFFICE BUSINESS
           PARK
2022‐11‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐12‐01 MOBILE RAC OFFICE   New Orleans              0      0     0.00

2023‐01‐01 MONTGOMERY ERO New Orleans                   0      0     0.00
           OFFICE
2022‐09‐01 GULFPORT RAC   New Orleans                  1      3     10.00
           OFFICE




                                             SAR0231
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 239 of 280


2022‐10‐01 HOMEWOOD AL         New Orleans               1     1     2.29
           ERO/HSI OFFICE
2022‐08‐01 MEMPHIS ERO         New Orleans              22    50    20.00
           OFFICE BUSINESS
           PARK
2022‐07‐01 CHATTANOOGA         New Orleans               0     0     0.00
           RAC OFFICE
2022‐09‐01 MONTGOMERY ERO      New Orleans               0     0     0.00
           OFFICE
2022‐05‐01 NEW ORLEANS         New Orleans             166   309   100.00
           OFFICE
2022‐06‐01 GULFPORT RAC        New Orleans               6     9   100.00
           OFFICE
2022‐04‐01 MEMPHIS ERO         New Orleans              31    73    44.07
           OFFICE BUSINESS
           PARK
2023‐04‐01 MOBILE RAC OFFICE   New Orleans               0     0     0.00

2022‐05‐01 LAFAYETTE RAC       New Orleans              11    16   100.00
           OFFICE
2022‐04‐01 MONTGOMERY ERO      New Orleans               4    10    55.56
           OFFICE
2022‐10‐01 FORT SMITH RAC      New Orleans               0     0     0.00
           OFFICE
2022‐11‐01 NASHVILLE SAC       New Orleans              14    30    83.33
           OFFICE
2024‐03‐01 NASHVILLE SAC       New Orleans               8    21    20.83
           OFFICE
2023‐01‐01 ETOWAH ERO +        New Orleans               0     0     0.00
           287G OFFICE
2022‐06‐01 FORT SMITH RAC      New Orleans              0      0     0.00
           OFFICE
2022‐07‐01 NASHVILLE SAC       New Orleans              13    33    91.67
           OFFICE
2023‐11‐01 NASHVILLE SAC       New Orleans               8    24    33.33
           OFFICE
2023‐04‐01 NEW ORLEANS         New Orleans               1     1    31.25
           OFFICE
2022‐09‐01 ETOWAH ERO +        New Orleans               0     0     0.00
           287G OFFICE
2023‐07‐01 NASHVILLE SAC       New Orleans               7    21    22.22
           OFFICE
2022‐11‐01 NEW ORLEANS         New Orleans              17    36    20.70
           OFFICE
2022‐05‐01 ETOWAH ERO +        New Orleans               0     0     0.00
           287G OFFICE




                                             SAR0232
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 240 of 280


2023‐02‐01 FORT SMITH RAC      New Orleans              0      0     0.00
           OFFICE
2023‐03‐01 NASHVILLE SAC       New Orleans              9     24    30.00
           OFFICE
2022‐07‐01 NEW ORLEANS         New Orleans             20     50    23.30
           OFFICE
2023‐01‐01 HOMEWOOD AL         New Orleans              0      0     0.00
           ERO/HSI OFFICE
2022‐08‐01 HOMEWOOD AL         New Orleans             0      0      0.00
           ERO/HSI OFFICE
2023‐02‐01 KNOXVILLE RAC       New Orleans             0      0      0.00
           OFFICE
2022‐09‐01 LITTLE ROCK ERO     New Orleans             0      0      0.00
           OFFICE
2023‐04‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐04‐01 BATON ROUGE RAC     New Orleans             24     48    83.61
           OFFICE
2022‐08‐01 BOSSIER CITY        New Orleans              6     15     3.45

2023‐03‐01 BATON ROUGE RAC New Orleans                  0      0     0.00
           OFFICE
2022‐10‐01 KNOXVILLE RAC     New Orleans                0      0     0.00
           OFFICE
2022‐07‐01 MOBILE RAC OFFICE New Orleans               0       0     0.00

2023‐01‐01 BOSSIER CITY        New Orleans             0      0      0.00

2022‐06‐01 KNOXVILLE RAC       New Orleans             0      0      0.00
           OFFICE
2023‐04‐01 LAFAYETTE RAC       New Orleans             0      0      0.00
           OFFICE
2023‐02‐01 MEMPHIS ERO         New Orleans              0      0     0.00
           OFFICE BUSINESS
           PARK
2022‐09‐01 BOSSIER CITY        New Orleans              0      0     0.00

2022‐12‐01 LAFAYETTE RAC       New Orleans              0      0     0.00
           OFFICE
2023‐01‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐08‐01 BATON ROUGE RAC     New Orleans              2      5    22.58
           OFFICE
2022‐10‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐11‐01 MOBILE RAC OFFICE   New Orleans             0      0      0.00




                                             SAR0233
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 241 of 280


2022‐12‐01 MONTGOMERY ERO      New Orleans              0      0     0.00
           OFFICE
2022‐08‐01 GULFPORT RAC        New Orleans              4      8    60.00
           OFFICE
2022‐05‐01 HOMEWOOD AL         New Orleans              3      4     7.58
           ERO/HSI OFFICE
2022‐06‐01 LITTLE ROCK ERO     New Orleans              1      1     1.85
           OFFICE
2022‐07‐01 MEMPHIS ERO         New Orleans             25     70    39.34
           OFFICE BUSINESS
           PARK
2022‐06‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐08‐01 MONTGOMERY ERO      New Orleans             0       0     0.00
           OFFICE
2023‐03‐01 MOBILE RAC OFFICE   New Orleans              0      0     0.00

2022‐04‐01 JACKSON RAC         New Orleans              2      6   100.00
           OFFICE
2023‐03‐01 ETOWAH ERO +        New Orleans              1      3     7.41
           287G OFFICE
2022‐10‐01 LAFAYETTE RAC       New Orleans              1      2    27.27
           OFFICE
2023‐01‐01 MOBILE RAC OFFICE   New Orleans              2      2    25.00

2023‐02‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2023‐04‐01 MONTGOMERY ERO      New Orleans              0      0     0.00
           OFFICE
2022‐12‐01 GULFPORT RAC        New Orleans             2       2     5.88
           OFFICE
2022‐05‐01 KNOXVILLE RAC       New Orleans             3      8      6.75
           OFFICE
2022‐11‐01 MEMPHIS ERO         New Orleans             15     38    14.21
           OFFICE BUSINESS
           PARK
2022‐12‐01 ETOWAH ERO +        New Orleans              0      0     0.00
           287G OFFICE
2022‐05‐01 FORT SMITH RAC      New Orleans              0      0     0.00
           OFFICE
2022‐06‐01 LAFAYETTE RAC       New Orleans             10     20   100.00
           OFFICE
2022‐06‐01 NASHVILLE SAC       New Orleans             18     41    95.16
           OFFICE
2023‐10‐01 NASHVILLE SAC       New Orleans             9      27    40.00
           OFFICE




                                             SAR0234
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 242 of 280


2023‐02‐01 NEW ORLEANS       New Orleans               6       9     5.08
           OFFICE
2022‐08‐01 ETOWAH ERO +      New Orleans               0       0     0.00
           287G OFFICE
2023‐06‐01 NASHVILLE SAC     New Orleans               9      26    36.67
           OFFICE
2022‐10‐01 NEW ORLEANS       New Orleans              18      38    21.48
           OFFICE
2023‐01‐01 FORT SMITH RAC    New Orleans               0       0     0.00
           OFFICE
2023‐02‐01 NASHVILLE SAC     New Orleans               8      22    25.00
           OFFICE
2022‐06‐01 NEW ORLEANS       New Orleans             136     274    97.29
           OFFICE
2022‐09‐01 FORT SMITH RAC    New Orleans               0       0     0.00
           OFFICE
2023‐02‐01 GULFPORT RAC      New Orleans               0       0     0.00
           OFFICE
2022‐10‐01 NASHVILLE SAC     New Orleans              16      29    87.50
           OFFICE
2024‐02‐01 NASHVILLE SAC     New Orleans               9      24    30.00
           OFFICE
2023‐04‐01 HOMEWOOD AL       New Orleans               0       0     0.00
           ERO/HSI OFFICE
2022‐12‐01 HOMEWOOD AL       New Orleans               0       0     0.00
           ERO/HSI OFFICE
2022‐07‐01 HOMEWOOD AL       New Orleans              0       0      0.00
           ERO/HSI OFFICE
2022‐12‐01 BATON ROUGE RAC   New Orleans              0       0      0.00
           OFFICE
2023‐04‐01 BOSSIER CITY      New Orleans               0       0     0.00

2022‐09‐01 KNOXVILLE RAC     New Orleans               0       0     0.00
           OFFICE
2022‐06‐01 MOBILE RAC OFFICE New Orleans               0       0     0.00

2022‐12‐01 BOSSIER CITY      New Orleans               0       0     0.00

2023‐03‐01 LAFAYETTE RAC     New Orleans               0       0     0.00
           OFFICE
2023‐01‐01 MEMPHIS ERO       New Orleans               0       0     0.00
           OFFICE BUSINESS
           PARK
2023‐02‐01 BATON ROUGE RAC   New Orleans               1       1    60.98
           OFFICE
2022‐04‐01 CHATTANOOGA       New Orleans               5      11    91.67
           RAC OFFICE



                                           SAR0235
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 243 of 280


2022‐07‐01 BOSSIER CITY        New Orleans              0      0     0.00

2022‐11‐01 LAFAYETTE RAC       New Orleans              0      0     0.00
           OFFICE
2022‐12‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐07‐01 BATON ROUGE RAC     New Orleans              3      6    36.00
           OFFICE
2023‐01‐01 KNOXVILLE RAC       New Orleans              0      0     0.00
           OFFICE
2022‐08‐01 LITTLE ROCK ERO     New Orleans              0      0     0.00
           OFFICE
2022‐05‐01 BOSSIER CITY        New Orleans              1      3     5.77

2022‐05‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐07‐01 MONTGOMERY ERO      New Orleans              0      0     0.00
           OFFICE
2023‐03‐01 NEW ORLEANS         New Orleans              0      0     0.00
           OFFICE
2022‐04‐01 GULFPORT RAC        New Orleans              6      9   100.00
           OFFICE
2022‐04‐01 ETOWAH ERO +        New Orleans              3      9    28.57
           287G OFFICE
2022‐08‐01 LAFAYETTE RAC       New Orleans              7     17    62.50
           OFFICE
2022‐04‐01 MOBILE RAC OFFICE   New Orleans              2      3     9.43

2023‐01‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2023‐03‐01 MONTGOMERY ERO      New Orleans              0      0     0.00
           OFFICE
2022‐11‐01 GULFPORT RAC        New Orleans              5     11    22.22
           OFFICE
2022‐04‐01 KNOXVILLE RAC       New Orleans             12     29    19.46
           OFFICE
2022‐10‐01 MEMPHIS ERO         New Orleans             12     29    12.24
           OFFICE BUSINESS
           PARK
2022‐09‐01 CHATTANOOGA         New Orleans              0      0     0.00
           RAC OFFICE
2022‐10‐01 MOBILE RAC OFFICE   New Orleans              0      0     0.00

2022‐11‐01 MONTGOMERY ERO New Orleans                   0      0     0.00
           OFFICE
2022‐04‐01 HOMEWOOD AL    New Orleans                  10     26    35.48
           ERO/HSI OFFICE



                                             SAR0236
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 244 of 280


2022‐04‐01 LITTLE ROCK ERO   New Orleans             11       26    36.11
           OFFICE
2022‐06‐01 MEMPHIS ERO       New Orleans             36       90    47.37
           OFFICE BUSINESS
           PARK
2022‐07‐01 ETOWAH ERO +      New Orleans              0        0     0.00
           287G OFFICE
2023‐04‐01 FORT SMITH RAC    New Orleans              0        0     0.00
           OFFICE
2023‐05‐01 NASHVILLE SAC     New Orleans              9       28    43.33
           OFFICE
2022‐09‐01 NEW ORLEANS       New Orleans             23       45    24.44
           OFFICE
2022‐12‐01 FORT SMITH RAC    New Orleans              0        0     0.00
           OFFICE
2023‐01‐01 NASHVILLE SAC     New Orleans               9      23    26.67
           OFFICE
2022‐04‐01 NEW ORLEANS       New Orleans             122     232    93.06
           OFFICE
2023‐04‐01 ETOWAH ERO +      New Orleans               0       0     0.00
           287G OFFICE
2022‐08‐01 FORT SMITH RAC    New Orleans               0       0     0.00
           OFFICE
2022‐09‐01 NASHVILLE SAC     New Orleans             18       35    67.95
           OFFICE
2024‐01‐01 NASHVILLE SAC     New Orleans              9       21    20.00
           OFFICE
2022‐11‐01 ETOWAH ERO +      New Orleans              0        0     0.00
           287G OFFICE
2022‐05‐01 NASHVILLE SAC     New Orleans              45     112    86.26
           OFFICE
2023‐09‐01 NASHVILLE SAC     New Orleans               8      23    29.17
           OFFICE
2023‐01‐01 NEW ORLEANS       New Orleans              20      35    21.48
           OFFICE
2023‐03‐01 SPOKANE OFFICE    Seattle                  0        0     0.00
2023‐03‐01 SEATTLE FIELD     Seattle                  0        0     0.00
           OFFICE
2022‐11‐01 SPOKANE OFFICE    Seattle                  0        0     0.00
2022‐11‐01 SEATTLE FIELD     Seattle                  0        0     0.00
           OFFICE
2022‐07‐01 SPOKANE OFFICE    Seattle                  0        0     0.00
2022‐04‐01 SPOKANE OFFICE    Seattle                  1        4    10.71
2022‐07‐01 SEATTLE FIELD     Seattle                  0        0     0.00
           OFFICE
2023‐04‐01 ANCHORAGE         Seattle                   0       0     0.00
           OFFICE



                                           SAR0237
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 245 of 280


2022‐04‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐08‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐12‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2023‐04‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐05‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐08‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐12‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐08‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐05‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2023‐04‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2023‐01‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐12‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐09‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2023‐04‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2022‐09‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐12‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2022‐05‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐04‐01 RICHLAND OFFICE   Seattle             1            1      0.97
2022‐08‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2023‐01‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2023‐02‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐10‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐10‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐06‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐06‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2023‐02‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐11‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2023‐03‐01 MEDFORD OFFICE    Seattle             0            0      0.00



                                       SAR0238
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 246 of 280


2022‐04‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐11‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐07‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2023‐03‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐07‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2023‐04‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐04‐01 EUGENE OFFICE     Seattle             1            5    100.00
2022‐07‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2023‐03‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐12‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐11‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐08‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐04‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐11‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2023‐04‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐12‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2023‐03‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2022‐08‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐04‐01 PORTLAND OFFICE   Seattle             2            6      0.58

2022‐09‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐05‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐05‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2023‐01‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2023‐01‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐09‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐10‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐06‐01 MEDFORD OFFICE    Seattle             0            0      0.00




                                       SAR0239
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 247 of 280


2023‐02‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐06‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐07‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2022‐10‐01 ANCHORAGE         Seattle             0            0      0.00
           OFFICE
2023‐02‐01 MEDFORD OFFICE    Seattle             0            0      0.00
2022‐06‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2023‐02‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐11‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2022‐10‐01 WENATCHEE         Seattle             0            0      0.00
           INVESTIGATIONS
           OFFICE
2022‐07‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2023‐03‐01 YAKIMA OFFICE ‐   Seattle             0            0      0.00
           ERO
2023‐03‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐11‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2023‐02‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2022‐07‐01 RICHLAND OFFICE   Seattle             0            0      0.00
2022‐10‐01 PORTLAND OFFICE   Seattle             0            0      0.00

2022‐04‐01 SEATTLE FIELD     Seattle             12           24     8.20
           OFFICE
2023‐04‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2023‐04‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐12‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐04‐01 WENATCHEE         Seattle             1            1      7.14
           INVESTIGATIONS
           OFFICE
2022‐12‐01 SEATTLE FIELD     Seattle              0            0     0.00
           OFFICE
2022‐08‐01 SPOKANE OFFICE    Seattle             0            0      0.00
2022‐08‐01 SEATTLE FIELD     Seattle             0            0      0.00
           OFFICE
2022‐05‐01 MEDFORD OFFICE    Seattle             0            0      0.00




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  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 248 of 280


2022‐09‐01 WENATCHEE         Seattle                     0     0     0.00
           INVESTIGATIONS
           OFFICE
2023‐01‐01 ANCHORAGE         Seattle                     0     0     0.00
           OFFICE
2022‐05‐01 WENATCHEE         Seattle                     0     0     0.00
           INVESTIGATIONS
           OFFICE
2022‐06‐01 ANCHORAGE         Seattle                     0     0     0.00
           OFFICE
2022‐09‐01 ANCHORAGE         Seattle                     0    0      0.00
           OFFICE
2023‐01‐01 MEDFORD OFFICE    Seattle                    0     0      0.00
2022‐09‐01 MEDFORD OFFICE    Seattle                    0     0      0.00
2022‐06‐01 YAKIMA OFFICE ‐   Seattle                    0     0      0.00
           ERO
2023‐02‐01 YAKIMA OFFICE ‐   Seattle                    0     0      0.00
           ERO
2022‐05‐01 PORTLAND OFFICE   Seattle                    0     0      0.00

2023‐01‐01 WENATCHEE         Seattle                    0     0      0.00
           INVESTIGATIONS
           OFFICE
2022‐10‐01 YAKIMA OFFICE ‐   Seattle                     0     0     0.00
           ERO
2022‐10‐01 RICHLAND OFFICE   Seattle                     0     0     0.00
2023‐01‐01 PORTLAND OFFICE   Seattle                     0     0     0.00

2022‐06‐01 RICHLAND OFFICE   Seattle                     0     0     0.00
2022‐09‐01 PORTLAND OFFICE   Seattle                     0     0     0.00

2023‐02‐01 RICHLAND OFFICE   Seattle                     0     0     0.00
2022‐09‐01 SAN FRANCISCO     San Francisco              60   150    86.35
           FIELD OFFICE
2022‐05‐01 SAN FRANCISCO     San Francisco             124   330    96.99
           FIELD OFFICE
2023‐02‐01 HONOLULU FIELD    San Francisco               0     0     0.00
           OFFICE
2022‐10‐01 HONOLULU FIELD    San Francisco               0     0     0.00
           OFFICE
2023‐01‐01 SAN FRANCISCO     San Francisco              49   148    86.00
           FIELD OFFICE
2022‐06‐01 HONOLULU FIELD    San Francisco               0     0     0.00
           OFFICE
2023‐03‐01 TAMUNING OFFICE   San Francisco               0     0     0.00
           GUAM




                                             SAR0241
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 249 of 280


2023‐03‐01 BAKERSFIELD       San Francisco              0      0     0.00
           OFFICE
2023‐02‐01 STOCKTON OFFICE   San Francisco              0      0     0.00

2022‐11‐01 TAMUNING OFFICE San Francisco                0      0     0.00
           GUAM
2022‐11‐01 BAKERSFIELD     San Francisco                0      0     0.00
           OFFICE
2022‐10‐01 STOCKTON OFFICE San Francisco               0       0     0.00

2022‐07‐01 TAMUNING OFFICE San Francisco               0      0      0.00
           GUAM
2022‐07‐01 BAKERSFIELD     San Francisco               0      0      0.00
           OFFICE
2022‐06‐01 STOCKTON OFFICE San Francisco               0      0      0.00

2022‐12‐01 SACRAMENTO SUB San Francisco                1      1      0.59
           OFFICE
2023‐03‐01 FRESNO OFFICE ERO San Francisco              0      0     0.00

2022‐11‐01 FRESNO OFFICE ERO San Francisco              0      0     0.00

2023‐02‐01 SACRAMENTO SUB San Francisco                 0      0     0.00
           OFFICE
2022‐07‐01 FRESNO OFFICE ERO San Francisco              0      0     0.00

2022‐09‐01 SACRAMENTO SUB    San Francisco              0      0     0.00
           OFFICE
2022‐04‐01 SAN FRANCISCO     San Francisco             78    198    96.71
           FIELD OFFICE
2023‐01‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2023‐04‐01 SAN FRANCISCO     San Francisco             11     28    44.30
           FIELD OFFICE
2022‐09‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2022‐12‐01 SAN FRANCISCO     San Francisco             51    154    90.29
           FIELD OFFICE
2022‐05‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2022‐08‐01 SAN FRANCISCO     San Francisco             74    172    93.21
           FIELD OFFICE
2023‐02‐01 BAKERSFIELD       San Francisco              0      0     0.00
           OFFICE
2023‐01‐01 STOCKTON OFFICE   San Francisco              0      0     0.00




                                             SAR0242
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 250 of 280


2022‐10‐01 TAMUNING OFFICE San Francisco                  0     0    0.00
           GUAM
2022‐10‐01 BAKERSFIELD     San Francisco                  0     0    0.00
           OFFICE
2022‐09‐01 STOCKTON OFFICE San Francisco                  0     0    0.00

2022‐06‐01 TAMUNING OFFICE     San Francisco              0     0    0.00
           GUAM
2022‐06‐01 BAKERSFIELD         San Francisco              0     0    0.00
           OFFICE
2023‐02‐01 TAMUNING OFFICE     San Francisco              0     0    0.00
           GUAM
2023‐02‐01 FRESNO OFFICE ERO   San Francisco              0     0    0.00

2022‐10‐01 FRESNO OFFICE ERO San Francisco                0     0    0.00

2023‐01‐01 SACRAMENTO SUB San Francisco                  0      0    0.00
           OFFICE
2022‐06‐01 FRESNO OFFICE ERO San Francisco                0     0    0.00

2022‐08‐01 SACRAMENTO SUB      San Francisco              0     0    0.00
           OFFICE
2023‐04‐01 SACRAMENTO SUB      San Francisco              0     0    0.00
           OFFICE
2022‐05‐01 SACRAMENTO SUB      San Francisco              8     8    6.50
           OFFICE
2023‐03‐01 SAN FRANCISCO       San Francisco             61   170   94.68
           FIELD OFFICE
2022‐05‐01 STOCKTON OFFICE     San Francisco              3     6   46.88

2022‐08‐01 HONOLULU FIELD      San Francisco              0     0    0.00
           OFFICE
2022‐11‐01 SAN FRANCISCO       San Francisco             58   164   95.31
           FIELD OFFICE
2022‐04‐01 HONOLULU FIELD      San Francisco              0     0    0.00
           OFFICE
2022‐07‐01 SAN FRANCISCO       San Francisco             54   134   80.80
           FIELD OFFICE
2023‐04‐01 HONOLULU FIELD      San Francisco              0     0    0.00
           OFFICE
2022‐12‐01 HONOLULU FIELD      San Francisco              0     0    0.00
           OFFICE
2022‐09‐01 BAKERSFIELD         San Francisco              0     0    0.00
           OFFICE
2022‐08‐01 STOCKTON OFFICE     San Francisco              0     0    0.00




                                               SAR0243
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 251 of 280


2022‐05‐01 TAMUNING OFFICE San Francisco                0      0     0.00
           GUAM
2022‐04‐01 BAKERSFIELD     San Francisco                0      0     0.00
           OFFICE
2023‐04‐01 STOCKTON OFFICE San Francisco                0      0     0.00

2023‐01‐01 TAMUNING OFFICE San Francisco                0      0     0.00
           GUAM
2023‐01‐01 BAKERSFIELD     San Francisco               0       0     0.00
           OFFICE
2022‐12‐01 STOCKTON OFFICE San Francisco               0      0      0.00

2022‐09‐01 TAMUNING OFFICE San Francisco               0      0      0.00
           GUAM
2022‐09‐01 FRESNO OFFICE ERO San Francisco             0      0      0.00

2022‐11‐01 SACRAMENTO SUB San Francisco                0      0      0.00
           OFFICE
2022‐05‐01 FRESNO OFFICE ERO San Francisco              0      0     0.00

2022‐07‐01 SACRAMENTO SUB San Francisco                 0      0     0.00
           OFFICE
2022‐04‐01 SACRAMENTO SUB San Francisco                19     27    13.41
           OFFICE
2023‐01‐01 FRESNO OFFICE ERO San Francisco              0      0     0.00

2022‐10‐01 SAN FRANCISCO     San Francisco             57    149    82.51
           FIELD OFFICE
2022‐06‐01 SAN FRANCISCO     San Francisco             75    175    90.61
           FIELD OFFICE
2023‐03‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2022‐11‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2023‐02‐01 SAN FRANCISCO     San Francisco             46    139    86.06
           FIELD OFFICE
2022‐04‐01 STOCKTON OFFICE   San Francisco              5      8    77.78

2022‐07‐01 HONOLULU FIELD    San Francisco              0      0     0.00
           OFFICE
2023‐04‐01 TAMUNING OFFICE   San Francisco              0      0     0.00
           GUAM
2023‐04‐01 BAKERSFIELD       San Francisco              0      0     0.00
           OFFICE
2023‐03‐01 STOCKTON OFFICE   San Francisco              0      0     0.00




                                             SAR0244
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 252 of 280


2022‐12‐01 TAMUNING OFFICE   San Francisco               0      0    0.00
           GUAM
2022‐05‐01 BAKERSFIELD       San Francisco               1      2    0.56
           OFFICE
2022‐12‐01 BAKERSFIELD       San Francisco               0      0    0.00
           OFFICE
2022‐11‐01 STOCKTON OFFICE   San Francisco               0      0    0.00

2022‐08‐01 TAMUNING OFFICE San Francisco                 0      0    0.00
           GUAM
2022‐08‐01 BAKERSFIELD     San Francisco                0       0    0.00
           OFFICE
2022‐07‐01 STOCKTON OFFICE San Francisco                0      0     0.00

2022‐04‐01 TAMUNING OFFICE San Francisco                0      0     0.00
           GUAM
2022‐04‐01 FRESNO OFFICE ERO San Francisco              3      3     0.76

2022‐06‐01 SACRAMENTO SUB San Francisco                  0      0    0.00
           OFFICE
2023‐04‐01 FRESNO OFFICE ERO San Francisco               0      0    0.00

2022‐12‐01 FRESNO OFFICE ERO San Francisco               0      0    0.00

2023‐03‐01 SACRAMENTO SUB San Francisco                  0      0    0.00
           OFFICE
2022‐08‐01 FRESNO OFFICE ERO San Francisco               0      0    0.00

2022‐10‐01 SACRAMENTO SUB    San Francisco               0      0    0.00
           OFFICE
2022‐12‐01 NEW YORK FIELD    New York City               1      1    0.11
           OFFICE
2022‐04‐01 NEW YORK FIELD    New York City             421   1217   70.28
           OFFICE
2022‐08‐01 NEW YORK FIELD    New York City             217    595   36.13
           OFFICE
2023‐04‐01 NEW YORK FIELD    New York City               0      0    0.00
           OFFICE
2022‐11‐01 NEW YORK FIELD    New York City               6     18    0.24
           OFFICE
2022‐07‐01 NEW YORK FIELD    New York City             195    533   34.33
           OFFICE
2023‐02‐01 NEW YORK FIELD    New York City               0      0    0.00
           OFFICE
2022‐06‐01 NEW YORK FIELD    New York City             292    831   47.14
           OFFICE




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  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 253 of 280


2023‐03‐01 NEW YORK FIELD   New York City               1      1     0.11
           OFFICE
2022‐10‐01 NEW YORK FIELD   New York City             166    424    91.70
           OFFICE
2023‐01‐01 NEW YORK FIELD   New York City               1      1     0.13
           OFFICE
2022‐09‐01 NEW YORK FIELD   New York City             164    461    36.72
           OFFICE
2022‐05‐01 NEW YORK FIELD   New York City             435   1251    58.12
           OFFICE




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                                                             Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 254 of 280

Capacity (%) Key:
                        Greater Than 75%
                    Between 50% and 75%
                    Between 25% and 50%
                           Less Than 25%

AOR                                        (All)

Capacity (%)                               Column Labels
Row Labels                                          04‐2022 05‐2022 06‐2022 07‐2022 08‐2022 09‐2022 10‐2022 11‐2022 12‐2022 01‐2023 02‐2023 03‐2023 04‐2023 05‐2023 06‐2023 07‐2023 08‐2023 09‐2023 10‐2023 11‐2023 12‐2023 01‐2024 02‐2024 03‐2024 04‐2024 05‐2024 06‐2024 07‐2024 08‐2024 09‐2024 10‐2024 11‐2024 12‐2024 01‐2025 02‐2025 03‐2025 04‐2025
WICOMICO DETENTION FACILITY                             100     100     100     100     100 17.65      8.05       0       0    2.26       0       0       0       0       0       0    3.38       0       0       0       0       0       0       0       0
MOUNT LAUREL NJ ERO/HSI                                 100     100     100     100 40.85         0       0       0       0    1.55       0    0.58       0
LAFAYETTE RAC OFFICE                                    100     100     100      50    62.5       0 27.27         0       0       0       0       0       0
BALTIMORE DISTRICT OFFICE                               100     100                   97.79 77.87 57.92 54.06 59.55            6.16    1.19    0.96       0
SCARBOROUGH ERO SUB OFFICE                              100     100     100     100     100    87.3     100     100 32.93         0       0       0       0
CHARLOTTE ERO OFFICE                                    100     100     100     100     100     100     100     100     100     100     100     100     100     100     100 33.02         0       0       0       0       0    0.99       0       0       0
JACKSONVILLE CO‐LO OFFICE                               100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100    4.19       0       0       0       0       0       0       0       0
DALLAS FIELD OFFICE                                     100     100     100 14.54      0.58    0.69    0.67    0.25    0.28    0.25    0.33    0.07       0
MIRAMAR ERO OFFICE                                      100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100
EUGENE OFFICE                                           100
SAN ANTONIO ERO RESIDENT OFFICE                         100 54.24      1.41    1.48       0    2.33       0       0       0       0       0       0       0
FAYETTEVILLE ERO OFFICE                                 100     100
SYRACUSE OFFICE                                         100       0       0       0       0       0       0       0       0       0       0       0       0
GULFPORT RAC OFFICE                                     100     100     100     100      60      10    3.03 22.22      5.88    5.88       0      20       0
JACKSON RAC OFFICE                                      100
LOS ANGELES FIELD OFFICE                                100     100 48.26      0.22    0.24       0    0.17       0       0       0       0       0       0
CHICAGO FIELD OFFICE                                  98.82 98.05 97.19 97.06 88.95            92.5 83.82 85.63 83.82 98.21 88.89 67.31                   0
ATLANTA FEDERAL OFFICE                                98.74 85.55       100 95.83 94.83 80.77 98.33             100 90.77 92.31 82.26 84.48              85 91.38 98.11 90.91 97.33 89.17 86.92 88.46 84.03                    93.1 81.71        75       0
SAXON BUILDING                                        97.24 58.37      11.3    2.09       0       0       0       0    2.37       0       0       0       0
ORLANDO CO‐LO OFFICE                                  97.04 86.11 88.94 98.82 98.75 86.19               100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100     100
SAN FRANCISCO FIELD OFFICE                            96.71 96.99 90.61        80.8 93.21 86.35 82.51 95.31 90.29                86 86.06 94.68        44.3
ERO/HSI INDIANAPOLIS OFFICE                           96.69 97.22      93.6 85.83 85.94 89.06 89.06 88.39 89.06 93.75 86.67 58.33                         0
WASHINGTON FIELD OFFICE                               96.44 83.78 61.39           0       0    1.42       0    2.18       0       0       0       0       0
LAS VEGAS HSI, ERO AND OPLA                           95.16    8.11    3.32       0    3.39       0       0       0       0       0       0       0       0
TAMPA SUB OFFICE                                      94.74 97.73 96.15 90.28 94.93 91.23 92.59 92.59 92.98 93.52 89.47                        91.3 83.33
NEW ORLEANS OFFICE                                    93.06     100 97.29      23.3 18.63 24.44 21.48          20.7 23.56 21.48        5.08       0 31.25
CHATTANOOGA RAC OFFICE                                91.67       0       0       0       0       0       0       0       0       0       0       0       0
ERO ‐ KANSAS CITY FIELD OFFICE                        88.43 93.65      87.5 60.87 66.88        1.79       0       0       0       0       0       0       0
WEST VALLEY CITY OFFICE                               88.09 36.33 10.64 12.89          9.94       0       0       0    4.73       0       0       0       0
WESTERVILLE CO‐LO OFFICE                              84.87    68.6 52.94 74.44 48.78          7.96    2.04       0       0    1.89       0       0       0
BLUE ASH BUILDING                                     84.52 86.72 42.86        3.33       0       0       0       0    4.38       0       0       0       0
CHARLESTON ERO/HSI OFFICE                             83.94 96.67 96.67 97.32 91.88            1.79       0       0       0       0       0       0       0
BATON ROUGE RAC OFFICE                                83.61      80 54.35        36 22.58 51.02           0       0       0      20 60.98         0       0
SAINT PAUL ICE OFFICE                                 82.14 93.04 95.21 86.86 87.97 96.15 93.75 93.75                  87.5 95.19 88.89          90       0
HOUSTON FIELD OFFICE                                  81.13     100     100     100     100     100     100     100     100     100     100 10.31      7.11    7.12    7.68    5.26     6.2    6.94    7.91    7.88    7.17     7.6    8.38    0.43       0
NASHVILLE SAC OFFICE                                  80.92 86.26 95.16 91.67 67.95 67.95              87.5 83.33 76.67 26.67            25      30 16.67 43.33 36.67 22.22 33.33 29.17                  40 33.33 20.83          20      30 20.83 83.33
STOCKTON OFFICE                                       77.78 46.88         0       0       0       0       0       0       0       0       0       0       0
TALLAHASSEE OFFICE COMMMONWEALTH                      77.14 89.39 25.56           0       0       0       0       0       0       0       0       0       0
DOVER OFFICE                                          75.58 68.75 96.88 95.83 93.75 92.86 94.44                72.5 73.75 50.96           0       0       0
SAINT LOUIS FILE CONTROL OFFICE                       73.08      15 18.18      9.72 11.76         0       0       0       0       0       0       0       0
PHILADELPHIA OFFICE N 8TH ST.                         71.01    3.33    2.96    1.17       0       0       0       0       0    1.56     1.5       0       0
NEW YORK FIELD OFFICE                                 70.28 58.12 47.14 34.33 36.13 36.72              91.7    0.24    0.11    0.13       0    0.11       0
PROVO OFFICE                                          70.24 86.25 79.55        87.5 82.95 88.75 16.67             0       0       0       0       0       0
PETER W. RODINO JR FEDERAL BLDG                       68.04 76.64      6.14     0.7    0.19       0       0     0.6    0.47     0.2       0    0.19       0
ALBUQUERQUE OFFICE                                    63.64    1.75       0       0       0       0       0       0       0       0       0       0       0
MILWAUKEE FIELD OFFICE                                58.62 85.07 79.07 79.41 79.78 82.86 82.86                  60 69.23 78.08 74.29 80.95 71.83 77.27 72.22 78.49 55.56                      43.4       0       0       0       0       0       0       0
MONTGOMERY ERO OFFICE                                 55.56      50       0       0       0       0       0       0       0       0       0       0       0
HARTFORD SUB OFFICE                                   55.22    5.13    6.87    5.54 27.57      6.28    6.84    0.85    2.89    1.52       0       0       0
LOUISVILLE FIELD OFFICE                                   50 42.39 43.44 49.38 20.69           9.25       0       0       0       0       0       0       0
GRAND FORKS ERO OFFICE                                    50 40.63        0       0       0       0       0       0       0       0       0       0       0
DES MOINES ICE OFFICE                                     50   5.56       0       0       0       0       0       0       0       0       0       0       0
MEMPHIS ERO OFFICE BUSINESS PARK                      44.07 49.06 47.37 39.34            20 20.31 12.24 14.21          1.42       0       0       0       0
LITTLE ROCK ERO OFFICE                                36.11       0    1.85       0       0       0       0       0       0       0       0       0       0
HOMEWOOD AL ERO/HSI OFFICE                            35.48    7.58       0       0       0       0    2.29       0       0       0       0       0       0
HSI/ERO SPRINGFIELD MO OFFICE                         33.33       0       0       0       0       0       0       0       0       0       0       0       0
ETOWAH ERO + 287G OFFICE                              28.57       0       0       0       0       0       0       0       0       0       0    7.41       0
BURLINGTON MA OFFICE                                  20.23    0.45    0.28    0.67    0.22       0    0.17       0       0     0.5    0.16    0.79       0
PITTSBURGH SUB OFFICE                                     20      0    2.68       0       0       0       0       0       0    1.92       0       0       0
NORTH PLATTE OFFICE                                       20   2.33       0       0    1.84       4    6.67    0.62    0.59    0.62    1.94    3.03 33.33
KNOXVILLE RAC OFFICE                                  19.46    6.75       0       0       0       0       0       0       0       0       0    1.42       0
OGDEN QUICK RESPONSE TEAM                             18.46       0       0       0       0       0       0       0       0       0       0       0       0
RICHMOND VA, HQ COOP OFFICE                           16.67       0       0       0       0       0       0       0       0       0       0       0       0
CLEVELAND OFFICE                                      15.85    3.85    3.57       0       0       0       0       0       0       0       0       0       0
MIDLAND ERO OFFICE                                    14.88    3.18    1.12    5.31    2.16       0       0       0       0       0       0       0       0
OMAHA FIELD OFFICE                                    14.29       0       0       0     2.7       0       0       0       0       0       0       0       0
SACRAMENTO SUB OFFICE                                 13.41     6.5       0       0       0       0       0       0    0.59       0       0       0       0
FORT SMITH RAC OFFICE                                 13.16       0       0       0       0       0       0       0       0       0       0       0       0
WICHITA ICE OFFICE                                     12.5       0    1.19       0       0       0       0       0       0       0       0       0       0
NORFOLK ASAC OFFICE                                   12.12    0.98    1.47       0       0       0       0       0       0       0       0       0       0
SIOUX CITY ERO BUILDING                               11.11    8.57       0       0       0       0       0       0       0       0       0       0       0
SPOKANE OFFICE                                        10.71       0       0       0       0       0       0       0       0       0       0       0       0
RENO OFFICE                                           10.34       0       0       0       0       0       0       0       0       0       0       0       0
OKLAHOMA CITY ‐ ERO                                   10.05       0       0       0       0       0       0       0       0       0       0    0.64       0
MOBILE RAC OFFICE                                      9.43       0       0       0       0       0       0       0       0      25       0       0       0
CEDAR RAPIDS IA RAC OFFICE                             8.33      25       0       0       0       0       0       0       0       0       0       0       0
SEATTLE FIELD OFFICE                                     8.2      0       0       0       0       0       0       0       0       0       0       0       0
MANCHESTER ICE                                         7.22       0       0       0       0       0    1.85       0       0       0       0       0       0
ERO ‐ FREDERICK CO OFFICE                              7.14       0       0       0       0       0       0       0       0       0       0       0       0
WENATCHEE INVESTIGATIONS OFFICE                        7.14       0       0       0       0       0       0       0       0       0       0       0       0
TUCSON OFFICE                                          6.67       0       0       0       0       0       0       0       0       0       0       0       0
YORK ERO FIELD OFFICE                                    6.1      0       0       0       0       0       0       0       0       0       0       0       0




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BUFFALO FIELD OFFICE CO‐LO SITE           6.05      0      0   0      0      0      0   0   0   0   0   0   0
CRAIG OFFICE                              5.88      0      0   0      0      0      0   0   0   0   0   0   0
BOISE FIELD OFFICE                        5.13      0      0   0      0      0      0   0   0   0   0   0   0
HELENA FIELD OFFICE                          5      0      0   0      0      0      0   0   0   0   0   0   0
DETROIT FIELD OFFICE                      4.16   3.24   0.29   0      0      0      0   0   0   0   0   0   0
HARLINGEN FIELD OFFICE                    3.95      0   0.46   0      0   1.37      0   0   0   0   0   0   0
GRAND ISLAND ERO/HSI OFFICE                3.8   6.91      0   0      0      0      0   0   0   0   0   0   0
DENVER FOD AND CHIEF COUNSEL OFFICE       3.47   0.53      0   0      0      0      0   0   0   0   0   0   0
BOSSIER CITY                              3.13   5.77      0   0   3.45      0      0   0   0   0   0   0   0
ICE COLOCATION EL PASO                    3.11      0      0   0      0      0      0   0   0   0   0   0   0
CORTEZ CIRCLE OFFICE                      3.03      0      0   0      0      0      0   0   0   0   0   0   0
TWIN FALLS FIELD ERO                      2.88      0      0   0      0      0      0   0   0   0   0   0   0
LATHAM OFFICE                             2.42      0      0   0      0      0   4.17   0   0   0   0   0   0
SANTA ANA OFFICE                          2.39   0.34      0   0      0      0      0   0   0   0   0   0   0
SAN BERNARDINO OFFICE                     2.39   0.24      0   0      0      0      0   0   0   0   0   0   0
RICHLAND OFFICE                           0.97      0      0   0      0      0      0   0   0   0   0   0   0
FRESNO OFFICE ERO                         0.76      0      0   0      0      0      0   0   0   0   0   0   0
PHOENIX FIELD OFFICE                       0.7   0.13   0.18   0      0   0.13      0   0   0   0   0   0   0
FLORENCE OFFICE                            0.7      0      0   0      0      0      0   0   0   0   0   0   0
PIKE COUNTY PRISON DETENTION CENTER        0.6      0      0   0      0      0      0   0   0   0   0   0   0
PORTLAND OFFICE                           0.58      0      0   0      0      0      0   0   0   0   0   0   0
CHARLESTON FIELD OFFICE                   0.49   1.18      0   0      0      0      0   0   0   0   0   0   0
SAN DIEGO DISTRICT FIELD OFFICE            0.2   0.19      0   0      0   0.06      0   0   0   0   0   0   0
ALAMOSA OFFICE                               0      0      0   0      0      0      0   0   0   0   0   0   0
TAMUNING OFFICE GUAM                         0      0      0   0      0      0      0   0   0   0   0   0   0
DURANGO OFFICE ERO                           0      0      0   0      0      0      0   0   0   0   0   0   0
ROSWELL, NM ERO                              0      0      0   0      0      0      0   0   0   0   0   0   0
IDAHO FALLS ICE OFFICE                       0      0      0   0      0      0      0   0   0   0   0   0   0
ANCHORAGE OFFICE                             0      0      0   0      0      0      0   0   0   0   0   0   0
BAKERSFIELD OFFICE                           0   0.56      0   0      0      0      0   0   0   0   0   0   0
SIOUX FALLS ICE OFFICE                       0      0      0   0      0      0      0   0   0   0   0   0   0
IMPERIAL OFFICE                              0      0      0   0      0      0      0   0   0   0   0   0   0
MEDFORD OFFICE                               0      0      0   0      0      0      0   0   0   0   0   0   0
CASPER SUB‐OFFICE                            0      0      0   0      0      0      0   0   0   0   0   0   0
ST. ALBANS OFFICE                            0      0      0   0      0      0      0   0   0   0   0   0   0
RAPID CITY ICE OFFICE                        0      0      0   0      0      0      0   0   0   0   0   0   0
ST. GEORGE OFFICE                            0      0      0   0      0      0      0   0   0   0   0   0   0
SAN PATRICIO OFFICE CENTER                   0      0      0   0      0      0      0   0   0   0   0   0   0
DEPORTATION PROCESSING CENTER                0      0      0   0      0      0      0   0   0   0   0   0   0
GRAND JUNCTION RESIDENT AGENT IN CHARGE      0      0      0   0      0      0      0   0   0   0   0   0   0
CHAMPLAIN ERO OFFICE                         0      0      0   0      0      0      0   0   0   0   0   0   0
YAKIMA OFFICE ‐ ERO                          0      0      0   0      0      0      0   0   0   0   0   0   0
GLENWOOD SPRING QUICK RESPONSE TEAM          0      0      0   0      0      0      0   0   0   0   0   0   0
ERO PROCESSING CENTER                        0      0      0   0      0      0      0   0   0   0   0   0   0
HONOLULU FIELD OFFICE                        0      0      0   0      0      0      0   0   0   0   0   0   0




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Capacity (%) Key:
                          Greater Than 75%
                      Between 50% and 75%
                      Between 25% and 50%
                             Less Than 25%

AOR                                          (All)

                                             Column Labels
                                                      04‐2022                    05‐2022                   06‐2022                   07‐2022                   08‐2022                   09‐2022                   10‐2022                   11‐2022                   12‐2022                   01‐2023                   02‐2023                   03‐2023                   04‐2023                   05‐2023                   06‐2023                   07‐2023                   08‐2023                   09‐2023                   10‐2023                   11‐2023                   12‐2023                   01‐2024                   02‐2024                   03‐2024                   04‐2024                   05‐2024                   06‐2024                   07‐2024                   08‐2024                   09‐2024                   10‐2024                   11‐2024                   12‐2024                   01‐2025                   02‐2025                   03‐2025                   04‐2025
Row Labels                                   Appointments     Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%) Appointments Capacity (%)
NEW YORK FIELD OFFICE                                     421        70.28           435       58.12           292       47.14           195       34.33           217       36.13           164       36.72           166        91.7             6        0.24             1        0.11             1        0.13             0            0            1        0.11             0           0
WEST VALLEY CITY OFFICE                                   242        88.09           120       36.33            14       10.64            13       12.89            15        9.94             0           0             0           0             0            0            1        4.73             0            0            0            0            0           0             0           0
PETER W. RODINO JR FEDERAL BLDG                           227        68.04           223       76.64            21        6.14             2          0.7            1        0.19             0           0             0           0             2          0.6            2        0.47             1          0.2            0            0            1        0.19             0           0
DALLAS FIELD OFFICE                                       143          100           169         100           168         100            70       14.54             5        0.58             5        0.69             4        0.67             1        0.25             2        0.28             3        0.25             4        0.33             1        0.07             0           0
HOUSTON FIELD OFFICE                                      134        81.13            88         100            85         100            75         100            95         100            80         100            81         100            85         100            80         100            80         100            75         100            56       10.31            35        7.11            44        7.12            37        7.68            32        5.26            45          6.2           36        6.94            39        7.91            39        7.88            35        7.17            43          7.6           39        8.38             2        0.43             0           0
NEW ORLEANS OFFICE                                        122        93.06           166         100           136       97.29            20        23.3            19       18.63            23       24.44            18       21.48            17        20.7            22       23.56            20       21.48             6        5.08             0           0             1       31.25
LOS ANGELES FIELD OFFICE                                  102          100           127         100           113       48.26             1        0.22             2        0.24             0           0             1        0.17             0            0            0           0             0            0            0            0            0           0             0           0
MIRAMAR ERO OFFICE                                        101          100           115         100           109         100           100         100           115         100           105         100           100         100            98         100           109         100           100         100            95         100           115         100           100         100           111         100           104         100           100         100           115         100           100         100           105         100           105         100           100         100           105         100           100         100           106         100            25         100
SAN ANTONIO ERO RESIDENT OFFICE                            84          100            71       54.24             2        1.41             1        1.48             0            0            2        2.33             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SAN FRANCISCO FIELD OFFICE                                 78        96.71           124       96.99            75       90.61            54        80.8            74       93.21            60       86.35            57       82.51            58       95.31            51       90.29            49          86            46       86.06            61       94.68            11        44.3
BURLINGTON MA OFFICE                                       69        20.23             2        0.45             1        0.28             2        0.67             1        0.22             0           0             1        0.17             0            0            0           0             1          0.5            1        0.16             3        0.79             0           0
WASHINGTON FIELD OFFICE                                    56        96.44            62       83.78            41       61.39             0            0            0            0            1        1.42             0           0             2        2.18             0           0             0            0            0            0            0           0             0           0
CHICAGO FIELD OFFICE                                       55        98.82            67       98.05            73       97.19            31       97.06            42       88.95            38        92.5            36       83.82            39       85.63            35       83.82            35       98.21            34       88.89            28       67.31             0           0
MOUNT LAUREL NJ ERO/HSI                                    51          100            63         100            63         100            60         100            45       40.85             0           0             0           0             0            0            0           0             2        1.55             0            0            1        0.58             0           0
PHILADELPHIA OFFICE N 8TH ST.                              48        71.01             2        3.33             4        2.96             1        1.17             0            0            0           0             0           0             0            0            0           0             2        1.56             1          1.5            0           0             0           0
ERO/HSI INDIANAPOLIS OFFICE                                43        96.69            55       97.22            48        93.6            33       85.83            38       85.94            33       89.06            35       89.06            36       88.39            32       89.06            35       93.75            29       86.67            25       58.33             0           0
ORLANDO CO‐LO OFFICE                                       40        97.04            48       86.11            55       88.94            46       98.82            51       98.75            45       86.19            42         100            42         100            46         100            44         100            31         100            35         100            29         100            31         100            29         100            26         100            36         100            31         100            29         100            28         100            21         100            31         100            31         100            27         100             8         100
TAMPA SUB OFFICE                                           40        94.74            43       97.73            37       96.15            35       90.28            42       94.93            38       91.23            33       92.59            36       92.59            39       92.98            42       93.52            34       89.47            45        91.3             7       83.33
LOUISVILLE FIELD OFFICE                                    39           50            33       42.39            33       43.44            31       49.38            12       20.69             4        9.25             0           0             0            0            0           0             0            0            0            0            0           0             0           0
NASHVILLE SAC OFFICE                                       38        80.92            45       86.26            18       95.16            13       91.67            17       67.95            18       67.95            16        87.5            14       83.33            14       76.67             9       26.67             8          25             9          30             8       16.67             9       43.33             9       36.67             7       22.22            10       33.33             8       29.17             9          40             8       33.33             8       20.83             9          20             9          30             8       20.83             2       83.33
CHARLESTON ERO/HSI OFFICE                                  38        83.94            51       96.67            53       96.67            56       97.32            56       91.88             1        1.79             0           0             0            0            0           0             0            0            0            0            0           0             0           0
LAS VEGAS HSI, ERO AND OPLA                                34        95.16             4        8.11             2        3.32             0            0            2        3.39             0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
HARTFORD SUB OFFICE                                        32        55.22             4        5.13             5        6.87             8        5.54            25       27.57             9        6.28             9        6.84             6        0.85             2        2.89             1        1.52             0            0            0           0             0           0
MEMPHIS ERO OFFICE BUSINESS PARK                           31        44.07            37       49.06            36       47.37            25       39.34            22           20           16       20.31            12       12.24            15       14.21             1        1.42             0            0            0            0            0           0             0           0
CHARLOTTE ERO OFFICE                                       30          100            26         100            28         100            24         100            28         100            26         100            24         100            26         100            26         100            26         100            24         100            28         100            24         100            29         100            26         100            17       33.02             0            0            0           0             0           0             0           0             0           0             1        0.99             0           0             0           0             0           0
SAINT PAUL ICE OFFICE                                      29        82.14            36       93.04            37       95.21            33       86.86            23       87.97            22       96.15            22       93.75            25       93.75            27        87.5            22       95.19            18       88.89            26          90             0           0
ATLANTA FEDERAL OFFICE                                     29        98.74            32       85.55            31         100            25       95.83            36       94.83            33       80.77            26       98.33            25         100            23       90.77            22       92.31            19       82.26            22       84.48            19          85            23       91.38            25       98.11            18       90.91            26       97.33            18       89.17            23       86.92            23       88.46            18       84.03            20        93.1            15       81.71            12          75             0           0
DETROIT FIELD OFFICE                                       28         4.16            25        3.24             7        0.29             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SAXON BUILDING                                             27        97.24            26       58.37             4        11.3             1        2.09             0            0            0           0             0           0             0            0            1        2.37             0            0            0            0            0           0             0           0
BATON ROUGE RAC OFFICE                                     24        83.61            22           80           17       54.35             3           36            2       22.58             1       51.02             0           0             0            0            0           0             1           20            1       60.98             0           0             0           0
ERO ‐ KANSAS CITY FIELD OFFICE                             24        88.43            34       93.65            27        87.5            22       60.87            25       66.88             1        1.79             0           0             0            0            0           0             0            0            0            0            0           0             0           0
JACKSONVILLE CO‐LO OFFICE                                  21          100            33         100            25         100            24         100            28         100            24         100            24         100            24         100            25         100            22         100            22         100            30         100            24         100            26         100            24         100            26         100            26         100            24         100            24         100            26         100            24         100            24         100            22         100            26         100            26         100            26         100            22         100            28         100             7        4.19             0           0             0           0             0           0             0           0             0           0             0           0             0           0             0           0
WESTERVILLE CO‐LO OFFICE                                   21        84.87            26        68.6            28       52.94            26       74.44            24       48.78             4        7.96             1        2.04             0            0            0           0             1        1.89             0            0            0           0             0           0
SACRAMENTO SUB OFFICE                                      19        13.41             8          6.5            0           0             0            0            0            0            0           0             0           0             0            0            1        0.59             0            0            0            0            0           0             0           0
BLUE ASH BUILDING                                          19        84.52            21       86.72            12       42.86             1        3.33             0            0            0           0             0           0             0            0            1        4.38             0            0            0            0            0           0             0           0
BALTIMORE DISTRICT OFFICE                                  19          100            21         100                                                               296       97.79           238       77.87           171       57.92           160       54.06           165       59.55            21        6.16             2        1.19             2        0.96             0           0
TALLAHASSEE OFFICE COMMMONWEALTH                           18        77.14            32       89.39             8       25.56             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SCARBOROUGH ERO SUB OFFICE                                 17          100            21         100            21         100            20         100            23         100            19        87.3            20         100            20         100            14       32.93             0            0            0            0            0           0             0           0
RICHMOND VA, HQ COOP OFFICE                                17        16.67             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
MIDLAND ERO OFFICE                                         16        14.88            10        3.18             7        1.12            12        5.31             3        2.16             0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
BUFFALO FIELD OFFICE CO‐LO SITE                            16         6.05             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SYRACUSE OFFICE                                            15          100             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
OKLAHOMA CITY ‐ ERO                                        14        10.05             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            1        0.64             0           0
SEATTLE FIELD OFFICE                                       12           8.2            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
MILWAUKEE FIELD OFFICE                                     12        58.62            17       85.07            20       79.07            16       79.41            21       79.78            17       82.86            17       82.86            16           60           13       69.23            17       78.08            15       74.29            20       80.95            15       71.83            19       77.27            13       72.22            12       78.49            14       55.56            13        43.4             0           0             0           0             0           0             0            0            0           0             0           0             0           0
PROVO OFFICE                                               12        70.24            16       86.25            15       79.55            13        87.5            15       82.95            14       88.75             2       16.67             0            0            0           0             0            0            0            0            0           0             0           0
DOVER OFFICE                                               12        75.58            14       68.75            16       96.88            14       95.83            16       93.75            14       92.86            12       94.44            15        72.5            16       73.75             9       50.96             0            0            0           0             0           0
KNOXVILLE RAC OFFICE                                       12        19.46             3        6.75             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            1        1.42             0           0
LITTLE ROCK ERO OFFICE                                     11        36.11             0            0            1        1.85             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
OGDEN QUICK RESPONSE TEAM                                  10        18.46             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
HOMEWOOD AL ERO/HSI OFFICE                                 10        35.48             3        7.58             0           0             0            0            0            0            0           0             1        2.29             0            0            0           0             0            0            0            0            0           0             0           0
WICOMICO DETENTION FACILITY                                10          100            13         100            14         100            12         100            14         100             8       17.65             2        8.05             0            0            0           0             1        2.26             0            0            0           0             0           0             0           0             0           0             0           0             1        3.38             0           0             0           0             0           0             0           0             0            0            0           0             0           0             0           0
OMAHA FIELD OFFICE                                         10        14.29             0            0            0           0             0            0            1          2.7            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SAN BERNARDINO OFFICE                                      10         2.39             1        0.24             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
NORTH PLATTE OFFICE                                         9           20             2        2.33             0           0             0            0            1        1.84             3           4             7        6.67             1        0.62             1        0.59             1        0.62             1        1.94             2        3.03             1       33.33
SAINT LOUIS FILE CONTROL OFFICE                             9        73.08             8          15             8       18.18             7        9.72             3       11.76             0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
PHOENIX FIELD OFFICE                                        9           0.7            1        0.13             1        0.18             0            0            0            0            1        0.13             0           0             0            0            0           0             0            0            0            0            0           0             0           0
HARLINGEN FIELD OFFICE                                      8         3.95             0            0            1        0.46             0            0            0            0            1        1.37             0           0             0            0            0           0             0            0            0            0            0           0             0           0
LAFAYETTE RAC OFFICE                                        7          100            11         100            10         100             7          50             7        62.5             0           0             1       27.27             0            0            0           0             0            0            0            0            0           0             0           0
GRAND ISLAND ERO/HSI OFFICE                                 6           3.8            5        6.91             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
GULFPORT RAC OFFICE                                         6          100             6         100             6         100             4         100             4           60            1          10             1        3.03             5       22.22             2        5.88             2        5.88             0            0            4          20             0           0
SANTA ANA OFFICE                                            6         2.39             1        0.34             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
DES MOINES ICE OFFICE                                       6            50            1        5.56             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SIOUX CITY ERO BUILDING                                     6        11.11             2        8.57             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ALBUQUERQUE OFFICE                                          5        63.64             1        1.75             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CLEVELAND OFFICE                                            5        15.85             1        3.85             1        3.57             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
WICHITA ICE OFFICE                                          5         12.5             0            0            1        1.19             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CHATTANOOGA RAC OFFICE                                      5        91.67             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
PITTSBURGH SUB OFFICE                                       5            20            0            0            1        2.68             0            0            0            0            0           0             0           0             0            0            0           0             1        1.92             0            0            0           0             0           0
DENVER FOD AND CHIEF COUNSEL OFFICE                         5         3.47             1        0.53             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
STOCKTON OFFICE                                             5        77.78             3       46.88             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
NORFOLK ASAC OFFICE                                         5        12.12             1        0.98             1        1.47             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
MANCHESTER ICE                                              4         7.22             0            0            0           0             0            0            0            0            0           0             1        1.85             0            0            0           0             0            0            0            0            0           0             0           0
MONTGOMERY ERO OFFICE                                       4        55.56             1          50             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
BOSSIER CITY                                                4         3.13             1        5.77             0           0             0            0            6        3.45             0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ICE COLOCATION EL PASO                                      4         3.11             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
RENO OFFICE                                                 4        10.34             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
FAYETTEVILLE ERO OFFICE                                     4          100             2         100
FRESNO OFFICE ERO                                           3         0.76             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SAN DIEGO DISTRICT FIELD OFFICE                             3           0.2            3        0.19             0           0             0            0            0            0            1        0.06             0           0             0            0            0           0             0            0            0            0            0           0             0           0
GRAND FORKS ERO OFFICE                                      3            50            3       40.63             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ETOWAH ERO + 287G OFFICE                                    3        28.57             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            1        7.41             0           0
JACKSON RAC OFFICE                                          2          100
TUCSON OFFICE                                               2         6.67             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
FORT SMITH RAC OFFICE                                       2        13.16             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
MOBILE RAC OFFICE                                           2         9.43             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             2           25            0            0            0           0             0           0
BOISE FIELD OFFICE                                          2         5.13             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
PORTLAND OFFICE                                             2         0.58             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
YORK ERO FIELD OFFICE                                       2           6.1            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CORTEZ CIRCLE OFFICE                                        2         3.03             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
FLORENCE OFFICE                                             1           0.7            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
TWIN FALLS FIELD ERO                                        1         2.88             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
HSI/ERO SPRINGFIELD MO OFFICE                               1        33.33             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
RICHLAND OFFICE                                             1         0.97             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ERO ‐ FREDERICK CO OFFICE                                   1         7.14             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
EUGENE OFFICE                                               1          100
SPOKANE OFFICE                                              1        10.71             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CHARLESTON FIELD OFFICE                                     1         0.49             2        1.18             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CRAIG OFFICE                                                1         5.88             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
PIKE COUNTY PRISON DETENTION CENTER                         1           0.6            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
WENATCHEE INVESTIGATIONS OFFICE                             1         7.14             0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CEDAR RAPIDS IA RAC OFFICE                                  1         8.33             1           25            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
LATHAM OFFICE                                               1         2.42             0            0            0           0             0            0            0            0            0           0             1        4.17             0            0            0           0             0            0            0            0            0           0             0           0
HELENA FIELD OFFICE                                         1             5            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ERO PROCESSING CENTER                                       0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
TAMUNING OFFICE GUAM                                        0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
IDAHO FALLS ICE OFFICE                                      0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ALAMOSA OFFICE                                              0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
IMPERIAL OFFICE                                             0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
GRAND JUNCTION RESIDENT AGENT IN CHARGE                     0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
HONOLULU FIELD OFFICE                                       0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SIOUX FALLS ICE OFFICE                                      0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
YAKIMA OFFICE ‐ ERO                                         0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ROSWELL, NM ERO                                             0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CASPER SUB‐OFFICE                                           0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ST. ALBANS OFFICE                                           0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
DEPORTATION PROCESSING CENTER                               0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ST. GEORGE OFFICE                                           0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
GLENWOOD SPRING QUICK RESPONSE TEAM                         0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
BAKERSFIELD OFFICE                                          0             0            1        0.56             0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
RAPID CITY ICE OFFICE                                       0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
MEDFORD OFFICE                                              0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
ANCHORAGE OFFICE                                            0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
CHAMPLAIN ERO OFFICE                                        0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
DURANGO OFFICE ERO                                          0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0
SAN PATRICIO OFFICE CENTER                                  0             0            0            0            0           0             0            0            0            0            0           0             0           0             0            0            0           0             0            0            0            0            0           0             0           0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       SAR0249
                                                                                                                                                                                                                                                    Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 257 of 280

Capacity (%) Key:
                          Greater Than 75%
                      Between 50% and 75%
                      Between 25% and 50%
                             Less Than 25%

AOR                                          (All)

                                             Column Labels
                                                             04‐2022                            05‐2022                          06‐2022                          07‐2022                          08‐2022                            09‐2022                           10‐2022                             11‐2022                              12‐2022                             01‐2023                               02‐2023                              03‐2023                             04‐2023                             05‐2023                             06‐2023                             07‐2023                             08‐2023                              09‐2023                            10‐2023                             11‐2023                             12‐2023                             01‐2024                               02‐2024                             03‐2024                             04‐2024                             05‐2024                             06‐2024                             07‐2024                             08‐2024                             09‐2024                           10‐2024                            11‐2024                            12‐2024                            01‐2025                             02‐2025                            03‐2025
                                                                       Appointm Capacity                 Appointm Capacity                Appointm Capacity                Appointm Capacity                           Capacity                           Capacity                           Capacity                            Capacity                             Capacity                            Capacity                             Capacity                             Capacity                            Capacity                            Capacity                            Capacity                            Capacity                            Capacity                             Capacity                            Capacity                            Capacity                            Capacity                            Capacity                             Capacity                            Capacity                            Capacity                            Capacity                            Capacity                            Capacity                            Capacity                            Capacity                           Capacity                           Capacity                           Capacity                           Capacity                           Capacity
Row Labels                                   Noncitizen                ents      (%)        Noncitizen ents        (%)       Noncitizen ents        (%)       Noncitizen ents        (%)       Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments (%)         Noncitizen Appointments (%)          Noncitizen Appointments (%)         Noncitizen Appointments (%)          Noncitizen Appointments (%)          Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)          Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)          Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)         Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments (%)        Noncitizen Appointments
NEW YORK FIELD OFFICE                                          1217          421     70.28          1251       435     58.12          831       292     47.14          533       195     34.33          595        217     36.13           461        164     36.72           424        166        91.7          18           6        0.24             1          1        0.11            1          1        0.13             0          0            0            1          1        0.11            0          0           0
PETER W. RODINO JR FEDERAL BLDG                                 550          227     68.04           663       223     76.64           46        21      6.14            5         2       0.7            1          1      0.19             0          0          0            0          0           0           4           2          0.6            3          2        0.47            1          1          0.2            0          0            0            1          1        0.19            0          0           0
WEST VALLEY CITY OFFICE                                         416          242     88.09           209       120     36.33           36        14     10.64           45        13     12.89           47         15      9.94             0          0          0            0          0           0           0           0            0            1          1        4.73            0          0            0            0          0            0            0          0           0            0          0           0
DALLAS FIELD OFFICE                                             357          143       100           439       169       100          379       168       100          159        70     14.54            8          5      0.58            10          5      0.69             8          4        0.67           3           1        0.25             4          2        0.28            3          3        0.25             4          4        0.33             1          1        0.07            0          0           0
HOUSTON FIELD OFFICE                                            286          134     81.13           247        88       100          244        85       100          171        75       100          243         95       100           205         80       100           190         81         100         195          85         100           183         80         100          183         80         100           159         75         100           110         56       10.31           91         35        7.11          107         44        7.12          102         37        7.68           94         32        5.26          114         45          6.2           95         36        6.94           96         39        7.91          95          39        7.88           99         35        7.17          123         43          7.6          117         39        8.38            5          2        0.43            0          0           0
LOS ANGELES FIELD OFFICE                                        256          102       100           351       127       100          314       113     48.26            3         1      0.22            3          2      0.24             0          0          0            2          1        0.17           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
NEW ORLEANS OFFICE                                              232          122     93.06           309       166       100          274       136     97.29           50        20      23.3           45         19     18.63            45         23     24.44            38         18       21.48          36          17        20.7            44         22       23.56           35         20       21.48             9          6        5.08             0          0           0            1          1       31.25
MIRAMAR ERO OFFICE                                              231          101       100           310       115       100          306       109       100          272       100       100          311        115       100           265        105       100           252        100         100         242          98         100           259        109         100          231        100         100           226         95         100           268        115         100          213        100         100          248        111         100          252        104         100          227        100         100          268        115         100           251        100         100          233        105         100         283         105         100          251        100         100          249        105         100           231        100         100          221        106         100           46         25         100
SAN FRANCISCO FIELD OFFICE                                      198           78     96.71           330       124     96.99          175        75     90.61          134        54      80.8          172         74     93.21           150         60     86.35           149         57       82.51         164          58       95.31           154         51       90.29          148         49           86          139         46       86.06           170         61       94.68           28         11        44.3
BURLINGTON MA OFFICE                                            181           69     20.23             6         2      0.45            3         1      0.28            6         2      0.67            2          1      0.22             0          0          0            1          1        0.17           0           0            0            0          0           0            5          1          0.5            1          1        0.16             8          3        0.79            0          0           0
SAN ANTONIO ERO RESIDENT OFFICE                                 181           84       100           128        71     54.24            3         2      1.41            3         1      1.48            0          0          0            5          2      2.33             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
WASHINGTON FIELD OFFICE                                         137           56     96.44           155        62     83.78          118        41     61.39            0         0         0            0          0          0            2          1      1.42             0          0           0           3           2        2.18             0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CHICAGO FIELD OFFICE                                            136           55     98.82           158        67     98.05          169        73     97.19           97        31     97.06          127         42     88.95           110         38      92.5            99         36       83.82         110          39       85.63           101         35       83.82           99         35       98.21           102         34       88.89            77         28       67.31            0          0           0
MOUNT LAUREL NJ ERO/HSI                                         131           51       100           173        63       100          168        63       100          169        60       100          129         45     40.85             0          0          0            0          0           0           0           0            0            0          0           0            5          2        1.55             0          0            0            2          1        0.58            0          0           0
ERO/HSI INDIANAPOLIS OFFICE                                     127           43     96.69           155        55     97.22          113        48      93.6           70        33     85.83           96         38     85.94            81         33     89.06            79         35       89.06          87          36       88.39            82         32       89.06           85         35       93.75            75         29       86.67            69         25       58.33            0          0           0
PHILADELPHIA OFFICE N 8TH ST.                                   121           48     71.01             7         2      3.33            4         4      2.96            2         1      1.17            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            2          2        1.56             3          1          1.5            0          0           0            0          0           0
CHARLESTON ERO/HSI OFFICE                                       115           38     83.94           140        51     96.67          140        53     96.67          133        56     97.32          144         56     91.88             3          1      1.79             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ORLANDO CO‐LO OFFICE                                             95           40     97.04           106        48     86.11          122        55     88.94           99        46     98.82          109         51     98.75            99         45     86.19            80         42         100          93          42         100            94         46         100           95         44         100            76         31         100            82         35         100           74         29         100           85         31         100           71         29         100           64         26         100           90         36         100            77         31         100           80         29         100          57          28         100           48         21         100           56         31         100            52         31         100           48         27         100           12          8         100
TAMPA SUB OFFICE                                                 93           40     94.74            98        43     97.73           88        37     96.15           76        35     90.28           89         42     94.93            80         38     91.23            79         33       92.59          76          36       92.59            81         39       92.98           75         42       93.52            68         34       89.47            81         45        91.3           15          7       83.33
NASHVILLE SAC OFFICE                                             92           38     80.92           112        45     86.26           41        18     95.16           33        13     91.67           36         17     67.95            35         18     67.95            29         16        87.5          30          14       83.33            33         14       76.67           23          9       26.67            22          8           25           24          9          30           20          8       16.67           28          9       43.33           26          9       36.67           21          7       22.22           26         10       33.33            23          8       29.17           27          9          40          24           8       33.33           21          8       20.83           21          9           20           24          9          30           21          8       20.83            8          2       83.33
LOUISVILLE FIELD OFFICE                                          87           39         50           94        33     42.39           97        33     43.44           83        31     49.38           38         12     20.69             9          4      9.25             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
LAS VEGAS HSI, ERO AND OPLA                                      84           34     95.16            14         4      8.11            5         2      3.32            0         0         0            6          2      3.39             0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAINT PAUL ICE OFFICE                                            81           29     82.14            99        36     93.04          109        37     95.21           86        33     86.86           71         23     87.97            56         22     96.15            52         22       93.75          55          25       93.75            58         27        87.5           55         22       95.19            52         18       88.89            56         26          90            0          0           0
CHARLOTTE ERO OFFICE                                             80           30       100            64        26       100           68        28       100           64        24       100           74         28       100            68         26       100            55         24         100          58          26         100            55         26         100           73         26         100            67         24         100            55         28         100           57         24         100           81         29         100           67         26         100           37         17       33.02            0          0            0            0          0           0            0          0           0           0           0           0            0          0           0            2          1        0.99             0          0           0            0          0           0            0          0           0
ATLANTA FEDERAL OFFICE                                           75           29     98.74            87        32     85.55           73        31       100           69        25     95.83           90         36     94.83            87         33     80.77            59         26       98.33          65          25         100            59         23       90.77           60         22       92.31            51         19       82.26            61         22       84.48           51         19          85           65         23       91.38           64         25       98.11           50         18       90.91           73         26       97.33            53         18       89.17           52         23       86.92          53          23       88.46           43         18       84.03           44         20        93.1            38         15       81.71           33         12          75            0          0           0
MEMPHIS ERO OFFICE BUSINESS PARK                                 73           31     44.07           106        37     49.06           90        36     47.37           70        25     39.34           50         22         20           37         16     20.31            29         12       12.24          38          15       14.21             2          1        1.42            0          0            0            0          0            0            0          0           0            0          0           0
HARTFORD SUB OFFICE                                              72           32     55.22             4         4      5.13           11         5      6.87           22         8      5.54           74         25     27.57            24          9      6.28            22          9        6.84          11           6        0.85             4          2        2.89            2          1        1.52             0          0            0            0          0           0            0          0           0
SCARBOROUGH ERO SUB OFFICE                                       61           17       100            68        21       100           72        21       100           62        20       100           60         23       100            60         19      87.3            80         20         100          74          20         100            41         14       32.93            0          0            0            0          0            0            0          0           0            0          0           0
DETROIT FIELD OFFICE                                             61           28      4.16            68        25      3.24           23         7      0.29            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAXON BUILDING                                                   60           27     97.24            65        26     58.37           14         4      11.3            2         1      2.09            0          0          0            0          0          0            0          0           0           0           0            0            2          1        2.37            0          0            0            0          0            0            0          0           0            0          0           0
ERO ‐ KANSAS CITY FIELD OFFICE                                   59           24     88.43            73        34     93.65           75        27      87.5           68        22     60.87           57         25     66.88             1          1      1.79             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
BLUE ASH BUILDING                                                57           19     84.52            62        21     86.72           29        12     42.86            1         1      3.33            0          0          0            0          0          0            0          0           0           0           0            0            4          1        4.38            0          0            0            0          0            0            0          0           0            0          0           0
WESTERVILLE CO‐LO OFFICE                                         55           21     84.87            67        26      68.6           86        28     52.94           64        26     74.44           72         24     48.78             8          4      7.96             3          1        2.04           0           0            0            0          0           0            1          1        1.89             0          0            0            0          0           0            0          0           0
JACKSONVILLE CO‐LO OFFICE                                        52           21       100            90        33       100           70        25       100           69        24       100           80         28       100            67         24       100            58         24         100          60          24         100            67         25         100           55         22         100            65         22         100            73         30         100           53         24         100           61         26         100           50         24         100           67         26         100           64         26         100            49         24         100           66         24         100          48          26         100           67         24         100           52         24         100            49         22         100           54         26         100           65         26         100           57         26         100           46         22         100           50         28         100           12          7        4.19           0           0          0           0           0          0           0           0          0           0           0          0           0           0          0           0           0          0           0           0
BATON ROUGE RAC OFFICE                                           48           24     83.61            42        22        80           33        17     54.35            6         3        36            5          2     22.58             1          1     51.02             0          0           0           0           0            0            0          0           0            4          1           20            1          1       60.98             0          0           0            0          0           0
BALTIMORE DISTRICT OFFICE                                        47           19       100            58        21       100                                                                            734        296     97.79           539        238     77.87           433        171       57.92         410         160       54.06           442        165       59.55           59         21        6.16             6          2        1.19             6          2        0.96            0          0           0
MIDLAND ERO OFFICE                                               41           16     14.88            28        10      3.18           23         7      1.12           34        12      5.31            8          3      2.16             0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
OKLAHOMA CITY ‐ ERO                                              37           14     10.05             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            1          1        0.64            0          0           0
TALLAHASSEE OFFICE COMMMONWEALTH                                 36           18     77.14            51        32     89.39           15         8     25.56            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
PROVO OFFICE                                                     35           12     70.24            37        16     86.25           40        15     79.55           37        13      87.5           43         15     82.95            43         14     88.75             8          2       16.67           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
NORTH PLATTE OFFICE                                              32            9         20            6         2      2.33            0         0         0            0         0         0            3          1      1.84             7          3          4           11          7        6.67           2           1        0.62             2          1        0.59            2          1        0.62             3          1        1.94             5          2        3.03            4          1       33.33
RICHMOND VA, HQ COOP OFFICE                                      29           17     16.67             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
DOVER OFFICE                                                     29           12     75.58            37        14     68.75           38        16     96.88           27        14     95.83           36         16     93.75            34         14     92.86            32         12       94.44          37          15        72.5            35         16       73.75           26          9       50.96             0          0            0            0          0           0            0          0           0
KNOXVILLE RAC OFFICE                                             29           12     19.46             8         3      6.75            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            2          1        1.42            0          0           0
MILWAUKEE FIELD OFFICE                                           29           12     58.62            40        17     85.07           48        20     79.07           38        16     79.41           50         21     79.78            38         17     82.86            41         17       82.86          41          16           60           35         13       69.23           40         17       78.08            37         15       74.29            48         20       80.95           36         15       71.83           49         19       77.27           39         13       72.22           37         12       78.49           41         14       55.56            34         13        43.4            0          0           0           0           0           0            0          0           0            0          0            0            0          0           0            0          0           0            0          0           0
SACRAMENTO SUB OFFICE                                            27           19     13.41             8         8       6.5            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            1          1        0.59            0          0            0            0          0            0            0          0           0            0          0           0
WICOMICO DETENTION FACILITY                                      27           10       100            33        13       100           35        14       100           32        12       100           35         14       100            14          8     17.65             6          2        8.05           0           0            0            0          0           0            2          1        2.26             0          0            0            0          0           0            0          0           0            0          0           0            0          0           0            0          0           0            3          1        3.38             0          0           0            0          0           0           0           0           0            0          0           0            0          0            0            0          0           0            0          0           0            0          0           0
LITTLE ROCK ERO OFFICE                                           26           11     36.11             0         0         0            1         1      1.85            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
HOMEWOOD AL ERO/HSI OFFICE                                       26           10     35.48             4         3      7.58            0         0         0            0         0         0            0          0          0            0          0          0            1          1        2.29           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
BUFFALO FIELD OFFICE CO‐LO SITE                                  26           16      6.05             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAINT LOUIS FILE CONTROL OFFICE                                  25            9     73.08            20         8        15           24         8     18.18           17         7      9.72           10          3     11.76             0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SEATTLE FIELD OFFICE                                             24           12        8.2            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SYRACUSE OFFICE                                                  22           15       100             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAN BERNARDINO OFFICE                                            20           10      2.39             3         1      0.24            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
OGDEN QUICK RESPONSE TEAM                                        19           10     18.46             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
PHOENIX FIELD OFFICE                                             19            9        0.7            1         1      0.13            2         1      0.18            0         0         0            0          0          0            1          1      0.13             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
HARLINGEN FIELD OFFICE                                           18            8      3.95             0         0         0            1         1      0.46            0         0         0            0          0          0            3          1      1.37             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
OMAHA FIELD OFFICE                                               17           10     14.29             0         0         0            0         0         0            0         0         0            2          1        2.7            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SANTA ANA OFFICE                                                 15            6      2.39             3         1      0.34            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
LAFAYETTE RAC OFFICE                                             14            7       100            16        11       100           20        10       100           14         7        50           17          7      62.5             0          0          0            2          1       27.27           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
BOSSIER CITY                                                     13            4      3.13             3         1      5.77            0         0         0            0         0         0           15          6      3.45             0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
DES MOINES ICE OFFICE                                            12            6         50            3         1      5.56            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
GRAND ISLAND ERO/HSI OFFICE                                      12            6       3.8             7         5      6.91            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
PITTSBURGH SUB OFFICE                                            11            5        20             0         0         0            2         1      2.68            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            1          1        1.92             0          0            0            0          0           0            0          0           0
CHATTANOOGA RAC OFFICE                                           11            5     91.67             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
FAYETTEVILLE ERO OFFICE                                          11            4       100             4         2       100
NORFOLK ASAC OFFICE                                              11            5     12.12             1         1      0.98            2         1      1.47            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SIOUX CITY ERO BUILDING                                          10            6     11.11             7         2      8.57            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
MONTGOMERY ERO OFFICE                                            10            4     55.56             3         1        50            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ETOWAH ERO + 287G OFFICE                                          9            3     28.57             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            3          1        7.41            0          0           0
GULFPORT RAC OFFICE                                               9            6       100            11         6       100            9         6       100            6         4       100            8          4        60             3          1        10             1          1        3.03          11           5       22.22             2          2        5.88            2          2        5.88             0          0            0           10          4          20            0          0           0
MANCHESTER ICE                                                    9            4      7.22             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            3          1        1.85           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
WICHITA ICE OFFICE                                                9            5      12.5             0         0         0            1         1      1.19            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CLEVELAND OFFICE                                                  8            5     15.85             3         1      3.85            3         1      3.57            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
STOCKTON OFFICE                                                   8            5     77.78             6         3     46.88            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
RENO OFFICE                                                       8            4     10.34             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ALBUQUERQUE OFFICE                                                7            5     63.64             1         1      1.75            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
DENVER FOD AND CHIEF COUNSEL OFFICE                               7            5      3.47             1         1      0.53            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
YORK ERO FIELD OFFICE                                             7            2        6.1            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
JACKSON RAC OFFICE                                                6            2       100
PORTLAND OFFICE                                                   6            2      0.58             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
GRAND FORKS ERO OFFICE                                            6            3        50             7         3     40.63            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ICE COLOCATION EL PASO                                            6            4      3.11             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
EUGENE OFFICE                                                     5            1       100
CORTEZ CIRCLE OFFICE                                              5            2      3.03             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAN DIEGO DISTRICT FIELD OFFICE                                   5            3       0.2             7         3      0.19            0         0         0            0         0         0            0          0          0            2          1      0.06             0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
HELENA FIELD OFFICE                                               4            1          5            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
TUCSON OFFICE                                                     4            2      6.67             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
FORT SMITH RAC OFFICE                                             4            2     13.16             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SPOKANE OFFICE                                                    4            1     10.71             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
BOISE FIELD OFFICE                                                3            2      5.13             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
MOBILE RAC OFFICE                                                 3            2      9.43             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            2          2           25            0          0            0            0          0           0            0          0           0
FRESNO OFFICE ERO                                                 3            3      0.76             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
PIKE COUNTY PRISON DETENTION CENTER                               2            1        0.6            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CRAIG OFFICE                                                      2            1      5.88             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ERO ‐ FREDERICK CO OFFICE                                         2            1      7.14             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CHARLESTON FIELD OFFICE                                           2            1      0.49             6         2      1.18            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
FLORENCE OFFICE                                                   1            1        0.7            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
HSI/ERO SPRINGFIELD MO OFFICE                                     1            1     33.33             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
LATHAM OFFICE                                                     1            1      2.42             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            2          1        4.17           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
TWIN FALLS FIELD ERO                                              1            1      2.88             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
RICHLAND OFFICE                                                   1            1      0.97             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
WENATCHEE INVESTIGATIONS OFFICE                                   1            1      7.14             0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CEDAR RAPIDS IA RAC OFFICE                                        1            1      8.33             1         1        25            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
GLENWOOD SPRING QUICK RESPONSE TEAM                               0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
TAMUNING OFFICE GUAM                                              0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
HONOLULU FIELD OFFICE                                             0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
IMPERIAL OFFICE                                                   0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
IDAHO FALLS ICE OFFICE                                            0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ROSWELL, NM ERO                                                   0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SAN PATRICIO OFFICE CENTER                                        0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
SIOUX FALLS ICE OFFICE                                            0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ERO PROCESSING CENTER                                             0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ANCHORAGE OFFICE                                                  0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ALAMOSA OFFICE                                                    0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ST. ALBANS OFFICE                                                 0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CHAMPLAIN ERO OFFICE                                              0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
ST. GEORGE OFFICE                                                 0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
DURANGO OFFICE ERO                                                0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
RAPID CITY ICE OFFICE                                             0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
YAKIMA OFFICE ‐ ERO                                               0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
BAKERSFIELD OFFICE                                                0            0          0            2         1      0.56            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
GRAND JUNCTION RESIDENT AGENT IN CHARGE                           0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
CASPER SUB‐OFFICE                                                 0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
DEPORTATION PROCESSING CENTER                                     0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0
MEDFORD OFFICE                                                    0            0          0            0         0         0            0         0         0            0         0         0            0          0          0            0          0          0            0          0           0           0           0            0            0          0           0            0          0            0            0          0            0            0          0           0            0          0           0




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             SAR0250
                                                  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 258 of 280


     45717     04‐2025
Capacity                           Capacity
(%)        Noncitizen Appointments (%)




        0           0            0            0




                                                                                  SAR0251
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 259 of 280


From:
To:
Cc:
Subject:         FW: Op Horizon OT update
Date:            Monday, April 25, 2022 3:18:00 PM


See below for Op Horizon employee count and $ spent.


From:                              @ice.dhs.gov>
Sent: Friday, April 22, 2022 3:07 PM
To:                                          @ice.dhs.gov>;
                @ice.dhs.gov>
Cc:                             @ice.dhs.gov>;                              @ice.dhs.gov>;
                                      @ice.dhs.gov>;
                  @ice.dhs.gov>;                         @ice.dhs.gov>;
                @ice.dhs.gov>;                                    @ice.dhs.gov>;
               @ice.dhs.gov>;                                     @ice.dhs.gov>
Subject: RE: Op Horizon OT update

                   the total is $15,394,778 for YTD ATD OT expenses related to Operation Horizon.




Based on the revised OT and NTA totals the cost per is listed in the table below.

 Operation
 Horizon

 OT Cost             $15,394,778.00
 NTAs issued                 72,132
 Cost per NTA              $213.43



From:                                           @ice.dhs.gov>
Sent: Friday, April 22, 2022 11:04 AM
To:                                  @ice.dhs.gov>
Cc:                             @ice.dhs.gov>;                                   @ice.dhs.gov>;
                             @ice.dhs.gov>;                                       @ice.dhs.gov>;
                                   @ice.dhs.gov>;                             @ice.dhs.gov>;
                         @ice.dhs.gov>;                                       @ice.dhs.gov>
Subject: RE: Op Horizon OT update

Thanks!


From:                                       @ice.dhs.gov>



                                                     SAR0252
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 260 of 280


Sent: Friday, April 22, 2022 10:58 AM
To:                                          @ice.dhs.gov>
Cc:                             @ice.dhs.gov>;                                @ice.dhs.gov>;
                             @ice.dhs.gov>;                                    @ice.dhs.gov>;
                                   @ice.dhs.gov>;                          @ice.dhs.gov>; Billings,
                         @ice.dhs.gov>;                                    @ice.dhs.gov>
Subject: FW: Op Horizon OT update

    ,

                                      The total number of NTAs was 72,132 NTAs, based on an
average of 2,500 ICE employees per Phase.

Let me know if you need anything else.



From:                                          @ice.dhs.gov>
Date: Friday, Apr 22, 2022, 8:00 AM
To:                            @ice.dhs.gov>,                              @ice.dhs.gov>
Cc:                             @ice.dhs.gov>,                                 @ice.dhs.gov>,
                                  @ice.dhs.gov>,                        @ice.dhs.gov>,
                @ice.dhs.gov>,                               @ice.dhs.gov>
Subject: RE: Op Horizon OT update

We had 2,520 ICE volunteers who participated OH1. 2,700 DHS employees: 2,663 ICE personnel
who participated in OH2. The volunteers only worked on this effort via OT, which is $19,952,680
for FY22.

I’m adding       who can get us the number of charging docs/NTAs issued as part of OH total.




From:                              @ice.dhs.gov>
Sent: Friday, April 22, 2022 9:52 AM
To:                                   @ice.dhs.gov>;
                      @ice.dhs.gov>
Cc:                              @ice.dhs.gov>;                                   @ice.dhs.gov>;
                                   @ice.dhs.gov>;                          @ice.dhs.gov>;
                         @ice.dhs.gov>
Subject: RE: Op Horizon OT update




                                              SAR0253
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 261 of 280




                                SAR0254
                      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 262 of 280



            FY14 FAMU Compliance Metrics                               FY19 FAMU Compliance Metrics
Metric                 Count             %                 Metric                 Count             %
Success Rate               663              67.4%          Success Rate             41,853             71.2%
Failure Rate               321              32.6%          Failure Rate             16,926             28.8%
Absconder Rate*            308              31.3%          Absconder Rate*          15,837             26.9%
Total Terminations         984             100.0%          Total Terminations       58,779            100.0%
Data from BI Inc. Participants Report, 3/31/2022           Data from BI Inc. Participants Report, 3/31/2022
*Absconder rate is a subset of failure rate                *Absconder rate is a subset of failure rate


            FY15 FAMU Compliance Metrics                               FY20 FAMU Compliance Metrics
Metric                 Count             %                 Metric                 Count             %
Success Rate              2,641             69.6%          Success Rate             12,750             53.4%
Failure Rate              1,155             30.4%          Failure Rate             11,144             46.6%
Absconder Rate*             973             25.6%          Absconder Rate*           9,311             39.0%
Total Terminations        3,796            100.0%          Total Terminations       23,894            100.0%
Data from BI Inc. Participants Report, 3/31/2022           Data from BI Inc. Participants Report, 3/31/2022
*Absconder rate is a subset of failure rate                *Absconder rate is a subset of failure rate


            FY16 FAMU Compliance Metrics                               FY21 FAMU Compliance Metrics
Metric                 Count             %                 Metric                 Count             %
Success Rate              5,620             65.9%          Success Rate             19,783             77.9%
Failure Rate              2,911             34.1%          Failure Rate              5,604             22.1%
Absconder Rate*           2,636             30.9%          Absconder Rate*           4,525             17.8%
Total Terminations        8,531            100.0%          Total Terminations       25,387            100.0%
Data from BI Inc. Participants Report, 3/31/2022           Data from BI Inc. Participants Report, 3/31/2022
*Absconder rate is a subset of failure rate                *Absconder rate is a subset of failure rate


            FY17 FAMU Compliance Metrics                         FY22 thru March FAMU Compliance Metrics
Metric                 Count             %                 Metric                  Count          %
Success Rate             14,857             73.3%          Success Rate              26,567            82.1%
Failure Rate              5,402             26.7%          Failure Rate               5,796            17.9%
Absconder Rate*           4,651             23.0%          Absconder Rate*            4,792            14.8%
Total Terminations       20,259            100.0%          Total Terminations        32,363          100.0%



                                                      SAR0255
                      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 263 of 280


Data from BI Inc. Participants Report, 3/31/2022           Data from BI Inc. Participants Report, 3/31/2022
*Absconder rate is a subset of failure rate                *Absconder rate is a subset of failure rate


            FY18 FAMU Compliance Metrics                     FY14-FY22 thru March FAMU Compliance Metrics
Metric                 Count             %                 Metric                Count           %
Success Rate             21,319             70.1%          Success Rate           146,053            71.4%
Failure Rate              9,106             29.9%          Failure Rate            58,365            28.6%
Absconder Rate*           8,316             27.3%          Absconder Rate*         51,349            25.1%
Total Terminations       30,425            100.0%          Total Terminations     204,418          100.0%
Data from BI Inc. Participants Report, 3/31/2022           Data from BI Inc. Participants Report, 3/31/2022
*Absconder rate is a subset of failure rate                *Absconder rate is a subset of failure rate




                                                      SAR0256
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 264 of 280




                                SAR0257
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 265 of 280




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otherwise use this information. Please inform the sender that you received this message in error and delete the message from your system.



From:                                                                     @ice.dhs.gov>
Sent: Monday, May 2, 2022 3:35 PM
To: Houser, Jason P
Cc:                           @ice.dhs.gov>
Subject: RE: Parole/ATD releases

Yeah, that’s what it is looking like.


From: Houser, Jason P
Sent: Monday, May 2, 2022 3:32 PM
To:                                         @ice.dhs.gov>
Cc:                           @ice.dhs.gov>
Subject: RE: Parole/ATD releases

So still 12 percent?




Jason P Houser
Chief of Staff
Immigration & Customs Enforcement (ICE)




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                                                                       SAR0258
  Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 266 of 280


From:                                                                     @ice.dhs.gov>
Sent: Monday, May 2, 2022 3:30 PM
To: Houser, Jason P
Cc:                           @ice.dhs.gov>
Subject: RE: Parole/ATD releases

11, 008 P+ATD with no check-in over 60 Days.


From: Houser, Jason P
Sent: Monday, May 2, 2022 3:13 PM
To:                                         @ice.dhs.gov>
Cc:                           @ice.dhs.gov>
Subject: RE: Parole/ATD releases

Any number on those non complaint?

If not, no worries.

Thanks

Jason P Houser
Chief of Staff
Immigration & Customs Enforcement (ICE)




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otherwise use this information. Please inform the sender that you received this message in error and delete the message from your system.



From:                                                                     @ice.dhs.gov>
Sent: Monday, May 2, 2022 3:11 PM
To: Houser, Jason P
Cc:                          @ice.dhs.gov>
Subject: Parole/ATD releases

Per request:

For P+ATD releases,




                                                                       SAR0259
 Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 267 of 280


Check-ins are 91,311 (65%)
No check-ins are 49,576 (35%)




                                 SAR0260
                          Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 268 of 280


Current Backlog:                         110,708
Processing Rate:                             109
Influx Rate:                                1300
Daily NTA Per Officer:                        2.6
Officers:                                      42
Loaded Rate              $                 73.24
Officer Rate per Day:    $                585.92
Cost per Day:            $             24,563.57

                                                     P+ATD Halted                             60 Additional Days 90 Additional Days
                                                                    30 Additional Days P+ATD
                                                     Immediately                                   P+ATD              P+ATD
                         Backlog                            110,708                  146,438             182,168               217,898
                         Days To Clear Backlog                 1016                      1343               1671                  1999
                         Cost to Clear Backlog      $ 24,948,473.60 $          33,000,366.52 $ 41,052,259.45 $          49,104,152.37
                         Net Additional Cost
                                                    $              - $          8,051,892.92 $    16,103,785.85 $        24,155,678.77
                         (Compared to Baseline)




                                                                    SAR0261
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 269 of 280




                                SAR0262
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 270 of 280




                                SAR0263
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 271 of 280




                                SAR0264
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 272 of 280




                                SAR0265
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 273 of 280




                                SAR0266
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 274 of 280




                                SAR0267
              Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 275 of 280

U.S. Immigration and Customs Enforcement




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an authorized DHS official. No portion of this report should be furnished to the media, either in written or verbal
form.




From:                                     @ice.dhs.gov>
Date: Tuesday, Apr 26, 2022, 3:46 PM
To:                            @ice.dhs.gov>,                           @ice.dhs.gov>,
               @ice.dhs.gov>,                               @ice.dhs.gov>,
                   @ice.dhs.gov>,                                     @ice.dhs.gov>
Subject: RE: Projecting ICE workload

Adding                 .




Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement



From:                             @ice.dhs.gov>
Sent: Tuesday, April 26, 2022 3:34 PM
To:                             @ice.dhs.gov>;                                 @ice.dhs.gov>;
                  @ice.dhs.gov>;                                    @ice.dhs.gov>;
                  @ice.dhs.gov>
Subject: FW: Projecting ICE workload

     et al.




Total PD release cases since 3/21/2021 (NTR, NTR+, now Parole + ATD began 8/6/21): 239,058
Released yesterday on Parole + ATD: 1452
                                                             7
                                                          SAR0268
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 276 of 280




                                SAR0269
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 277 of 280




                                SAR0270
Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 278 of 280




                                SAR0271
                      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 279 of 280



         FY14 Non‐FAMU Compliance Metrics                                   FY19 Non‐FAMU Compliance Metrics
Metric                Count            %                         Metric                    Count            %
Success Rate            17,779             89.5%                 Success Rate                20,962            85.8%
Failure Rate             2,081             10.5%                 Failure Rate                 3,482            14.2%
Absconder Rate*          1,394              7.0%                 Absconder Rate*              3,006            12.3%
Total Terminations      19,860            100.0%                 Total Terminations          24,444           100.0%
Data from BI Inc. Participants Report, 4/30/2022                 Data from BI Inc. Participants Report, 4/30/2022
*Absconder rate is a subset of failure rate                      *Absconder rate is a subset of failure rate


         FY15 Non‐FAMU Compliance Metrics                                   FY20 Non‐FAMU Compliance Metrics
Metric                Count            %                         Metric                    Count            %
Success Rate            11,019             88.4%                 Success Rate                 8,402            72.7%
Failure Rate             1,439             11.6%                 Failure Rate                 3,154            27.3%
Absconder Rate*          1,105              8.9%                 Absconder Rate*              2,427            21.0%
Total Terminations      12,458            100.0%                 Total Terminations          11,556           100.0%
Data from BI Inc. Participants Report, 4/30/2022                 Data from BI Inc. Participants Report, 4/30/2022
*Absconder rate is a subset of failure rate                      *Absconder rate is a subset of failure rate


         FY16 Non‐FAMU Compliance Metrics                                   FY21 Non‐FAMU Compliance Metrics
Metric                Count            %                         Metric                    Count            %
Success Rate            11,013                      85.7%        Success Rate                12,608            82.5%
Failure Rate             1,834                      14.3%        Failure Rate                 2,667            17.5%
Absconder Rate*          1,571                      12.2%        Absconder Rate*              2,070            13.6%
Total Terminations      12,847                     100.0%        Total Terminations          15,275           100.0%
Data from BI Inc. Participants Report, 4/30/2022                 Data from BI Inc. Participants Report, 4/30/2022
*Absconder rate is a subset of failure rate                      *Absconder rate is a subset of failure rate


         FY17 Non‐FAMU Compliance Metrics                              FY22 thru April Non‐FAMU Compliance Metrics
Metric                Count            %                         Metric                      Count          %
Success Rate            13,043                      81.9%        Success Rate                  55,438            93.2%
Failure Rate             2,879                      18.1%        Failure Rate                   4,061              6.8%
Absconder Rate*          2,418                      15.2%        Absconder Rate*                3,358              5.6%
Total Terminations      15,922                     100.0%        Total Terminations            59,499           100.0%
Data from BI Inc. Participants Report, 4/30/2022                 Data from BI Inc. Participants Report, 4/30/2022



                                                            SAR0272
                      Case 3:21-cv-01066-TKW-ZCB Document 87-1 Filed 10/03/22 Page 280 of 280


*Absconder rate is a subset of failure rate                                         *Absconder rate is a subset of failure rate


         FY18 Non‐FAMU Compliance Metrics                                             FY14‐FY22 thru April Non‐FAMU Compliance Metrics
Metric                Count            %                                            Metric                     Count          %
Success Rate            16,037                                   80.9%              Success Rate                166,301           86.8%
Failure Rate             3,778                                   19.1%              Failure Rate                 25,375           13.2%
Absconder Rate*          3,177                                   16.0%              Absconder Rate*              20,526           10.7%
Total Terminations      19,815                                  100.0%              Total Terminations          191,676         100.0%
Data from BI Inc. Participants Report, 4/30/2022                                    Data from BI Inc. Participants Report, 4/30/2022
*Absconder rate is a subset of failure rate                                         *Absconder rate is a subset of failure rate




                                                                         Non‐FAMU Success Rate ‐ by FY                            FY22 thru April,
                                                                                                                                   0.931746752
                                                     1
                                                   0.9
                                                   0.8
                                                   0.7
                                                   0.6
                                                                                                        FY20, 0.72706819
                                                   0.5
                                                   0.4
                                                   0.3
                                                   0.2
                                                   0.1
                                                     0
                                                         FY15      FY16      FY17      FY18         FY19          FY20            FY21   FY22 thru
                                                                                                                                          March

                                                                                              Success




                                                                             SAR0273
